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            Exhibit 1
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                                                                       Plaintiffs' Counsel Table
                                                      In re: Equifax, Inc., Customer Data Security Breach Litigation
                                                                       Case No. 1:17-md-2800-TWT
                                                                               MDL No. 2800
 Case Name               Case           Original Court             Local Counsel            Plaintiffs' Counsel & Contact Information   Email Addresses       Consumer,    Transfer
                       Number &                                                                                                                               Financial     Status
                        Original                                                                                                                               or Small
                         Court                                                                                                                                 Business

Abraham v. Equifax     1:17-cv-03453     Northern District of     Evangelista Worley, LLC                 James M. Evangelista           jme@ewlawllc.com      Consumer        Yes
                                              Georgia                                                       David J. Worley              david@ewlawll.com
                                                                                                        Kristi Stahnke McGregor          kristi@ewlawll.com
                                                                                                     EVANGELISTA WORLEY, LLC
                                                                                                     8100 A Roswell Road, Suite 100     wbf@federmanlaw.com
                                                                                                           Atlanta, GA 30350            clm@federmanlaw.com
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                                                                                                            William Federman
                                                                                                           Carin L. Marcussen
                                                                                                             Joshua D. Wells
                                                                                                      FEDERMAN & SHERWOOD
                                                                                                     10205 North Pennsylvania Avenue
                                                                                                     Oklahoma City, Oklahoma 73120
                                                                                                              405-235-1560

Abramowitz et al. v.   7:17-cv-07642   Southern District of New                                             Paul C. Whalen              paul@paulwhalen.com    Consumer   Yes by CTO - 1
   Equifax Inc.                                 York                                             LAW OFFICES OF PAUL C. WHALEN, P.C.
                                                                                                          768 Plandome Road
                                                                                                         Manhasset, NY 11030
                                                                                                            516-627-5610


 Ahmed v. Equifax      2:17-cv-06576   Eastern District of New                                            Edward B. Geller                 epbh@aol.com        Consumer   Yes by CTO - 1
      Inc.                                      York                                                 EDWARD B. GELLER, ESQ., P.C.
                                                                                                          15 Landing Way
                                                                                                          Bronx, NY 10464
                                                                                                           914-473-6783
                                                                  Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 3 of 154




                                                               Plaintiffs' Counsel Table
                                                   In re: Equifax, Inc., Customer Data Security Breach Litigation
                                                                    Case No. 1:17-md-2800-TWT
                                                                            MDL No. 2800
 Case Name              Case          Original Court         Local Counsel    Plaintiffs' Counsel & Contact Information         Email Addresses               Consumer,    Transfer
                      Number &                                                                                                                                Financial     Status
                       Original                                                                                                                                or Small
                        Court                                                                                                                                  Business

Alabama Teachers      1:17-cv-04942   Northern District of   POPE MCGLAMRY,                 Michael Lee McGlamry                mmcglamry@pmkm.com             Financial
 Credit Union v.                           Georgia                 P.C.                         N. Kirkland Pope                 kirkpope@pmkm.com
Equifax, Inc. et al                                                                          Pope McGlamry, P.C.
                                                                                                P.O. Box 191625
                                                                                      3391 Peachtree Road, N.E., Suite 300
                                                                                            Atlanta, GA 31119-1625
                                                                                                 404-523-7706                  chrish@pittmandutton.com
                                                                                                                               jonm@pittmandutton.com
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                                                                                                 Jonathan Mann
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                                                                                             2001 Park Place North
                                                                                         Park Place Tower, Suite 1100
                                                                                             Birmingham, AL 35203
                                                                                                 205-322-8880

Alcoa Community       1:17-cv-04480   Northern District of                                     Karen Sharp Halbert           karenhalbert@robertslawfirm.us    Financial
 Federal Credit                            Georgia                                           Roberts Law Firm, P.A.
Union v. Equifax,                                                                               P.O. Box 241790
      Inc.                                                                                      20 Rahling Circle
                                                                                          Little Rock, AR 72223-1790              rkhayatlawfirm.com
                                                                                                  501-821-5575

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                                                                                             The Khayat Law Firm               cbarrett@nealharwell.com
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                                                                                                404-978-2750

                                                                                              Charles Barrett
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                                                                                            Nashville, TN 37203
                                                                                               615-238-3647
                                                                                              Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 4 of 154




                                                                 Plaintiffs' Counsel Table
                                                      In re: Equifax, Inc., Customer Data Security Breach Litigation
                                                                       Case No. 1:17-md-2800-TWT
                                                                               MDL No. 2800
  Case Name               Case          Original Court         Local Counsel   Plaintiffs' Counsel & Contact Information                                           Email Addresses        Consumer,    Transfer
                        Number &                                                                                                                                                          Financial     Status
                         Original                                                                                                                                                          or Small
                          Court                                                                                                                                                            Business

 Alexander et al. v.    4:17-cv-00788    Western District of                                       Jason Barnes                                                    jaybarnes5@zoho.com     Consumer   Yes by CTO - 1
   Equifax, Inc.                             Missouri                                      BARNES & ASSOCIATES                                                     rod.chapel@gmail.com
                                                                                          219 E. Dunklin Street, Suite A
                                                                                            Jefferson City, MO 65101
                                                                                                  573-634-8884

                                                                                             Nimrod T. Chapel, Jr.
                                                                                        THE CHAPEL LAW GROUP LLC
                                                                                           219 E. Duklin St., Suite A
                                                                                           Jefferson City, MO 65101
                                                                                                 573-634-8884
Alexander v. Equifax,   5:17-cv-05230   Northern District of                                    David N. Given                                                       nac@phillaw.com       Consumer
        Inc.                            California (San Jose                                   Nicholas A. Carlin
                                             Division)                             PHILLIPS ERLEWINE GIVEN & CARLIN LLP
                                                                                            39 Mesa Street, Suite 201
                                                                                                  The Presidio
                                                                                            San Francisco, CA 94129
                                                                                                 415-398-0900
                                                                                                     Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 5 of 154




                                                                     Plaintiffs' Counsel Table
                                                       In re: Equifax, Inc., Customer Data Security Breach Litigation
                                                                        Case No. 1:17-md-2800-TWT
                                                                                MDL No. 2800
  Case Name                 Case          Original Court          Local Counsel      Plaintiffs' Counsel & Contact Information                                              Email Addresses             Consumer,   Transfer
                          Number &                                                                                                                                                                      Financial    Status
                           Original                                                                                                                                                                      or Small
                            Court                                                                                                                                                                        Business

Allen et al v. Equifax,   1:17-cv-04544   Northern District of   BARNES LAW GROUP,                      Roy E. Barnes                                                       roy@barneslawgroup.com       Consumer
         Inc.                                  Georgia                  LLC                             John R. Bevis                                                      bevis@barmeslawgroup.com
                                                                                                     J. Cameron Tribble                                                   ctribble@barneslawgroup.com
                                                                                                   Barnes Law Group, LLC
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                                                                                                        770-227-6375                                                        siegel@stuevesiegel.com
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                                                                                                      Kenneth S. Canfield                                                   moore@stuevesiegel.com
                                                                                          Doffermyre Shields Canfield & Knowles, LLC
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                                                                                                    Washington, DC 20006
                                                                                                        202-540-7200
                                                                         Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 6 of 154




                                           Plaintiffs' Counsel Table
                                 In re: Equifax, Inc., Customer Data Security Breach Litigation
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                                                          MDL No. 2800
Case Name     Case      Original Court   Local Counsel   Plaintiffs' Counsel & Contact Information                                                Email Addresses                Consumer,   Transfer
            Number &                                                                                                                                                             Financial    Status
             Original                                                                                                                                                             or Small
              Court                                                                                                                                                               Business

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                                                                Plaintiffs' Counsel Table
                                                    In re: Equifax, Inc., Customer Data Security Breach Litigation
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 Case Name              Case          Original Court          Local Counsel   Plaintiffs' Counsel & Contact Information                                                Email Addresses               Consumer,    Transfer
                      Number &                                                                                                                                                                       Financial     Status
                       Original                                                                                                                                                                       or Small
                        Court                                                                                                                                                                         Business

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                                                                                              Washington, DC 20036
                                                                                                   202-737-7777


  Amadick et al. v    0:17-cv-04196   District of Minnesota                                      Thomas J. Lyons                                                       tlyons@lyonslawfirm.com        Consumer
Equifax Information                   (Minnesota Division)                                     Thomas J. Lyons, Jr.                                                tommy@consumerjusticecenter.com
   Services, LLC                                                                            LYONS LAW FIRM, P.A.
                                                                                              367 Commerce Court
                                                                                           Vadnais Heights, MN 55127
                                                                                            Telephone: 651-770-9707
                                                                                             Facsimile: 651-704-0907

Amuial v. Equifax,    1:17-cv-23405   Southern District of                                 Scott Adam Edelsberg                                                       edelsberg@kolawyers.com         Consumer   Yes by CTO - 1
      Inc.                                 Florida                                           Robert Cecil Gilbert                                                        robert@gilbertpa.com
                                                                                            Avi Robert Kaufman                                                        akaufman@kolawyers.com
                                                                                            Jeffrey Miles Ostrow                                                       ostrow@kolawyers.com
                                                                                          Jonathan Marc Streisfeld                                                    streisfeld@kolawyers.com
                                                                               KOPELOWITZ OSTROW FERGUSON WEISELBERG
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                                                                                          Ft. Lauderdale, FL 33301
                                                                                                954-525-4100
                                                                                                   Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 8 of 154




                                                                      Plaintiffs' Counsel Table
                                                       In re: Equifax, Inc., Customer Data Security Breach Litigation
                                                                        Case No. 1:17-md-2800-TWT
                                                                                MDL No. 2800
  Case Name              Case           Original Court              Local Counsel   Plaintiffs' Counsel & Contact Information                                              Email Addresses                Consumer,    Transfer
                       Number &                                                                                                                                                                           Financial     Status
                        Original                                                                                                                                                                           or Small
                         Court                                                                                                                                                                             Business

 Anderson et al v.     2:17-cv-02825   District of South Carolina                                  Kevin Hunter Sharp                                                      ksharp@sanfordheisler.com       Consumer   Yes by CTO - 1
 Equifax Inc et al                                                                          SANFORD HEISLER SHARP LLP                                                   reecewilliams@callisontighe.com
                                                                                             611 Commerce Street, Suite 3100
                                                                                                  Nashville, TN 37203
                                                                                                     615-434-7001

                                                                                                David Reece Williams, III
                                                                                         CALLISON TIGHE AND ROBINSON, LLC
                                                                                                     PO Box 1390
                                                                                               Columbia, SC 29202-1390
                                                                                                     803-256-2371

Anderson v. Equifax,   2:17-cv-00156      Eastern District of                                         Alex C. Davis                                                          alex@jonesward.com            Consumer   Yes by CTO - 1
       Inc.                              Kentucky (Covington                                        Jasper D. Ward IV                                                       jasper@jonesward.com
                                              Division)                                                 The Pointe
                                                                                             1205 E. Washington St., Suite 111
                                                                                                Louisville, Kentucky 40206
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                                                                                                     Steven Teppler
                                                                                                 Abbott Law Group, P.A.
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                                                                                                     904-292-1111
                                                                                            Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 9 of 154




                                                               Plaintiffs' Counsel Table
                                                   In re: Equifax, Inc., Customer Data Security Breach Litigation
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 Case Name              Case          Original Court         Local Counsel   Plaintiffs' Counsel & Contact Information                                            Email Addresses           Consumer,    Transfer
                      Number &                                                                                                                                                              Financial     Status
                       Original                                                                                                                                                              or Small
                        Court                                                                                                                                                                Business

 ANECA Federal        1:17-cv-05473   Northern District of                                 Michael L. McGlamry                                                   mmcglamry@pmkm.com          Financial
  Credit Union v.                          Georgia                                           N. Kirkland Pope                                                     kirkpope@pmkm.com
 Equifax, Inc. and                                                                       POPE McGLAMRY, P.C.
Equifax Information                                                                  3391 Peachtree Road, NE, Suite 300
   Services, Inc.                                                                            Atlanta, GA 30326
                                                                                               404-523-7706                                                      chrish@pittmandutton.com
                                                                                                                                                                 jonm@pittmandutton.com
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                                                                                       Pittman, Dutton & Hellums, P.C.
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                                                                                            Birmingham, AL 35203
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                                                                                              404-809-2591

                                                                                             Robert N. Kaplan
                                                                                              KAPLAN FOX
                                                                                        850 Third Avenue, 14th Floor
                                                                                           New York, NY 10022
                                                                                               212-687-1980


                                                                                           Virginia M. Buchanan
                                                                                 LEVIN PAPANTONIO, THOMAS, MITCHELL,
                                                                                       RAFFERTY & PROCTOR, P.A.
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                                                                                           Pensacola, FL 32502

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                                                                                         SUSMAN GODFREY LLP
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                                                                                                  Floor 32
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                                                                                         Facsimile: (212) 336-8340
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                                                                                                         Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 10 of 154




                                                                     Plaintiffs' Counsel Table
                                                       In re: Equifax, Inc., Customer Data Security Breach Litigation
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  Case Name                Case          Original Court          Local Counsel            Plaintiffs' Counsel & Contact Information                                                Email Addresses               Consumer,     Transfer
                         Number &                                                                                                                                                                                Financial      Status
                          Original                                                                                                                                                                                or Small
                           Court                                                                                                                                                                                  Business

Appel et al v. Equifax   0:17-cv-04488   District of Minnesota                                            Joseph C. Bourne                                                        jbourne@gustafsongluek.com      Consumer    Yes by CTO - 1
         Inc.                                                                                           Kaitlyn Leeann Dennis                                                     kdennis@gustafsongluek.com
                                                                                                         Daniel E. Gustafson                                                    dgustafson@gustafsongluek.com
                                                                                                          Daniel C. Hedlund                                                      dhedlund@gustafsongluek.com
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                                                                                                       Minneapolis, MN 55402
                                                                                                            612-333-8844

  Army Aviation          1:17-cv-03892   Northern District of       Anthony C. Lake                        Bryan Bleichner                                                     bbleichner@chesnutcambronne.com    Financial
  Center Federal                              Georgia               Thomas Withers                       Chestnut Cambronne
Credit Union et al v.                                            Gillen Withers & Lake,          17 Washington Avenue North, Suite 300                                              cvanhorn@bfvlaw.com
   Equifax Inc.                                                           LLC                          Minneapolis, MN 55401
                                                                 3490 Piedmont Road,                        612-339-7300                                                            ecomite@scott-scott.com
                                                                          N.E.                                                                                                    jguglielmo@scott-scott.com
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                                                                       Suite 1050                          Joseph Guglielmo                                                        Khriebel@locklaw.com
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                                                                  Charles H. Van Horn                    Colchester, CT 06415                                                      twithers@gwllawfirm.com
                                                                 Berman Fink Van Horn                        860-537-5537
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                                                                       Suite 1100                         Kate Baxter-Kauf                                                       cthomas@murray-lawfirm.com
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                                                                     404-261-7711                 100 Washington Ave. S., Suite 2200
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                                                                                                            612-339-6900

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                                                                                                           Caroline Thomas
                                                                                                           Murray Law Firm
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                                                                                                        New Orleans, LA 70130
                                                                                                             505-525-8100
                                                                                                 Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 11 of 154




                                                                    Plaintiffs' Counsel Table
                                                     In re: Equifax, Inc., Customer Data Security Breach Litigation
                                                                      Case No. 1:17-md-2800-TWT
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Case Name              Case           Original Court              Local Counsel   Plaintiffs' Counsel & Contact Information                                                Email Addresses             Consumer,    Transfer
                     Number &                                                                                                                                                                          Financial     Status
                      Original                                                                                                                                                                          or Small
                       Court                                                                                                                                                                            Business

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                                                                                                  Craig A. Gillen, Esq.
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                                                                                               Telephone: (404) 842-9700
                                                                                               Facsimile: (404) 842-9750
 Astor et al. v.     6:17-cv-01653   Middle District of Florida                                    Denise B. Crockett                                                   dcrockett@stackfernandez.com    Consumer   Yes by CTO - 1
Equifax Inc. et al                                                                                    Brian J. Stack
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                                                                                                   615-434-7001
                                                                                                           Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 12 of 154




                                                                       Plaintiffs' Counsel Table
                                                       In re: Equifax, Inc., Customer Data Security Breach Litigation
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  Case Name               Case           Original Court            Local Counsel            Plaintiffs' Counsel & Contact Information                                                Email Addresses               Consumer,     Transfer
                        Number &                                                                                                                                                                                   Financial      Status
                         Original                                                                                                                                                                                   or Small
                          Court                                                                                                                                                                                     Business

   Atiles et al. v.     7:17-cv-07493   Southern District of New                                           Wesley Martin Mullen                                                      wmullen@mullenpc.com           Consumer    Yes by CTO - 1
 Equifax, Inc. et al.                            York                                                         MULLEN P.C.
                                                                                                        200 Park Avenue, Suite 1700
                                                                                                           New York, NY 00000
                                                                                                               646-632-3718

Atlantic City Federal   1:17-cv-05065     Northern District of        Anthony C. Lake                        Bryan Bleichner                                                     bbleichner@chesnutcambronne.com    Financial        Yes
 Credit Union, et al.                          Georgia                Thomas Withers                       Chestnut Cambronne
   v. Equifax, Inc.                                                Gillen Withers & Lake,          17 Washington Avenue North, Suite 300                                              cvanhorn@bfvlaw.com
                                                                            LLC                          Minneapolis, MN 55401
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                                                                    Charles H. Van Horn                    Colchester, CT 06415                                                      twithers@gwllawfirm.com
                                                                   Berman Fink Van Horn                        860-537-5537
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                                                                                                         Minneapolis, MN 55401
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                                                                                                 Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 13 of 154




                                                                    Plaintiffs' Counsel Table
                                                       In re: Equifax, Inc., Customer Data Security Breach Litigation
                                                                        Case No. 1:17-md-2800-TWT
                                                                                MDL No. 2800
  Case Name               Case          Original Court            Local Counsel   Plaintiffs' Counsel & Contact Information                                                Email Addresses             Consumer,   Transfer
                        Number &                                                                                                                                                                       Financial    Status
                         Original                                                                                                                                                                       or Small
                          Court                                                                                                                                                                         Business

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                                                                                            Zimmerman Reed, P.L.L.P. -MN
                                                                                                  1100 IDS Center                                                         glynch@carlsonlynch.com
                                                                                                 80 South 8th Street                                                       jetzel@carlsonlynch.com
                                                                                               Minneapolis, MN 55402                                                        bfox@carlsonlynch.com
                                                                                                    612-341-0400

                                                                                                     Gary F. Lynch
                                                                                                    Jamisen A. Etzel
                                                                                                      Bryan A. Fox
                                                                                  CARLSON LYNCH SWEET KILPELA & CARPENTER, LLP
                                                                                             1133 Penn Avenue, 5th Floor
                                                                                            Pittsburgh, Pennsylvania 15222
                                                                                              Telephone: (412) 322-9243
                                                                                               Facsimile: (412) 231-0246

Austin v. Equifax,      2:17-cv-04045     Eastern District of                                       Jerry Desiderato                                                    JDeSiderato@dilworthlaw.com     Consumer
 Inc. and Equifax                            Pennsylvania                                         Joshua D. Wolson                                                        jwolson@dilworthlaw.com
Credit Information                      (Philadelphia Division)                              DILWORTH PAXSON LLP
   Services, Inc.                                                                           1500 Market Street Suite 3500E
                                                                                                Philadelphia, PA 19102
                                                                                                     215-575-7000
Avise v. Equifax Inc.   8:17-cv-01563    Central District of                                      Daniel S. Robinson                                                     drobinson@robinsonfirm.com     Consumer
                                        California (Southern                                        Scott D. Wilson
                                        Division - Santa Ana)                                    Wesley K. Polischuk
                                                                                            ROBINSON CALCAGNIE INC.
                                                                                               19 Corporate Plaza Drive
                                                                                              Newport Beach, CA 92660
                                                                                                     888-701-1288
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                                                                  Plaintiffs' Counsel Table
                                                     In re: Equifax, Inc., Customer Data Security Breach Litigation
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  Case Name              Case          Original Court          Local Counsel           Plaintiffs' Counsel & Contact Information                                             Email Addresses               Consumer,    Transfer
                       Number &                                                                                                                                                                            Financial     Status
                        Original                                                                                                                                                                            or Small
                         Court                                                                                                                                                                              Business

   Ayala et al. v.     4:17-cv-00462    District of Arizona   Rusing Lopez & Lizardi                 J. William Brammer, Jr.                                                   wbrammer@rllaz.com           Consumer   Yes by CTO - 1
Equifax Incorporated                                                  PLLC                             Michael John Rusing                                                      mrusing@rllaz.com
        et al.                                                                                  RUSING LOPEZ & LIZARDI PLLC                                                echapin2@sanfordheisler.com
                                                                                                  6363 N. Swan Rd., Suite 151                                              dfuschetti@sanfordheisler.com
                                                                                                        Tucson, AZ 85718                                                    ksharp@sanfordheisler.com
                                                                                                          520-792-4800

                                                                                                     Edward Dewey Chapin
                                                                                         SANFORD HEISLER SHARP LLP - SAN DIEGO, CA
                                                                                                  655 W Broadway, Suite 1700
                                                                                                     San Diego, CA 92101
                                                                                                        619-577-4253

                                                                                                    Danielle Anne Fuschetti
                                                                                       SANFORD HEISLER SHARP LLP - SAN FRANCISCO, CA
                                                                                                    111 Sutter St., Suite 975
                                                                                                   San Francisco, CA 94104
                                                                                                        415-795-2022

                                                                                                        Kevin Sharp
                                                                                         SANFORD HEISLER SHARP LLP - NASHVILLE, TN
                                                                                                 611 Commerce St., Suite 3100
                                                                                                     Nashville, TN 37203
                                                                                                       615-434-7001


   Bahnmaier v.        4:17-cv-00512   Northern District of                                              Joshua D. Wells                                                      jdw@federmanlaw.com           Consumer
   Equifax Inc.                         Oklahoma (Tulsa                                               William B. Federman                                                     wbf@federmanlaw.com
                                            Division)                                             FEDERMAN & SHERWOOD
                                                                                                   10205 N. Pennsylvania Ave.
                                                                                                    Oklahoma City, OK 73120
                                                                                                          405-235-1560
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                                                                        Plaintiffs' Counsel Table
                                                         In re: Equifax, Inc., Customer Data Security Breach Litigation
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  Case Name                Case           Original Court             Local Counsel        Plaintiffs' Counsel & Contact Information                                             Email Addresses             Consumer,    Transfer
                         Number &                                                                                                                                                                           Financial     Status
                          Original                                                                                                                                                                           or Small
                           Court                                                                                                                                                                             Business

Bailey v. Equifax Inc.   3:17-cv-04211   Southern District of West   The Segal Law Firm                Charles Edward Amos, II                                                edward.amos@segal-law.com      Consumer   Yes by CTO - 1
         et al                                   Virginia                                                  Jason P. Foster                                                     jason.foster@segal-law.com
                                                                                                            Scott S. Segal                                                      scott.segal@segal-law.com
                                                                                                       THE SEGAL LAW FIRM                                                      ksharp@sanfordheisler.com
                                                                                                     810 Kanawha Boulevard, East
                                                                                                        Charleston, WV 25301
                                                                                                            304-344-9100

                                                                                                           Kevin Sharp
                                                                                                    SANFORD HEISLER SHARP
                                                                                                    611 Commerce St., Suite 3100
                                                                                                        Nashville, TN 37203
                                                                                                          615-434-7001

Baker v. Equifax, Inc.   0:17-cv-04655     District of Minnesota                                            Marisa C. Katz                                                         katz@tkkrlaw.com          Consumer   Yes by CTO - 1
                                                                                                           Vildan A. Teske                                                        teske@tkkrlaw.com
                                                                                               TESKE, KATZ, KITZER & ROCHEL, PLLP
                                                                                                    222 S. Ninth Street, Suite 4050
                                                                                                       Minneapolis, MN 55402
                                                                                                            612-746-1558
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                                                                     Plaintiffs' Counsel Table
                                                     In re: Equifax, Inc., Customer Data Security Breach Litigation
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                     Number &                                                                                                                                                                            Financial     Status
                      Original                                                                                                                                                                            or Small
                       Court                                                                                                                                                                              Business

  Bakken et al v.    1:17-cv-03676     Northern District of     Conley Griggs Partin LLP                     G. John Cento                                                      ranse@conleygriggs.com    Consumer
   Equifax, Inc.                            Georgia                                                         Cento Law, LLC
                                                                                                  5915 North College Avenue, Suite 100
                                                                                                        Indianapolis, IN 46220                                                  vesades@heinsmills.com
                                                                                                             765-280-3272

                                                                                                            K. Scott Wagner
                                                                                                        Kerkman Wagner & Dunn
                                                                                                   839 North Jefferson Street, Suite 400
                                                                                                         Milwaukee, WI 53202
                                                                                                              512-338-4605

                                                                                                            Ranse M. Partin
                                                                                                     Conley Griggs Partin, LLP- GA
                                                                                                        Building One, Suite 300
                                                                                                     4200 Northside Parkway, NW
                                                                                                          Atlanta, GA 30327
                                                                                                             404-467-1155

                                                                                                           Vincent J. Esades
                                                                                                       Heins Mills & Olson P.L.C.
                                                                                                          310 Clifton Avenue
                                                                                                        Minneapolis, MN 55403
                                                                                                             612-338-4605

Bakko v. Equifax,    2:17-cv-013992     Eastern District of                                              Sharon S. Almonrode                                                     ssa@millerlawpc.com      Consumer   Yes by CTO - 3
      Inc.                                  Michigan                                                        Emily E. Hughes                                                     eeh@millerlawpc.com
                                                                                                            E. Powell Miller                                                    epm@millerlawpc.com
                                                                                                       The Miller Law Firm, P.C.
                                                                                                   950 West University Drive, Suite 300
                                                                                                         Rochester, MI 48307
                                                                                                             248-841-2200

 Bandoh-Aidoo v.     2:17-cv-06658      Central District of                                                 Torin A. Dorros                                                     tdorros@dorroslaw.com     Consumer        Yes
 Equifax, Inc. and                     California (Western                                                  DORROS LAW
Does 1 Through 10                     Division - Los Angeles)                                      8730 Wilshire Boulevard, Suite 350
                                                                                                     Beverly Hills, California 90211
                                                                                                             310-997-2050
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                                                                  Plaintiffs' Counsel Table
                                                    In re: Equifax, Inc., Customer Data Security Breach Litigation
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  Case Name              Case          Original Court         Local Counsel            Plaintiffs' Counsel & Contact Information                                                Email Addresses               Consumer,    Transfer
                       Number &                                                                                                                                                                               Financial     Status
                        Original                                                                                                                                                                               or Small
                         Court                                                                                                                                                                                 Business

Bank of Louisiana et   1:17-cv-03715   Northern District of      Anthony C. Lake                        Bryan Bleichner                                                     bbleichner@chesnutcambronne.com    Financial
 al v. Equifax Inc.                         Georgia              Thomas Withers                       Chestnut Cambronne
                                                              Gillen Withers & Lake,          17 Washington Avenue North, Suite 300                                              cvanhorn@bfvlaw.com
                                                                       LLC                          Minneapolis, MN 55401
                                                              3490 Piedmont Road,                        612-339-7300                                                            ecomite@scott-scott.com
                                                                       N.E.                                                                                                    jguglielmo@scott-scott.com
                                                              One Securities Centre,                   Erin Green Comite
                                                                    Suite 1050                          Joseph Guglielmo                                                        Khriebel@locklaw.com
                                                                Atlanta, GA 30305                          Scott + Scott                                                      kmbaxter-kauf@locklaw.com
                                                                   404-842-9700                       156 South Main Street
                                                                                                          P.O. Box 192                                                           aclake@gwllawfirm.com
                                                               Charles H. Van Horn                    Colchester, CT 06415                                                      twithers@gwllawfirm.com
                                                              Berman Fink Van Horn                        860-537-5537
                                                                       P.C.                                                                                                   smurray@murray-lawfirm.com
                                                               3475 Piedmont Road,                    Karen Hanson Riebel                                                     amurray@murray-lawfirm.com
                                                                    Suite 1100                         Kate Baxter-Kauf                                                       cthomas@murray-lawfirm.com
                                                                Atlanta, GA 30305               Lockridge Grindal Nauen P.L.L.P.
                                                                  404-261-7711                 100 Washington Ave. S., Suite 2200
                                                                                                    Minneapolis, MN 55401
                                                                                                         612-339-6900

                                                                                                       Stephen Murray, Sr.
                                                                                                        Arthur M. Murray
                                                                                                        Caroline Thomas
                                                                                                        Murray Law Firm
                                                                                                  650 Poydras Street, Suite 2150
                                                                                                     New Orleans, LA 70130
                                                                                                          505-525-8100
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                                                                Plaintiffs' Counsel Table
                                                   In re: Equifax, Inc., Customer Data Security Breach Litigation
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 Case Name             Case          Original Court          Local Counsel        Plaintiffs' Counsel & Contact Information                                               Email Addresses             Consumer,     Transfer
                     Number &                                                                                                                                                                         Financial      Status
                      Original                                                                                                                                                                         or Small
                       Court                                                                                                                                                                           Business

                                                                                               Brian C. Gudmundson                                                    brian.gudmundson@zimmreed.com
                                                                                           Zimmerman Reed, P.L.L.P. -MN
                                                                                                 1100 IDS Center                                                         glynch@carlsonlynch.com
                                                                                                80 South 8th Street
                                                                                              Minneapolis, MN 55402
                                                                                                   612-341-0400

                                                                                                   Gary F. Lynch
                                                                                               Carlson Lynch Sweet
                                                                                              Kilpela & Carpenter LLP
                                                                                            1133 Penn Avenue, 5th Floor
                                                                                               Pittsburgh, PA 15222
                                                                                                   412-322-9243
Bank of Ripley v.    1:17-cv-04763   Northern District of    Complex Law Group,                 David Michael Cohen                                                      dcohen@complexlaw.com         Financial
  Equifax Inc.                            Georgia                   LLC                       Complex Law Group, LLC
                                                                                              40 Powder Springs Street
                                                                                                Marietta, GA 30064
                                                                                                   770-335-9322
                                                                                                                                                                           acarney@cbplaw.com
                                                                                                     Allen Carney                                                           hbates@cbplaw.com
                                                                                               James Allen Carney, Jr.
                                                                                                 Joseph H. Bates III
                                                                                            Carney Bates & Pulliam, PLLC
                                                                                                  519 W. 7th Street
                                                                                               Little Rock, AR 72201
                                                                                                    501-312-8500

Barker v. Equifax,   8:17-cv-01560    Central District of                                       Jerusalem F. Beligan                                                     jbeligan@bisnarchase.com      Consumer
 Inc. Does 1-10,                     California (Southern                                          Brian D. Chase                                                         bchase@bisnarchase.com
    inclusive                        Division - Santa Ana)                                     BISNAR CHASE LLP
                                                                                             1301 Dove Street, Suite 120
                                                                                             Newport Beach, CA 92660
                                                                                                   949-752-2999

Barone v. Equifax,   5:17-cv-05958   Northern District of                                       J. Benjamin Blakeman                                                     ben@lifeinsurance-law.com     Consumer    Yes by CTO - 1
      Inc.                               California                                            ATTORNEY AT LAW
                                                                                               1259 S. Camden Dr. 2E
                                                                                               Los Angeles, CA 90017
                                                                                                    213-629-9922
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                                                                         Plaintiffs' Counsel Table
                                                        In re: Equifax, Inc., Customer Data Security Breach Litigation
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  Case Name               Case           Original Court              Local Counsel            Plaintiffs' Counsel & Contact Information                                                Email Addresses             Consumer,    Transfer
                        Number &                                                                                                                                                                                   Financial     Status
                         Original                                                                                                                                                                                   or Small
                          Court                                                                                                                                                                                     Business

Beck v. Equifax, Inc.   1:17-cv-03359     District of Maryland                                               Jonathan Barry Nace                                                         jon@nidellaw.com           Consumer   Yes by CTO - 1
                                                                                                           NIDEL & NACE, PLLC
                                                                                                      5335 Wisconsin Ave., NW, Suite 440
                                                                                                           Washington, D.C. 20015
                                                                                                                202-478-9677

   Becker et al v.      5:17-cv-00900   Western District of Texas                                           Eric Andrew Campolo                                                         eacampolo@gmail.com         Consumer   Yes by CTO - 1
    Equifax Inc.                                                                                               Paul E. Campolo                                                    pcampolo@maloneyandcampolo.com
                                                                                                                Tim Maloney                                                            timmaloney@yahoo.com
                                                                                                 LAW OFFICES OF MALONEY & CAMPOLO, LLP
                                                                                                                926 S. Alamo
                                                                                                           San Antonio, TX 78205
                                                                                                                210-219-0412

 Beekman et al. v.      1:17-cv-03492     Northern District of      Law Offices of David A.                    David A. Bain                                                            dbain@bain-law.com          Consumer        Yes
   Equifax, Inc.                           Georgia (Atlanta              Bain, LLC                  LAW OFFICES OF DAVID A. BAIN, LLC
                                               Division)                                                   1230 Peachtree St, NW
                                                                                                             Atlanta, GA 30309
                                                                                                               404-724-9990

                                                                                                             Timothy G. Blood                                                            tblood@bholaw.com
                                                                                                           Thomas J. O'Reardon II                                                      toreardon@bholaw.com
                                                                                                     BLOOD HURST & O'REARDON, LLP
                                                                                                       501 West Broadway, Suite 1490
                                                                                                            San Diego, CA 92101
                                                                                                               619-338-1100

                                                                                                            Janine L. Pollack                                                           pollack@whafh.com
                                                                                                            Correy A. Kamin                                                              kamin@whafh.com
                                                                                                           Carl V. Malmstrom                                                           malmstrom@whafh.com
                                                                                              WOLF HALDENSTEIN ADLER FREEMAN & HERZ LLP
                                                                                                            270 Madison Ave
                                                                                                          New York, NY 10016
                                                                                                             212-545-4600
 Belden v. Equifax      5:17-cv-05260     Northern District of                                              Mark C. Molumphy                                                         mmolumphy@cpmlegal.com         Consumer
       Inc.                               California (San Jose                                      COTCHETT, PITRE & MCCARTHY LLP
                                               Division)                                                840 Malcolm Road Suite 200
                                                                                                          Burlingame, CA 94010
                                                                                                              650-697-6000
                                                                                                       Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 20 of 154




                                                                          Plaintiffs' Counsel Table
                                                           In re: Equifax, Inc., Customer Data Security Breach Litigation
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  Case Name                Case           Original Court                Local Counsel   Plaintiffs' Counsel & Contact Information                                            Email Addresses             Consumer,    Transfer
                         Number &                                                                                                                                                                        Financial     Status
                          Original                                                                                                                                                                        or Small
                           Court                                                                                                                                                                          Business

Belfon v. Equifax Inc.   2:17-cv-06577    Eastern District of New                                     Edward B. Geller                                                            epbh@aol.com            Consumer   Yes by CTO - 1
                                                   York                                          EDWARD B. GELLER, ESQ., P.C.
                                                                                                      15 Landing Way
                                                                                                      Bronx, NY 10464
                                                                                                       914-473-6783

 Benavidez et al v.      4:17-cv-04279   Central District of Illinois                                    Gregory S. Otsuka                                                    gotsuka@hjlawfirm.com       Consumer   Yes by CTO - 1
 Equifax Inc. et al.                                                                                    Hellmuth & Johnson
                                                                                                       8050 West 78th Street
                                                                                                         Edina, MN 55439
                                                                                                          952-941-4005

 Benson v. Equifax       3:17-cv-00564      Western District of                                          Jason T. Ams                                                           jams@bgdlegal.com         Consumer   Yes by CTO - 1
       Inc.                                    Kentucky                                               V. Brandon McGrath                                                      bmcgrath@bgdlegal.com
                                                                                         BINGHAM GREENEBAUM DOLL LLP - LEXINGTON                                             brett@bluegrassinjury.com
                                                                                                  300 W. Vine Street, Suite 1100
                                                                                                   Lexington, KY 40507-1665
                                                                                                         859-231-8500

                                                                                                      Brett H. Oppenheimer
                                                                                                 BRETT H. OPPENHEIMER, PLLC
                                                                                                    401 Waterfront Park Place
                                                                                                   222 East Witherspoon Street
                                                                                                      Louisville, KY 40202
                                                                                                         502-749-5700

 Benway v. Equifax,      1:17-cv-03360     District of Maryland                                      Benjamin Howard Carney                                                  bcarney@GWCfirm.com          Consumer   Yes by CTO - 1
       Inc.                                                                                             Richard S. Gordon                                                    rgordon@GWCfirm.com
                                                                                                       Martin Eugene Wolf                                                     mwolf@GWCfirm.com
                                                                                               GORDON, WOLF & CARNEY, CHTD
                                                                                                 100 W. Pennsylvania Ave, Ste 100
                                                                                                       Towson, MD 21204
                                                                                                          410-825-2300

  Bethea et al v.        3:17-cv-00648       Eastern District of                                     Leonard Anthony Bennett                                                  lenbennet@clalegal.com      Consumer   Yes by CTO - 1
 Equifax, Inc. et al                              Virginia                                           Matthew James Erausquin                                                      matt@clalegal.com
                                                                                                        Elizabeth W. Hanes                                                     elizabeth@clalegal.com
                                                                                                     Craig Carley Marchiando                                                     craig@clalegal.com
                                                                                              CONSUMER LITIGATION ASSOCIATES
                                                                                                763 J. Clyde Morris Blvd., Suite 1A
                                                                                                    Newport News, VA 23601
                                                                                                           757-930-3660
                                                                                                   Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 21 of 154




                                                                      Plaintiffs' Counsel Table
                                                        In re: Equifax, Inc., Customer Data Security Breach Litigation
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  Case Name                Case           Original Court            Local Counsel   Plaintiffs' Counsel & Contact Information                                               Email Addresses             Consumer,    Transfer
                         Number &                                                                                                                                                                       Financial     Status
                          Original                                                                                                                                                                       or Small
                           Court                                                                                                                                                                         Business

Biles v. Equifax, Inc.   1:17-cv-08224     Northern District of                                 Elizabeth Christine Chavez                                                    ecc@fmcolaw.com            Consumer   Yes by CTO - 1
                                                 Illinois                                        Kathleen Currie Chavez                                                       kcc@fmcolaw.com
                                                                                                     Robert M. Foote                                                          rmf@fmcolaw.com
                                                                                                    Matthew J. Herman                                                         mjh@fmcolaw.com
                                                                                         FOOT, MIEKEM CHAVEZ & O'NEIL, LLC
                                                                                               10 W. State Street, Suite 200
                                                                                                    Geneva, IL 60134
                                                                                                      630-232-7450
Biorn v. Equifax Inc.    2:17-cv-00071     District of Montana                                       John L. Amsden                                                        amsden@becklawyers.com        Consumer   Yes by CTO - 1
                                                                                                      Monte D. Beck                                                         mbeck@becklawyers.com
                                                                                                   Anthony F. Jackson                                                      anthony@becklawyers.com
                                                                                                     Justin P. Stalpes                                                      justin@becklawyers.com
                                                                                                BECK & AMSDEN, PLLC
                                                                                                1946 Stadium Drive, Suite 1
                                                                                                   Bozeman, MT 59717
                                                                                                      406-586-8700

  Bitton v. Equifax      1:17-cv-05126     Northern District of                                      Amir J. Goldstein                                                   ajg@consumercounselgroup.com    Consumer
Information Services,                           Georgia                                           591 Broadway Suite 3A
        LLC                                                                                        New York, NY 10012
                                                                                                      212-966-5253

Blake et al. v Equifax   7:17-cv-06946   Southern District of New                                 Esther E. Berezofsky                                                     eberezofsky@eblawllc.com      Consumer   Yes by CTO - 1
      Inc et al                            York (White Plains                               BEREZOFSKY LAW GROUP, LLC
                                                Division)                                     201 Lake Drive East, Suite 101
                                                                                                  Cherry Hill, NJ 08002
                                                                                                     856-667-0500

Block v. Equifax, Inc.   1:17-cv-07121    District of New Jersey                                    Erik S. Syverson                                                       esyverson@raineslaw.com       Consumer   Yes by CTO - 1
         et al                                                                                  RAINES FELDMAN LLP
                                                                                            1800 Avenue of the Stars, 12th Floor
                                                                                                 Los Angeles, CA 90067
                                                                                                     310-440-4100
                                                                                                  Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 22 of 154




                                                                Plaintiffs' Counsel Table
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                      Number &                                                                                                                                                                                 Financial    Status
                       Original                                                                                                                                                                                 or Small
                        Court                                                                                                                                                                                   Business

Bobbitt v. Equifax,   1:17-cv-08631   Northern District of                                           Brian LaCien                                                               blacien@prslaw.com              Consumer   Yes by CTO-4
       Inc.                                 Illinois                                             Powers, Rogers & Smith
                                                                                                       Suite 5500
                                                                                                 70 West Madison Street
                                                                                                   Chicago, IL 60602
                                                                                                     312-236-9381

                                                                                                     Todd A. Smith
                                                                                                 Powers, Rogers & Smith
                                                                                                       Suite 5500
                                                                                                 70 West Madison Street
                                                                                                   Chicago, IL 60602
 Bologna et al v.     1:17-cv-03578   Northern District of   Jonathan W. Johnson,                Benjamin Jared Meiselas                                                       geragos@geragos.com              Consumer
  Equifax, Inc.                            Georgia                   LLC                             Lori G. Feldman                                                           feldman@geragos.com
                                                                                                     Mark G. Geragos
                                                                                                    Geragos & Geragos
                                                                                                644 South Figueroa Street
                                                                                                Historic Engine Co. No. 28
                                                                                                 Los Angeles, CA 90017                                                  jwj@jonathanjohnsonatlantalawyer.com
                                                                                                      213-625-3900

                                                                                                 Jonathan Wesley Johnson
                                                                                                Jonathan W. Johnson, LLC
                                                                                            2296 Henderson Mill Rd., Suite 304
                                                                                                    Atlanta, GA 30345
                                                                                                      404-298-0795
                                                                                                 Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 23 of 154




                                                                 Plaintiffs' Counsel Table
                                                    In re: Equifax, Inc., Customer Data Security Breach Litigation
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                      Number &                                                                                                                                                                   Financial     Status
                       Original                                                                                                                                                                   or Small
                        Court                                                                                                                                                                     Business

  Boundy et al v.      5:17-05367      Northern District of    Herman Gerel, LLP                   Andrea S. Hirsch                                                                               Consumer        Yes
   Equifax, Inc.                            Georgia                                               Leonard A. Davis
                                                                                                    Steve Herman
                                                                                                HERMAN GEREL, LLP                                                      ahirsch@hermangerel.com
                                                                                                   60 Lenox Pointe
                                                                                                  Atlanta, GA 30324
                                                                                                    404-880-9500

                                                                                                     Arnold Levin
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                                                                                                  Charles E. Schaffer
                                                                                             LEVIN SEDRAN & BERMAN
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                                                                                                Philadelphia, PA 19106
                                                                                                     215-592-1500
                                                                                                                                                                          azarf@fdazar.com
                                                                                                  Franklin D. Azar
                                                                                                   Keith Scranton
                                                                                                   Hugh Z. Balkin
                                                                                          FRANKLIN D. AZAR & ASSOCIATES
                                                                                              14426 East Evans Avenue
                                                                                                 Aurora, CO 80014
                                                                                                   303-900-5595


Bradley v. Equifax,   1:17-cv-03480    Northern District of                                         Julio C. Gomez                                                      jgomez@gomezllc.com       Consumer   Yes by CTO - 1
       Inc.                             Georgia (Atlanta                                             GOMEZ LLC
                                            Division)                                             The Stucke Building
                                                                                               111 Quimby Street, Suite 8
                                                                                                  Westfield, NJ 07090
                                                                                                     908-789-1080
                                                                                                    Andrew P. Ball
                                                                                                 Locks Law Firm LLC
                                                                                               801 North Kings Highway
                                                                                                 Cherry Hill, NJ 08034

Branch v. equifax     1:17-cv-07257   District of New Jersey                                   Richard Alexander Saveri                                                    rick@saveri.com        Consumer   Yes by CTO - 1
      Inc.                                                                                       Saveri & Saveri, Inc.
                                                                                                  706 Sansome Street
                                                                                               San Francisco, CA 94111
                                                                                                    415-217-6810
                                                                                                           Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 24 of 154




                                                                       Plaintiffs' Counsel Table
                                                     In re: Equifax, Inc., Customer Data Security Breach Litigation
                                                                      Case No. 1:17-md-2800-TWT
                                                                              MDL No. 2800
 Case Name             Case           Original Court               Local Counsel            Plaintiffs' Counsel & Contact Information                                             Email Addresses             Consumer,    Transfer
                     Number &                                                                                                                                                                                 Financial     Status
                      Original                                                                                                                                                                                 or Small
                       Court                                                                                                                                                                                   Business

Brandon v. Equifax   1:17-cv-03454      Northern District of      Evangelista Worley, LLC                 James M. Evangelista                                                      jme@ewlawllc.com           Consumer        Yes
                                             Georgia                                                        David J. Worley                                                         david@ewlawll.com
                                                                                                        Kristi Stahnke McGregor                                                     kristi@ewlawll.com
                                                                                                     EVANGELISTA WORLEY, LLC
                                                                                                     8100 A Roswell Road, Suite 100                                                wbf@federmanlaw.com
                                                                                                           Atlanta, GA 30350                                                       clm@federmanlaw.com
                                                                                                              404-205-8400                                                         jdw@federmanlaw.com

                                                                                                            William Federman
                                                                                                            Carin L. Marcussen
                                                                                                             Joshua D. Wells
                                                                                                       FEDERMAN & SHERWOOD                                                       cdukelow@abingtonlaw.com
                                                                                                       10205 N. Pennsylvania Avenue
                                                                                                           Oklahoma, OK 73120
                                                                                                              405-235-1560

                                                                                                           Cornelius P. Dukelow
                                                                                                          Abington Cole + Ellery
                                                                                                    320 South Boston Avenue, Suite 1130
                                                                                                             Tulsa, OK 74103
                                                                                                               918-588-3400

 Brannan et al v.    1:17-cv-03708      Northern District of       The Finley Firm, P.C.                  James Benjamin Finley                                                  bfinley@thefinleyfirm.com     Consumer
  Equifax, Inc.                              Georgia                                                       MaryBeth V. Gibson                                                    mgibson@thefinleyfirm.com
                                                                                                            Robert W. Garrett                                                    wgarrett@thefinleyfirm.com
                                                                                                           The Finley Firm, P.C.
                                                                                                          Building 14, Suite 230
                                                                                                           3535 Piedmont Road
                                                                                                            Atlanta, GA 30305
                                                                                                          404-320-9979 ext 241

  Breen et al. v.    1:17-cv-03395   District of South Carolina                                              David Hart Breen                                                                                  Consumer   Yes by CTO - 4
  Equifax, Inc.                                                                                              Breen Law Firm
                                                                                                                 Suite 200
                                                                                                          1341 44th Avenue North
                                                                                                          Myrtle Beach, SC 29577
                                                                                                              843-445-9915
                                                                                                            Fax: 843-445-9925
                                                                                              Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 25 of 154




                                                                  Plaintiffs' Counsel Table
                                                     In re: Equifax, Inc., Customer Data Security Breach Litigation
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                      Number &                                                                                                                                                                   Financial     Status
                       Original                                                                                                                                                                   or Small
                        Court                                                                                                                                                                     Business

Broder v. Equifax,    1:17-cv-03587    Northern District of                                     Andrea Bierstein                                                     dmiceli@simmonsfirm.com      Consumer
      Inc.                                  Georgia                                             David F. Miceli
                                                                                                 Jayne Conroy
                                                                                             Simmons Hanly Conroy
                                                                                          112 Madison Avenue, 7th Floor
                                                                                              New York, NY 10016
                                                                                                 212-784-6403

                                                                                                Emily C. Aldridge
                                                                                                Lelsey A. Weaver
                                                                                                Matthew S. Weiler
                                                                                           Bleichmar Fonti & Auld LLP
                                                                                          1999 Harrison Street, Suite 670
                                                                                               Oakland, CA 94612
                                                                                                  415-445-4003

Brodsky v. Equifax,   2:17-cv-05528   Eastern District of New                                        PRO SE                                                         demcointerexport@yahoo.com    Consumer   Yes by CTO - 1
    Inc., et al.                               York                                                Jay Brodsky
                                                                                            1585 Round Swamp Road
                                                                                              Plainview, NY 11803
                                                                                                  973-568-1666
                                                                                                  Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 26 of 154




                                                               Plaintiffs' Counsel Table
                                                In re: Equifax, Inc., Customer Data Security Breach Litigation
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                                                                         MDL No. 2800
Case Name            Case          Original Court          Local Counsel            Plaintiffs' Counsel & Contact Information                                            Email Addresses           Consumer,   Transfer
                   Number &                                                                                                                                                                        Financial    Status
                    Original                                                                                                                                                                        or Small
                     Court                                                                                                                                                                          Business

 Brown et al. v.   1:17-cv-03449   Northern District of   Evangelista Worley, LLC                   David J. Worley                                                        jim@ewlawllc.com         Consumer     Yes
Equifax Inc. and                        Georgia                                                  James M. Evangelista                                                      david@ewlawll.com
TrustedID, Inc.                                                                                 Kristi Stahnke McGregor                                                    kristi@ewlawll.com
                                                                                             EVANGELISTA WORLEY, LLC
                                                                                              8100 A Roswell Rd, Suite 100                                              b.barnow@barnowlaw.com
                                                                                                   Atlanta, GA 30350                                                     e.schork@barnowlaw.com
                                                                                                      404-205-8400                                                      kevinrogerslaw@gmail.com
                                                                                                                                                                            tblood@bholaw.com
                                                                                                       Ben Barnow
                                                                                                     Erich P. Schork
                                                                                            BARNOW AND ASSOCIATES, P.C.
                                                                                               1 North LaSalle Street #4600
                                                                                                    Chicago, IL 60602
                                                                                                      312-621-2000
                                                                                                    Timothy G. Blood
                                                                                                   CA Bar No. 149343
                                                                                                 (Pro hac vice to be filed)
                                                                                           BLOOD HURST &O’REARDON, LLP
                                                                                                 701 B Street, Suite 1700
                                                                                                  San Diego, CA 92101
                                                                                                   Tel: (619) 338-1100
                                                                                                   Fax: (619) 338-1101
                                                                      Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 27 of 154




                                           Plaintiffs' Counsel Table
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            Number &                                                                                                                                                      Financial    Status
             Original                                                                                                                                                      or Small
              Court                                                                                                                                                        Business

                                                                       Richard L. Coffman                                                   rcoffman@coffmanlawfirm.com
                                                                      TX Bar No. 04497460
                                                                     (Pro hac vice to be filed)
                                                                   THE COFFMAN LAW FIRM
                                                                        First City Building
                                                                    505 Orleans St., Fifth Floor
                                                                      Beaumont, TX 77701
                                                                       Tel: (409) 833-7700
                                                                       Fax: (866) 835-8250

                                                                        Brandee J.K. Faria
                                                                         HI Bar No. 6970
                                                                     (Pro hac vice to be filed)
                                                                     PERKIN&FARIA, LLLC
                                                                   841 Bishop Street, Suite 1000
                                                                        Honolulu, HI 96813
                                                                       Tel: (808) 523-2300
                                                                       Fax: (808) 697-5302
                                                                       info@perkinlaw.com
                                                                        Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 28 of 154




                                           Plaintiffs' Counsel Table
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Case Name     Case      Original Court   Local Counsel   Plaintiffs' Counsel & Contact Information                                              Email Addresses           Consumer,   Transfer
            Number &                                                                                                                                                      Financial    Status
             Original                                                                                                                                                      or Small
              Court                                                                                                                                                        Business

                                                                          Charles T. Lester, Jr.                                              mgray@grayandwhitelaw.com
                                                                          OH Bar No. 0017601                                                   charles@lawbylester.com
                                                                        (Pro hac vice to be filed)
                                                                     CHARLES T. LESTER, JR.,
                                                                         ATTORNEY AT LAW
                                                                            P.O. Box 75069
                                                                    Fort Thomas, KY 41075-0069
                                                                 Tel: (859) 838-4294, (859) 781-2406
                                                                          Fax: (859) 486-6590

                                                                            Mark K. Gray
                                                                          KY Bar No. 83552
                                                                       (Pro hac vice to be filed)
                                                                          GRAY &WHITE
                                                                     713 E. Market St., Suite 200
                                                                        Louisville, KY 40202
                                                                         Tel: (502) 805-1800
                                                                         Fax: (502) 618-4059

                                                                 Ralph K. Phalen MO Bar No. 36687
                                                                      (Pro hac vice to be filed)
                                                                  RALPH K. PHALEN LAW, P.C.
                                                                           4310 Madison
                                                                              Suite 140
                                                                       Kansas City, MO 64111
                                                                        Tel: (816) 589-0753
                                                                        Fax: (816) 471-1701
                                                                                                Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 29 of 154




                                                                     Plaintiffs' Counsel Table
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                         Number &                                                                                                                                                                   Financial     Status
                          Original                                                                                                                                                                   or Small
                           Court                                                                                                                                                                     Business

                                                                                                   Kevin B. Rogers                                                       eobrien@ekoblaw.com
                                                                                                 IL Bar No. 6192609
                                                                                               (Pro hac vice to be filed)
                                                                                          LAW OFFICES OF KEVIN ROGERS
                                                                                             307 North Michigan Avenue
                                                                                                       Suite 305
                                                                                                  Chicago, IL 60601
                                                                                                 Tel: (312) 332-1188
                                                                                                 Fax: (312) 332-0192

                                                                                                  Edward K. O’Brien
                                                                                                O’Brien Law Firm, PC
                                                                                               77 Sundial Ave Ste 148W
                                                                                                Manchester, NH 03103
                                                                                                   (603) 672-3800
Brumfield v. Equifax,    1:17-cv-06459   Eastern District of New                                   Gaitri Boodhood                                                    gboodhoo@brualdilawfirm.com    Consumer   Yes by CTO - 1
        Inc.                                      York                                          The Brualdi Law Firm
                                                                                               29 Broadway, Suite 2400
                                                                                                New York, NY 10006
                                                                                                    212-952-0602

 Bussey v. Equifax       7:17-cv-00158     Middle District of                                          PRO SE                                                           ronnniebusse@yahoo.com       Consumer   Yes by CTO - 1
  Credit Bureau                                Georgia                                              Ronnie Bussey
                                                                                                   303 Alunza Street
                                                                                                  Douglas, GA 31533
                                                                                                    912-292-6522

Butler v. Equifax Inc.   3:17-cv-02158    Southern District of                                    Stephen F Yunker                                                          sfy@yslaw.com            Consumer   Yes by CTO - 1
                                              California                                    655 West Broadway, Suite 1400
                                                                                                San Diego, CA 92101
                                                                                                    619-233-5500
                                                                                                    Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 30 of 154




                                                                    Plaintiffs' Counsel Table
                                                      In re: Equifax, Inc., Customer Data Security Breach Litigation
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  Case Name              Case          Original Court            Local Counsel        Plaintiffs' Counsel & Contact Information                                             Email Addresses            Consumer,    Transfer
                       Number &                                                                                                                                                                        Financial     Status
                        Original                                                                                                                                                                        or Small
                         Court                                                                                                                                                                          Business

Byas & Drummer v.      4:17-cv-00130    Northern District of                                          Daniel E. Morris                                                                                  Consumer
   Equifax, Inc.                       Mississippi (Greenville                              DANIEL E. MORRIS LAW FIRM, PLLC
                                             Division)                                                P.O. Box 40811
                                                                                                  Baton Rouge, LA 70835

                                                                                                     Tanisha M. Gates
                                                                                                 DORSEY & GATES, PLLC
                                                                                                      P.O. Box 158
                                                                                                    Belzoni, MS 39038
                                                                                                      662-247-2449
Cadwallader et al v.   0:17-cv-04640    District of Minnesota                                       Michael R Cashman                                                      mcashman@hjlawfirm.com       Consumer   Yes by CTO - 1
 Equifax Inc. et al                                                                              Hellmuth & Johnson, PLLC
                                                                                                   8050 West 78th Street
                                                                                                     Edina, MN 55439
                                                                                                       952-941-4005

 Calderon et al v.     1:17-cv-04389    Northern District of     Kent & Risley, LLC                  Daniel Arthur Kent                                                     dankent@kentrisley.com      Consumer
 Equifax Inc. et al                          Georgia                                                 Kent & Risley, LLC
                                                                                               5755 North Point Pkwy., Suite 57
                                                                                                    Alpharetta, GA 30022
                                                                                                       404-585-4214

                                                                                                     Gregory S. Otsuka
                                                                                                 Hellmuth & Johnson, PLLC
                                                                                                   8050 West 78th Street
                                                                                                     Edina, MN 55439
                                                                                                       952-941-4005
Campbell v. Equifax    2:17-cv-01657     Western District of                                          McKean J Evans                                                      mevans@pivotallawgroup.com    Consumer   Yes by CTO - 1
      Inc.                                 Washingon                                                Christopher L. Thayer
                                                                                                  PIVOTAL LAW GROUP
                                                                                                      IBM BUILDING
                                                                                                 1200 Fifth Ave., Suite 1217
                                                                                                     Seattle, WA 98101
                                                                                                       206-340-2008

Campos v. Equifax,     1:17-cv-06579   Eastern District of New                                     Edward B. Geller                                                             epbh@aol.com            Consumer   Yes by CTO - 1
      Inc.                                      York                                          EDWARD B. GELLER, ESQ., P.C.
                                                                                                   15 Landing Way
                                                                                                   Bronx, NY 10464
                                                                                                    914-473-6783
                                                                                                 Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 31 of 154




                                                                    Plaintiffs' Counsel Table
                                                       In re: Equifax, Inc., Customer Data Security Breach Litigation
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  Case Name               Case          Original Court            Local Counsel   Plaintiffs' Counsel & Contact Information                                                 Email Addresses               Consumer,    Transfer
                        Number &                                                                                                                                                                          Financial     Status
                         Original                                                                                                                                                                          or Small
                          Court                                                                                                                                                                            Business

  Caplan v. Equifax     2:17-cv-04055     Eastern District of                                      Andrew B. Sacks                                                           asacks@sackslaw.com            Consumer   Yes by CTO - 1
Information Services,                        Pennsylvania                                           John K. Weston                                                          jweston@sackslaw.com
        LLC                             (Philadelphia Division)                               Sacks Weston Diamond LLC
                                                                                             1845 Walnut Street, Suite 1600                                                  tom@attorneyzim.com
                                                                                                Philadelphia, PA 19103
                                                                                                     215-925-8200                                                            notices@dannlaw.com

                                                                                             Thomas A. Zimmerman, Jr.                                                    dkrieger@hainesandkrieger.com
                                                                                         ZIMMERMAN LAW OFFICES, P.C.
                                                                                         77 West Washington Street, Suite 1220
                                                                                                  Chicago, IL 60602
                                                                                                   312-440-0020

                                                                                                   Marc E. Dann
                                                                                                     Brian Flick
                                                                                           THE DANN LAW FIRM CO. LPA
                                                                                                  PO Box 6031040
                                                                                                Cleveland, OH 44103
                                                                                                   216-373-0536

                                                                                                   David H. Krieger
                                                                                                     George Haines
                                                                                              HAINES & KRIEGER, LLC
                                                                                             8985 S. Eastern Ave., Suite 350
                                                                                                 Henderson, NV 89123
                                                                                                     702-880-5554

                                                                                                  Matthew I. Knepper
                                                                                                    Miles N. Clark                                                     matthew.knepper@knepperclark.com
                                                                                              KNEPPER & CLARK, LLC                                                       miles.clark@knepperclark.com
                                                                                         10040 W. Cheyenne Ave., Suite 170-109
                                                                                                Las Vegas, NV 89129                                                        seanpayne@spaynelaw.com
                                                                                                    702-825-6060

                                                                                                     Sean N. Payne
                                                                                               PAYNE LAW FIRM LLC
                                                                                          9550 S. Eastern Ave., Suite 253-A213
                                                                                                  Las Vegas, NV 89123
                                                                                                      702-952-2733
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                                                      In re: Equifax, Inc., Customer Data Security Breach Litigation
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                         Number &                                                                                                                                                                          Financial     Status
                          Original                                                                                                                                                                          or Small
                           Court                                                                                                                                                                            Business

 Caprio v. Equifax,      1:17-cv-03358   District of Maryland                                          Nathan Daniel Alder                                                         nda@nqgrg.com            Consumer   Yes by CTO - 1
       Inc.                                                                                 Neuberger Quinn Gielen Rubin and Gibber PV
                                                                                                   One South Street, 27th Floor
                                                                                                       Baltimore, MD 21202
                                                                                                           410-332-8516

Carr et al. v. Equifax   5:17-cv-04089    District of Kansas      Robert B. Sullivan                    Andrew C. Melzer                                                     amelzer@sanfordheisler.com     Consumer   Yes by CTO - 1
     Inc. et al.                                                                                    Sanford Heisler Sharp, LLP
                                                                                              1350 Avenue of the Americas, 31st Floor
                                                                                                      New York, NY 10019                                                      ksharp@sanfordheisler.com
                                                                                                          646-402-5650

                                                                                                           Kevin Sharp
                                                                                                    Sanford Heisler Sharp, LLP
                                                                                                   611 Commerce St., Ste. 3100                                                 rbsullivan13@gmail.com
                                                                                                       Nashville, TN 37203
                                                                                                          615-434-7001

                                                                                                        Robert B. Sullivan
                                                                                                      5704 W. 128th Terrace
                                                                                                     Overland Park, KS 66209
                                                                                                          816-309-6840
  Cary III et al. v.     1:17-cv-03433   Northern District of   BARNES LAW GROUP,                         Roy E. Barnes                                                        roy@barneslawgroup.com       Consumer        Yes
   Equifax, Inc.                          Georgia (Atlanta             LLC                                John R. Bevis                                                       bevis@barneslawgroup.com
                                              Division)                                                J. Cameron Tribble                                                    ctribble@barneslawgroup.com
                                                                                                   BARNES LAW GROUP, LLC
                                                                                                      31 Atlanta Street, SE
                                                                                                      Marietta, GA 30060
                                                                                                          770-227-6375                                                         siegel@stuevesiegel.com
                                                                                                                                                                               vahle@stuevesiegel.com
                                                                                                        Norman E. Siegel                                                       moore@stuevesiegel.com
                                                                                                         Barrett J. Vahle
                                                                                                        J. Austin Moore
                                                                                                 STUEVE SIEGEL HANSON LLP
                                                                                                   460 Nichols Road, Suite 200
                                                                                                     Kansas City, MO 64112
                                                                                                         816-714-7100
                                                                                                           Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 33 of 154




                                                                        Plaintiffs' Counsel Table
                                                        In re: Equifax, Inc., Customer Data Security Breach Litigation
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  Case Name               Case           Original Court              Local Counsel           Plaintiffs' Counsel & Contact Information                                              Email Addresses               Consumer,    Transfer
                        Number &                                                                                                                                                                                  Financial     Status
                         Original                                                                                                                                                                                  or Small
                          Court                                                                                                                                                                                    Business

 Casper v. Equifax      1:17-cv-01004   Middle District of North                                      CRAVEN RANDALL CASPER                                                        randall.casper@gmail.com        Consumer   Yes by CTO-5
       Inc.                                    Carolina                                                     PO BOX 2311
                                                                                                        CHAPEL HILL, NC 27515
                                                                                                            919-951-8780
                                                                                                              PRO SE

Cederdahl v. Equifax    4:17-cv-00342   Southern District of Iowa                                         Jeffery Joseph Cook                                                       jcook@pattersonfirm.com        Consumer   Yes by CTO - 1
Information Services,                                                                                 PATTERSON LAW FIRM LLP
        LLC                                                                                             505 Fifth Ave., Suite 729
                                                                                                         Des Moines, IA 50309
                                                                                                          515-283-2147 x243

Chehebar v. Equifax     3:17-cv-11414    District of New Jersey                                           Edward B. Geller                                                               epbh@aol.com              Consumer   Yes by CTO - 1
       Inc.                                                                                          EDWARD B. GELLER, ESQ., P.C.
                                                                                                          15 Landing Way
                                                                                                          Bronx, NY 10464
                                                                                                           914-473-6783

Chehebar v. Equifax     3:17-cv-11417    District of New Jersey                                           Edward B. Geller                                                               epbh@aol.com              Consumer   Yes by CTO - 1
       Inc.                                                                                          EDWARD B. GELLER, ESQ., P.C.
                                                                                                          15 Landing Way
                                                                                                          Bronx, NY 10464
                                                                                                           914-473-6783

Chenault v. Equifax,    1:17-cv-03764     Northern District of      Robin Frazer Clark, PC                  Robin Frazer Clark                                                    robinclark@gatriallawyers.net    Consumer
       Inc.                                    Georgia                                                   Robin Frazer Clark, PC
                                                                                                       Centennial Tower, Suite 2300
                                                                                                        101 Marietta Street, N.W.
                                                                                                            Atlanta, GA 30303
                                                                                                              404-873-3700

   Cherney and          2:17-cv-12966      Eastern District of                                                Nathan J. Fink                                                     nfink@finkandassociateslaw.com    Consumer
Cherney v. Equifax,                        Michigan (Detriot                                                  David H. Fink                                                      dfink@finkandassociateslaw.com
       Inc.                                    Division)                                                 FINK ASSOCIATES LAW
                                                                                                      38500 Woodward Ave., Suite 350
                                                                                                        Bloomfield Hills, MI 48304
                                                                                                              248-971-2500
                                                                                                    Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 34 of 154




                                                                      Plaintiffs' Counsel Table
                                                         In re: Equifax, Inc., Customer Data Security Breach Litigation
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  Case Name                Case           Original Court            Local Counsel   Plaintiffs' Counsel & Contact Information                                                    Email Addresses                 Consumer,    Transfer
                         Number &                                                                                                                                                                                Financial     Status
                          Original                                                                                                                                                                                or Small
                           Court                                                                                                                                                                                  Business

Cho v. Equifax, Inc.,    2:17-cv-08548      Central District of                                        Gerald S Ohn                                                                gerald@ohnlaw.com              Consumer   Yes by CTO - 2
        et al                                  California                                     Law Offices of Gerald S Ohn APC
                                                                                               25129 The Old Road, Suite 207
                                                                                                Stevenson Ranch, CA 91381
                                                                                                       661-475-5220

Christen & Coughlin      1:17-cv-06951    District of New Jersey                                      Kevin P. Roddy                                                              kroddy@wilentz.com              Consumer   Yes by CTO - 1
  v. Equifax, Inc.                         (Camden Division)                                        Philip A. Tortoreti                                                          ptortoreti@wilentz.com
                                                                                                      Andrew Grous                                                                agrous@wilentz.com
                                                                                           WILENTZ, GOLDMAN & SPITZER, PA
                                                                                        90 Woodbridge Center Drive, Suite 900, Box 10
                                                                                                  Woodbridge, NJ 07095                                                          b.barnow@barnowlaw.com

                                                                                                        Ben Barnow
                                                                                              BARNOW & ASSOCIATES, P.C.
                                                                                             One North LaSalle Street, Suite 4600
                                                                                                     Chicago, IL 60602
                                                                                                       312-621-2000

Clark et al v. Equifax   1:17-cv-03497     Northern District of                                      E. Michelle Drake                                                              emdrake@bm.net                Consumer
         Inc.                                   Georgia                                                Jon Lambiras                                                                 jlambiras@bm.net
                                                                                                     Shanon J. Carson                                                                scarson@bm.net
                                                                                                     Sherrie R. Savett                                                                ssavett@bm.net
                                                                                                 Berger & Montague, P.C.
                                                                                                43 SE Main Street, Suite 505
                                                                                                  Minneapolis, MN 55414
                                                                                                       612-594-5933

Clark et al v. Equifax   1:17-cv-01118   District of New Mexico                                      Nicholas Koluncich                                                   nkoluncich@newmexicoclassactions.com    Consumer   Yes by CTO - 1
         Inc.                                                                               Law offices of Nicholas Koluncich LLC
                                                                                             500 Marquette Ave NW., Suite 1200
                                                                                                  Albuquerque, NM 87102
                                                                                                        505-881-2228

   Coade-Wingate         1:17-cv-01136   Northern District of New                                    Rodney Mark Zerbe                                                           rzerbe@hjlawfirm.com             Consumer   Yes by CTO - 1
 v.Equifax Inc. et al                             York                                           Hellmuth, Johnson Law Firm
                                                                                                  The Woolworth Building
                                                                                                 233 Broadway., Suite 2208
                                                                                                    New York, NY 10279
                                                                                                       212-966-4949
                                                                                                     Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 35 of 154




                                                                      Plaintiffs' Counsel Table
                                                        In re: Equifax, Inc., Customer Data Security Breach Litigation
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                        Number &                                                                                                                                                                          Financial     Status
                         Original                                                                                                                                                                          or Small
                          Court                                                                                                                                                                            Business

   Cofield et al v.     1:17-cv-03119     District of Maryland                                              PRO SE                                                         supremegrandbishop@gmail.com    Consumer     Transfer
  Equifax Inc. et al                                                                                 Kevin L. Cofield, Sr.                                                                                             Opposed on
                                                                                                         410-419-6049                                                         abettercoach@gmail.com                    12/21/17
                                                                                                     Dr. Keenan K. Cofield
                                                                                                         443-554-3715
                                                                                                       Laverne Thompson
                                                                                                      4109 Cutty Sark Rd.
                                                                                                     Baltimore, MD 21220

                                                                                                            PRO SE
                                                                                                         Berri A. Wells
                                                                                                    7723 English Oak Circle
                                                                                                      Elkridge, MD 21075
                                                                                                         301-905-7160
Cole et al v. Equifax   5:17-cv-00223     District of Vermont       Hayes, Windish &                      Kevin Sharp                                                        ksharp@sanfordheisler.com     Consumer   Yes by CTO - 1
      Inc. et al                                                       Badgewick                   Saford Heisler Sharp, LLP
                                                                                                611 Commerce Street, Suite 3100
                                                                                                     Nashville, TN 37203
                                                                                                        615-434-7000                                                       rwindish@woodstockvtlaw.com

                                                                                                     Richard J. Windish
                                                                                                 Hayes, Windish & Badgewick
                                                                                                      45 Pleasant Street
                                                                                                   Woodstock, VT 05091
                                                                                                        802-457-2123
 Cole v. Equifax Inc.   1:17-cv-11712   District of Massachusetts                                        John Roddy                                                          jroddy@baileyglasser.com      Consumer   Yes by CTO - 1
     and Equifax                           (Boston Division)                                           Elizabeth Ryan                                                         eryan@baileyglasser.com
Information Services,                                                                                  Benjamin Lajoie                                                       blajoie@baileyglasser.com
         LLC                                                                                      BAILEY & GLASSER LLP
                                                                                                   99 High Street, Suite 304
                                                                                                      Boston, MA 02110                                                          nfo@mass-legal.com
                                                                                                        617-439-6730

                                                                                                       Nicholas F. Ortiz
                                                                                           LAW OFFICE OF NICHOLAS F. ORTIZ, P.C.
                                                                                                   99 High Street, Suite 304
                                                                                                      Boston, MA 02110
                                                                                                        617-338-9400
                                                                                              Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 36 of 154




                                                                   Plaintiffs' Counsel Table
                                                     In re: Equifax, Inc., Customer Data Security Breach Litigation
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 Case Name              Case           Original Court            Local Counsel   Plaintiffs' Counsel & Contact Information                                            Email Addresses             Consumer,   Transfer
                      Number &                                                                                                                                                                    Financial    Status
                       Original                                                                                                                                                                    or Small
                        Court                                                                                                                                                                      Business

Coleman v. Equifax,   3:18-cv-00004      Middle District of                                      Craig Coleman                                                                                     Consumer   Yes by CTO-6
      Inc.                                  Tennessee                                           4902 Indiana Ave.
                                                                                               Nashville, TN 37209
                                                                                                    PRO SE

Collins v. Equifax,   1:17-cv-00187 Southern District of Texas                                Thomas F. Hetherington                                                tom.hetherington@emhllp.com    Consumer       Yes
       Inc.                          (Brownsville Division)                                       Kendall J. Burr                                                     kendall.burr@emhllp.com
                                                                                                  Diane S. Wizig                                                      diane.wizig@emhllp.com
                                                                                   EDISON MCDOWELL AND HETHERINGTON LLP
                                                                                           1001 Fannin Street, Suite 2700
                                                                                                Houston, TX 77002
                                                                                                  713-337-5580

Collins v. Equifax,   8:17-cv-01561     Central District of                                    Timothy G. Blood                                                         tblood@bholaw.com          Consumer
       Inc.                            California (Southern                             BLOOD HURST & O'REARDON LLP
                                       Division - Santa Ana)                              501 West Broadway, Suite 1490
                                                                                              San Diego, CA 92101
                                                                                                 619-338-1100
                                                                                                    Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 37 of 154




                                                                Plaintiffs' Counsel Table
                                                  In re: Equifax, Inc., Customer Data Security Breach Litigation
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 Case Name             Case          Original Court         Local Counsel            Plaintiffs' Counsel & Contact Information                                                Email Addresses               Consumer,    Transfer
                     Number &                                                                                                                                                                               Financial     Status
                      Original                                                                                                                                                                               or Small
                       Court                                                                                                                                                                                 Business

   Consumers         1:17-cv-04775   Northern District of      Anthony C. Lake                        Bryan Bleichner                                                     bbleichner@chesnutcambronne.com    Financial
Cooperative Credit                        Georgia              Thomas Withers                       Chestnut Cambronne
  Union et al v.                                            Gillen Withers & Lake,          17 Washington Avenue North, Suite 300                                              cvanhorn@bfvlaw.com
    Equifax                                                          LLC                          Minneapolis, MN 55401
                                                            3490 Piedmont Road,                        612-339-7300                                                            ecomite@scott-scott.com
                                                                     N.E.                                                                                                    jguglielmo@scott-scott.com
                                                            One Securities Centre,                   Erin Green Comite
                                                                  Suite 1050                          Joseph Guglielmo                                                        Khriebel@locklaw.com
                                                              Atlanta, GA 30305                          Scott + Scott                                                      kmbaxter-kauf@locklaw.com
                                                                 404-842-9700                       156 South Main Street
                                                                                                        P.O. Box 192                                                           aclake@gwllawfirm.com
                                                             Charles H. Van Horn                    Colchester, CT 06415                                                      twithers@gwllawfirm.com
                                                            Berman Fink Van Horn                        860-537-5537
                                                                     P.C.                                                                                                   smurray@murray-lawfirm.com
                                                             3475 Piedmont Road,                    Karen Hanson Riebel                                                     amurray@murray-lawfirm.com
                                                                  Suite 1100                         Kate Baxter-Kauf                                                       cthomas@murray-lawfirm.com
                                                              Atlanta, GA 30305               Lockridge Grindal Nauen P.L.L.P.
                                                                404-261-7711                 100 Washington Ave. S., Suite 2200
                                                                                                  Minneapolis, MN 55401
                                                                                                       612-339-6900

                                                                                                     Stephen Murray, Sr.
                                                                                                      Arthur M. Murray
                                                                                                      Caroline Thomas
                                                                                                      Murray Law Firm
                                                                                                650 Poydras Street, Suite 2150
                                                                                                   New Orleans, LA 70130
                                                                                                        505-525-8100
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                                                                 Plaintiffs' Counsel Table
                                                      In re: Equifax, Inc., Customer Data Security Breach Litigation
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  Case Name               Case          Original Court         Local Counsel   Plaintiffs' Counsel & Contact Information                                                Email Addresses             Consumer,    Transfer
                        Number &                                                                                                                                                                    Financial     Status
                         Original                                                                                                                                                                    or Small
                          Court                                                                                                                                                                      Business

                                                                                             Brian C. Gudmundson                                                    brian.gudmundson@zimmreed.com
                                                                                         Zimmerman Reed, P.L.L.P. -MN
                                                                                               1100 IDS Center                                                         glynch@carlsonlynch.com
                                                                                              80 South 8th Street
                                                                                            Minneapolis, MN 55402
                                                                                                 612-341-0400

                                                                                                 Gary F. Lynch
                                                                                             Carlson Lynch Sweet
                                                                                            Kilpela & Carpenter LLP
                                                                                          1133 Penn Avenue, 5th Floor
                                                                                             Pittsburgh, PA 15222
                                                                                                 412-322-9243
  Cooper et al. v.      4:17-cv-00490    District of Arizona                                Leonard Anthony Bennett                                                     lenbennett@clalegal.com      Consumer   Yes by CTO - 1
Equifax Incorporated                                                                    Consumer Litigation Associates PC
        et al.                                                                          763 J Clyde Morris Blvd., Ste. 1A
                                                                                           Newport News, VA 23601
                                                                                                 757-930-3660

Cox et al v. Equifax,   1:17-cv-03586   Northern District of                                     Alex G. Streett                                                          beng@bsjfirm.com           Consumer
        Inc.                                 Georgia                                            James A. Streett
                                                                                             Streett Law Firm, P.A.
                                                                                                 107 West Main
                                                                                             Russellville, AR 72801
                                                                                                 479-968-2030

                                                                                                Benjamin A. Gastel
                                                                                                Michael G.. Stewart
                                                                                       Branstetter Stranch & Jennings PLLC
                                                                                               The Freedom Center
                                                                                       223 Rosa L. Parks Avenue, Suite 200
                                                                                               Nashville, TN 37203
                                                                                                   615-254-8801
Crossett v. Equifax,    4:17-cv-02434    Eastern District of                                  D. Todd Mathews                                                          Todd@GoriJulianLaw.com        Consumer   Yes by CTO - 1
       Inc.                                  Missouri                                      GORI AND JULIAN, P.C.
                                                                                              156 N. Main ST.
                                                                                            Edwardsville, IL 62025
                                                                                               618-659-9833
                                                                                         Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 39 of 154




                                                             Plaintiffs' Counsel Table
                                                  In re: Equifax, Inc., Customer Data Security Breach Litigation
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Case Name             Case          Original Court         Local Counsel   Plaintiffs' Counsel & Contact Information                                              Email Addresses               Consumer,    Transfer
                    Number &                                                                                                                                                                    Financial     Status
                     Original                                                                                                                                                                    or Small
                      Court                                                                                                                                                                      Business

  Crow et al. v.    5:17-cv-05355   Northern District of                                Cari Campen Laufenberg                                                 claufenberg@kellerrohrback.com    Consumer   Yes by CTO - 1
  Equifax, Inc.                         California                                     Gretchen Freeman Cappio                                                   gcappio@kellerrohrback.com
                                                                                         Keller Rohrback, LLP
                                                                                     1201 Third Avenue, Suite 3200
                                                                                        Seattle, WA 98101-3052
                                                                                             206-623-1900
                                                                                                                                                                  jflowers@motleyrice.com
                                                                                        Jodi Westbrook Flowers
                                                                                         Motley Rice, LLC-SC
                                                                                        28 Bridgeside Boulevard
                                                                                        Mt. Pleasant, SC 29464
                                                                                             843-216-9163
Cuevas v. Equifax   2:17-cv-08604    Central District of                                  Thomas V. Girardi                                                      caumais@girardikeese.com        Consumer   Yes by CTO - 2
    Inc. et al                          California                                      Christopher T. Aumais                                                     tgirardi@girardikeese.com
                                                                                          Ashkahn Mohamadi                                                      amohamadi@girardikeese.com
                                                                                          GIRARDI KEESE
                                                                                       1126 Wilshire Boulevard
                                                                                     Los Angeles, California 90017
                                                                                            213-977-0211
                                                                                                     Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 40 of 154




                                                                 Plaintiffs' Counsel Table
                                                   In re: Equifax, Inc., Customer Data Security Breach Litigation
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 Case Name              Case          Original Court         Local Counsel            Plaintiffs' Counsel & Contact Information                                                Email Addresses               Consumer,    Transfer
                      Number &                                                                                                                                                                               Financial     Status
                       Original                                                                                                                                                                               or Small
                        Court                                                                                                                                                                                 Business

D.L. Evans Bank et    1:17-cv-05357   Northern District of      Anthony C. Lake                        Bryan Bleichner                                                                                        Financial
 al v. Equifax Inc.                        Georgia              Thomas Withers                       Chestnut Cambronne                                                    bbleichner@chesnutcambronne.com
                                                             Gillen Withers & Lake,          17 Washington Avenue North, Suite 300
                                                                      LLC                          Minneapolis, MN 55401                                                        cvanhorn@bfvlaw.com
                                                             3490 Piedmont Road,                        612-339-7300
                                                                      N.E.                                                                                                      ecomite@scott-scott.com
                                                             One Securities Centre,                   Erin Green Comite                                                       jguglielmo@scott-scott.com
                                                                   Suite 1050                          Joseph Guglielmo
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                                                                  404-842-9700                       156 South Main Street                                                   kmbaxter-kauf@locklaw.com
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                                                              Charles H. Van Horn                    Colchester, CT 06415                                                       aclake@gwllawfirm.com
                                                             Berman Fink Van Horn                        860-537-5537                                                          twithers@gwllawfirm.com
                                                                      P.C.
                                                              3475 Piedmont Road,                    Karen Hanson Riebel
                                                                   Suite 1100                         Kate Baxter-Kauf
                                                               Atlanta, GA 30305               Lockridge Grindal Nauen P.L.L.P.
                                                                 404-261-7711                 100 Washington Ave. S., Suite 2200
                                                                                                   Minneapolis, MN 55401
                                                                                                        612-339-6900
                                                                                                 Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 41 of 154




                                                                     Plaintiffs' Counsel Table
                                                       In re: Equifax, Inc., Customer Data Security Breach Litigation
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  Case Name              Case           Original Court             Local Counsel   Plaintiffs' Counsel & Contact Information                                               Email Addresses             Consumer,    Transfer
                       Number &                                                                                                                                                                        Financial     Status
                        Original                                                                                                                                                                        or Small
                         Court                                                                                                                                                                          Business

                                                                                                  Stephen Murray, Sr.                                                   smurray@murray-lawfirm.com
                                                                                                   Arthur M. Murray                                                     amurray@murray-lawfirm.com
                                                                                                   Caroline Thomas                                                      cthomas@murray-lawfirm.com
                                                                                                   Murray Law Firm
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                                                                                                                                                                          glynch@carlsonlynch.com
                                                                                                Brian C. Gudmundson
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                                                                                                  1100 IDS Center
                                                                                                 80 South 8th Street
                                                                                               Minneapolis, MN 55402
                                                                                                    612-341-0400

                                                                                                    Gary F. Lynch
                                                                                                Carlson Lynch Sweet
                                                                                               Kilpela & Carpenter LLP
                                                                                             1133 Penn Avenue, 5th Floor
                                                                                                Pittsburgh, PA 15222
                                                                                                    412-322-9243
 Dash III v. Equifax   1:17-cv-07076   Southern District of New                                        PRO SE                                                                 no email provided         Consumer   Yes by CTO - 1
Information Services                            York                                               John P. Dash III
        LLC                                                                                         Gotham BMG
                                                                                             420 Lexington Ave., Suite 300
                                                                                                 New York, NY 10170

  Dash v . Equifax     1:17-cv-00901   Western District of Texas                                         PRO SE                                                               no email provided         Consumer   Yes by CTO - 1
Information Services                                                                                  Dexter K. Dash
       LLC                                                                                            P.O Box 1431
                                                                                                    Leander, TX 78646
                                                                                                Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 42 of 154




                                                                   Plaintiffs' Counsel Table
                                                      In re: Equifax, Inc., Customer Data Security Breach Litigation
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 Case Name              Case           Original Court            Local Counsel   Plaintiffs' Counsel & Contact Information                                            Email Addresses           Consumer,    Transfer
                      Number &                                                                                                                                                                  Financial     Status
                       Original                                                                                                                                                                  or Small
                        Court                                                                                                                                                                    Business

Daughtery et al. v.   4:17-cv-00597      Eastern District of                                       J. Gerard Stranch                                                     beng@bsjfirm.com        Consumer   Yes by CTO - 1
  Equifax Inc.                               Arkansas                                             Benjamin A. Gastel                                                    gerards@bsjfirm.com
                                                                                         Branstetter, Stranch & Jennings PLLC
                                                                                         223 Rosa L. Parks Avenue, Suite 200
                                                                                                 Nashville, TN 37204
                                                                                                      615-254-8801
                                                                                                       Alex Streett
                                                                                                    Street Law Firm
                                                                                                  107 W Main Street
                                                                                             Russellville, Arkansas 72801
                                                                                                      479-968-2030

  Davis et al. v.     7:17-cv-06883   Southern District of New                                  Kevin Peter Roddy                                                       kroddy@wilentz.com       Consumer   Yes by CTO - 1
  Equifax Inc.                          York (White Plains                                      Philip A. Tortoreti                                                    ptortoreti@wilentz.com
                                             Division)                                            Andrew Grous                                                          agrous@wilentz.com
                                                                                       WILENTZ, GOLDMAN & SPITZER, PA
                                                                                        90 Woodbridge Center Drive, Suite 900
                                                                                              Woodbridge, NJ 07095                                                    b.barnow@barnowlaw.com
                                                                                                   732-636-8000

                                                                                                    Ben Barnow
                                                                                          BARNOW & ASSOCIATES, P.C.
                                                                                         One North LaSalle Street, Suite 4600
                                                                                                 Chicago, IL 60602
                                                                                                   312-621-2000

  Davis et al. v.     7:17-cv-01595     Northern District of                                      Steven P Gregory                                                    steve@gregorylawfirm.us    Consumer   Yes by CTO - 1
  Equifax Inc.                               Alabama                                         GREGORY LAW FIRM PC
                                                                                           2700 Corporate Drive, Suite 200
                                                                                               Birmingham, AL 35242
                                                                                                   205-314-4874
                                                                                                   Leon R. Storie
                                                                                                   2821 7th Street
                                                                                               Tuscaloosa, AL 35401
                                                                                                   205-737-0318


Day v. Equifax Inc.   1:18-cv-00042     District of Colorado                                     Mellani Joyce Day                                                                               Consumer   Yes by CTO-7
                                                                                                2084 Creighton Drive
                                                                                                 Golden, CO 80401
                                                                                                   303-378-7537
                                                                                                      PRO SE
                                                                                                  Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 43 of 154




                                                                     Plaintiffs' Counsel Table
                                                       In re: Equifax, Inc., Customer Data Security Breach Litigation
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  Case Name              Case           Original Court             Local Counsel   Plaintiffs' Counsel & Contact Information                                                 Email Addresses                Consumer,    Transfer
                       Number &                                                                                                                                                                             Financial     Status
                        Original                                                                                                                                                                             or Small
                         Court                                                                                                                                                                               Business

Dela Cruz v. Equifax   8:17-cv-02084      Central District of                                        Bobby Samini                                                            bsamini@saminilaw.com           Consumer   Yes by CTO - 2
     Inc. et al                              California                                            Matthew M. Hoesly                                                         mhoesly@saminilaw.com
                                                                                                    Bryan C. Oberle                                                     bryan.oberle.2016@lawmail.usc.edu
                                                                                                   Theodore G. Spanos                                                          tspanos@ksmllp.com
                                                                                                     Wyatt A. Lison                                                           wlison@saminilaw.com
                                                                                                  Samini Scheinberg PC
                                                                                                Newport Beach, CA 92663
                                                                                                     949-636-5953

 Derby v. Equifax,     2:17-cv-01186     Western District of                                     Joseph N. Kravec, Jr.                                                        jkravec@fdpklaw.com            Consumer    Yes by CTO
       Inc.                            Pennslyvania (Pittsburgh                        FEINSTEIN DOYLE PAYNE & KRAVEC LLC
                                              Division)                                         Law & Finance Building
                                                                                             429 Fourth Avenue Suite 1300
                                                                                                 Pittsburgh, PA 15219
                                                                                                     412-281-8400

   Dhuka et al v.      1:17-cv-00919   Western District of Texas                                  Andrew Kochanowski                                                     akochanowski@sommerspc.com          Consumer   Yes by CTO - 1
   Equifax, Inc.                                                                                    Sarah L. Rickard
                                                                                                Sommers Schwartz, P.C.                                                      srickard@sommerspc.com
                                                                                              One Towne Square, Suite 1700
                                                                                                  Southfield, MI 48076                                                      srickard@sommerspc.com
                                                                                                     248-746-4068

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                                                                                                   Reid Collins & Tsai
                                                                                               1301 S Capital of Texas Hwy
                                                                                                  Building C, Suite 300
                                                                                                    Austin, TX 78746
                                                                                                      512-647-6100
Diaz v. Equifax Inc.   7:17-cv-08175   Southern District of New                                 Steven Edward Armstrong                                                 SArmstrong@ArmstrongPLLC.com         Consumer   Yes by CTO - 1
                                                York                                   The Law Offices of Steven E. Armstrong, PLLC
                                                                                                61 Broadway, Suite 3000
                                                                                                  New York, NY 10006
                                                                                                      212-837-6824
                                                                                            Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 44 of 154




                                                                Plaintiffs' Counsel Table
                                                   In re: Equifax, Inc., Customer Data Security Breach Litigation
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  Case Name            Case          Original Court           Local Counsel   Plaintiffs' Counsel & Contact Information                                              Email Addresses               Consumer,    Transfer
                     Number &                                                                                                                                                                      Financial     Status
                      Original                                                                                                                                                                      or Small
                       Court                                                                                                                                                                        Business

   Dixon et al v.    1:17-cv-03809    Northern District of                                 Jodi Westbrook Flowers                                                    jflowers@motleyrice.com        Consumer   Yes by CTO - 1
   Equifax, Inc.                           Georgia                                              Kevin R. Dean                                                         kdean@motleyrice.com
                                                                                          Breanne Vandemeer Cope
                                                                                            Motley Rice, LLC-SC                                                   claufenberg@kellerrohrback.com
                                                                                          28 Bridgeside Boulevard                                                    gcappio@kellerohrback.com
                                                                                           Mt. Pleasant, SC 29464
                                                                                                843-216-9163

                                                                                           Cari Campen Laufenberg
                                                                                          Gretchen Freeman Cappio
                                                                                               Derek W. Loeser
                                                                                            Keller Rohrback, L.L.P
                                                                                        1201 Third Avenue, Suite 3200
                                                                                             Seattle, WA 98101
                                                                                                206-623-1900
  Domino et al. v.   0:17-cv-61936    Southern District of                                      Alex Arreaza                                                         alex@alexmylawyer.com          Consumer   Yes by CTO - 1
   Equifax, Inc.                           Florida                                      320 W Oakland Park Boulevard
                                                                                          Wilton Manors, FL 33311                                                     admin@zagerlaw.com
                                                                                               954-565-7743

                                                                                                 Joseph Zager
                                                                                              ZAGERLAW, P.A.
                                                                                       500 E. Broward Blvd., Suite 1820
                                                                                          Fort Lauderdale, FL 33394
                                                                                                954-888-8170
Dowgin & Hudson v.   1:17-cv-06923   District of New Jersey                                   Jamie P. Clouser                                                        jamie@clouseresq.com          Consumer
   Equifax Inc.                       (Camden Division)                                360 West 43rd Street, Suite S14A
                                                                                            New York, NY 10036
                                                                                               347-871-6702

Dremak v. Equifax,   3:17-cv-01829    Southern District of                                  Timothy G. Blood                                                           tblood@bholaw.com            Consumer
      Inc.                           California (San Diego                           BLOOD HURST & O'REARDON LLP
                                           Division)                                   501 West Broadway, Suite 1490
                                                                                           San Diego, CA 92101
                                                                                              619-338-1100
                                                                                                 Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 45 of 154




                                                                    Plaintiffs' Counsel Table
                                                       In re: Equifax, Inc., Customer Data Security Breach Litigation
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  Case Name               Case          Original Court            Local Counsel   Plaintiffs' Counsel & Contact Information                                              Email Addresses            Consumer,    Transfer
                        Number &                                                                                                                                                                    Financial     Status
                         Original                                                                                                                                                                    or Small
                          Court                                                                                                                                                                      Business

Duke et al v. Equifax   1:17-cv-03765    Northern District of                                        John C. Herman                                                      jherman@rgrdlaw.com         Consumer
                                              Georgia                                                Mark J. Dearborn                                                     pgeller@rgrdlaw.com
                                                                                                       Paul J. Geller
                                                                                        Robbins Geller Rudman & Dowd, LLP - GA
                                                                                                Suite 1650, Monarch Plaza                                              brobbins@robbinsarroyo.com
                                                                                                3424 Peachtree Road, NE
                                                                                                    Atlanta, GA 30326
                                                                                                      404-504-6500

                                                                                                  Ashley R. Rifkin
                                                                                                  Brian J. Robbins
                                                                                                   Kevin A. Seely
                                                                                                 Steven M. McKony
                                                                                                 Stuart A. Davidson
                                                                                               Robbins Arroyo, LLP-CA
                                                                                               600 B Street, Suite 1900
                                                                                                San Diego, CA 92101
                                                                                                   619-525-3990
 Duran & Duran v.       8:17-cv-01571    Central District of                                      Natalie S. Pang                                                                                    Consumer
   Equifax, Inc.                        California (Southern                             KABATECK BROWN KELLNER LLP
                                        Division - Santa Ana)                                644 South Figueroa Street
                                                                                              Los Angeles, CA 90017
                                                                                                  866-266-1800

Duran v. Equifax Inc.   1:17-cv-06584   Eastern District of New                                 Edward B. Geller                                                             epbh@aol.com            Consumer   Yes by CTO - 1
                                                 York                                      EDWARD B. GELLER, ESQ., P.C.
                                                                                                15 Landing Way
                                                                                                Bronx, NY 10464
                                                                                                 914-473-6783
                                                                                                      Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 46 of 154




                                                                  Plaintiffs' Counsel Table
                                                    In re: Equifax, Inc., Customer Data Security Breach Litigation
                                                                     Case No. 1:17-md-2800-TWT
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  Case Name              Case          Original Court         Local Counsel            Plaintiffs' Counsel & Contact Information                                                Email Addresses               Consumer,    Transfer
                       Number &                                                                                                                                                                               Financial     Status
                        Original                                                                                                                                                                               or Small
                         Court                                                                                                                                                                                 Business

Durand State Bank v.   1:18-cv-00021   Northern District of      Anthony C. Lake                        Bryan Bleichner                                                     bbleichner@chesnutcambronne.com    Financial
     Equifax                                Georgia              Thomas Withers                       Chestnut Cambronne
                                                              Gillen Withers & Lake,          17 Washington Avenue North, Suite 300                                              cvanhorn@bfvlaw.com
                                                                       LLC                          Minneapolis, MN 55401
                                                              3490 Piedmont Road,                        612-339-7300                                                            ecomite@scott-scott.com
                                                                       N.E.                                                                                                    jguglielmo@scott-scott.com
                                                              One Securities Centre,                   Erin Green Comite
                                                                    Suite 1050                          Joseph Guglielmo                                                        Khriebel@locklaw.com
                                                                Atlanta, GA 30305                          Scott + Scott                                                      kmbaxter-kauf@locklaw.com
                                                                   404-842-9700                       156 South Main Street
                                                                                                          P.O. Box 192                                                           aclake@gwllawfirm.com
                                                               Charles H. Van Horn                    Colchester, CT 06415                                                      twithers@gwllawfirm.com
                                                              Berman Fink Van Horn                        860-537-5537
                                                                       P.C.                                                                                                   smurray@murray-lawfirm.com
                                                               3475 Piedmont Road,                    Karen Hanson Riebel                                                     amurray@murray-lawfirm.com
                                                                    Suite 1100                         Kate Baxter-Kauf                                                       cthomas@murray-lawfirm.com
                                                                Atlanta, GA 30305               Lockridge Grindal Nauen P.L.L.P.
                                                                  404-261-7711                 100 Washington Ave. S., Suite 2200
                                                                                                    Minneapolis, MN 55401
                                                                                                         612-339-6900

                                                                                                       Stephen Murray, Sr.
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                                                                                                  650 Poydras Street, Suite 2150
                                                                                                     New Orleans, LA 70130
                                                                                                          505-525-8100
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                                                                    Plaintiffs' Counsel Table
                                                     In re: Equifax, Inc., Customer Data Security Breach Litigation
                                                                      Case No. 1:17-md-2800-TWT
                                                                              MDL No. 2800
  Case Name               Case          Original Court           Local Counsel            Plaintiffs' Counsel & Contact Information                                                  Email Addresses             Consumer,    Transfer
                        Number &                                                                                                                                                                                 Financial     Status
                         Original                                                                                                                                                                                 or Small
                          Court                                                                                                                                                                                   Business

                                                                                                          Brian C. Gudmundson                                                    brian.gudmundson@zimmreed.com
                                                                                                      Zimmerman Reed, P.L.L.P. -MN
                                                                                                            1100 IDS Center                                                         glynch@carlsonlynch.com
                                                                                                           80 South 8th Street
                                                                                                         Minneapolis, MN 55402
                                                                                                              612-341-0400

                                                                                                              Gary F. Lynch
                                                                                                          Carlson Lynch Sweet
                                                                                                         Kilpela & Carpenter LLP
                                                                                                       1133 Penn Avenue, 5th Floor
                                                                                                          Pittsburgh, PA 15222
                                                                                                              412-322-9243
Durham v. Equifax,      1:17-cv-03452   Northern District of   Conley Griggs Partin LLP                       Tina Wolfson                                                        twolfson@ahdootwolfson.com      Consumer        Yes
Inc. and Does 1-50                           Georgia                                                         Theodore Maya                                                         tmaya@ahdootwolfson.com
                                                                                                       AHDOOT & WOLFSON, PC
                                                                                                          10728 Lindbrook Drive
                                                                                                       Los Angeles, California 90024
                                                                                                              310-474-9111
                                                                                                                                                                                     ranse@conleygriggs.com
                                                                                                              Ranse M. Partin
                                                                                                     CONLEY GRIGGS PARTIN LLP
                                                                                             4200 Northside Parkway NW Building One Suite 300
                                                                                                            Atlanta, GA 303027
                                                                                                               229-985-5300

Earl v. Equifax, Inc.   1:17-cv-00513     District of New       Nixon Vogelman Barry                         Leslie C. Nixon                                                        lnixon@davenixonlaw.com       Consumer   Yes by CTO - 1
        et al                               Hampshire          Slawsky & Simoneau PA           Nixon Vogelman Barry Slawsky & Simoneau PA
                                                                                                              77 Central St                                                         ksharp@sanfordheisler.com
                                                                                                          Manchester, NH 03101
                                                                                                             603-669-7070

                                                                                                             Kevin H. Sharp
                                                                                                        Sanford Heisler Sharp LLP
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                                                                                                           Nashville, TN 37203
                                                                                                              615-434-7001
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                                                                    Plaintiffs' Counsel Table
                                                     In re: Equifax, Inc., Customer Data Security Breach Litigation
                                                                      Case No. 1:17-md-2800-TWT
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  Case Name               Case          Original Court           Local Counsel            Plaintiffs' Counsel & Contact Information                                             Email Addresses             Consumer,    Transfer
                        Number &                                                                                                                                                                            Financial     Status
                         Original                                                                                                                                                                            or Small
                          Court                                                                                                                                                                              Business

  Eastman et al v.      1:17-cv-03512   Northern District of   Conley Griggs Partin LLP                  Robert N. Kaplan                                                       rkaplan@kaplanfox.com        Consumer
   Equifax Inc.                              Georgia                                                    Matthew B. George                                                       mgeorge@kaplanfox.com
                                                                                                         Lawrence D. King                                                         lking@kaplanfox.com
                                                                                                           Joel B. Strauss                                                      jstrauss@kaplanfox.com
                                                                                                          Mario M. Choi                                                          mchoi@kaplanfox.com
                                                                                                            David Straite                                                       dstraite@kaplanfox.com
                                                                                                      Kaplan Kilsheimer & Fox
                                                                                                         850 Third Avenue
                                                                                                       New York, NY 10022
                                                                                                           212-687-1980                                                         ranse@conleygriggs.com

                                                                                                           Ranse M. Partin
                                                                                                    Conley Griggs Partin, LLP- GA
                                                                                                       Building One, Suite 300
                                                                                                    4200 Northside Parkway, NW
                                                                                                         Atlanta, GA 30327
                                                                                                            404-467-1155
   Englert et al v.     1:17-cv-03509   Northern District of   Evangelista Worley, LLC                  David James Worley                                                        david@ewlawllc.com         Consumer
    Equifax, Inc.                            Georgia                                                    James M. Evangelista                                                       jim@ewlawllc.com
                                                                                                      Kristi Stahnke McGregor                                                     krisit@ewlawllc.com
                                                                                                      Evangelista Worley, LLC
                                                                                                   8100 A Roswell Road, Suite 100
                                                                                                         Atlanta, GA 30350
                                                                                                            404-205-8400

Eppy v. Equifax, Inc.   0:17-cv-61833   Southern District of                                            Joshua Harris Eggnatz                                                 JEggnatz@JusticeEarned.com     Consumer   Yes by CTO - 1
                                             Florida                                                   Michael James Pascucci                                                 MPascucci@JusticeEarned.com
                                                                                                       Eggnatz Pascucci, P.A.
                                                                                                  5400 S. University Drive, Suite 417
                                                                                                           Davie, FL 33328
                                                                                                            954-889-3359

Evans v. Equifax Inc.   5:17-cv-05454   Northern District of                                               Phillip A. Jaret                                                       pajaret@jaretlaw.com       Consumer   Yes by CTO - 1
                                            California                                                     Robert S. Jaret                                                         rjaret@jaretlaw.com
                                                                                                             Jaret & Jaret
                                                                                                        1016 Lincoln Avenue
                                                                                                        San Rafael, CA 94901
                                                                                                            415-455-1010
                                                                                                     Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 49 of 154




                                                                      Plaintiffs' Counsel Table
                                                        In re: Equifax, Inc., Customer Data Security Breach Litigation
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                                                                                 MDL No. 2800
  Case Name                Case          Original Court             Local Counsel     Plaintiffs' Counsel & Contact Information                                             Email Addresses             Consumer,    Transfer
                         Number &                                                                                                                                                                       Financial     Status
                          Original                                                                                                                                                                       or Small
                           Court                                                                                                                                                                         Business

Fail et al. v. Equifax   1:17-cv-03581    Southern District of     MADDOX HARGETT &                  Mark E. Maddox                                                         mmaddox@mhclaw.com           Consumer   Yes by CTO - 1
      Inc. et al.                              Indiana                CARUSO, PC             MADDOX HARGETT & CARUSO, PC
                                                                                               10100 Lantern Road, Suite 150                                               ksharp@sanfordheisler.com
                                                                                                     Fishers, IN 46037
                                                                                                       317-598-2040

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                                                                                              SANFORD HEISLER SHARP, LLP
                                                                                                611 Commerce St., Ste. 3100
                                                                                                    Nashville, TN 37203
                                                                                                      615-434-7001

Faillace v. Equifax,     2:17-cv-06721     Central District of                                         Jennifer Sarnelli                                                    jsarnellii@gardylaw.com      Consumer
        Inc.                              California (Western                                    GARDY AND NOTIS LLP
                                         Division - Los Angeles)                                126 East 56th Street, 8th Floor
                                                                                                    New York, NY 10022
                                                                                                        212-905-0509
                                                                                                      David Hartheimer
                                                                                                     Sandra E. Mayerson
                                                                                                Mayerson & Hartheimer, PLLC
                                                                                                      845 Third Avenue
                                                                                                          11th floor
                                                                                                    New York, NY 10022
                                                                                                        917-446-6884
 Farinella v. Equifax    2:17-cv-05548   Eastern District of New                                        Ryan L Gentile                                                          rlg@lawgmf.com           Consumer   Yes by CTO - 1
Information Services,                             York                                        Law Offices of Gus Michael Farinella
         LLC                                                                                    110 Jericho Turnpike, Suite 100
                                                                                                    Floral Park, NY 11001
                                                                                                         212-675-6161

  Fausz v. Equifax       3:17-cv-00576     Western District of                                          Nina B. Couch                                                       couchlawpllc@gmail.com       Consumer   Yes by CTO - 1
Information Services,                         Kentucky                                                Couch Law, PLLC
        LLC                                                                                     2815 Taylorsville Rd., Suite 101
                                                                                                     Louisville, KY 40205                                                  ztaylor@taylorcouchlaw.com
                                                                                                        502-550-4933

                                                                                                      Zachary L. Taylor
                                                                                               2815 Taylorsville Road, Suite 102
                                                                                                    Louisville, KY 40205
                                                                                                        502-822-2500
                                                                                                          Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 50 of 154




                                                                       Plaintiffs' Counsel Table
                                                       In re: Equifax, Inc., Customer Data Security Breach Litigation
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  Case Name                Case          Original Court            Local Counsel            Plaintiffs' Counsel & Contact Information                                                Email Addresses                Consumer,    Transfer
                         Number &                                                                                                                                                                                   Financial     Status
                          Original                                                                                                                                                                                   or Small
                           Court                                                                                                                                                                                     Business

   Feehrer et al v.      1:17-cv-07803   District of New Jersey                                             Joseph R. Santoli                                                         josephsantoli@aol.com          Consumer   Yes by CTO - 1
    Equifax, Inc.                                                                                           340 Devon Court
                                                                                                          Ridgewood, NJ 07450
                                                                                                             201-926-9200
                                                                                                                                                                                       lee@sfclasslaw.com
                                                                                                            Olimpio L. Squitieri
                                                                                                          Squitieri & Fearon, LLP
                                                                                                       2600 Kennedy Bldv., Suite 1K
                                                                                                           Jersey City, NJ 07306
                                                                                                               201-200-0900
Feied v. Equifax, Inc.   5:17-cv-05524    Northern District of                                             Gordon M. Fauth, Jr.                                                  gfauth@finkelsteinthompson.com      Consumer   Yes by CTO - 1
                                              California                                                        Of Counsel
                                                                                                             Rosanne L. Mah                                                       rmah@finkelsteinthompson.com
                                                                                                                Of Counsel
                                                                                                        Finkelstein Thompson LLP                                                  mbartos@finkelsteinthompson.com
                                                                                                        100 Pine Street, Suite 1250                                             rbcthomas@finkelsteinthompson.com
                                                                                                         San Francisco, CA 94111
                                                                                                              510-238-9610

                                                                                                                Mila Bartos
                                                                                                           Rosalee B.C. Thomas
                                                                                                        Finkelstein Thompson LLP
                                                                                                   3201 New Mexico Ave., NW, Suite 395
                                                                                                         Washington, D.C. 20016
                                                                                                              202-337-8000
Fiore v. Equifax, Inc.   1:17-cv-03456    Northern District of    Evangelista Worley, LLC                 James M. Evangelista                                                         jme@ewlawllc.com              Consumer        Yes
                                           Georgia (Atlanta                                                 David J. Worley                                                            david@ewlawll.com
                                               Division)                                                Kristi Stahnke McGregor                                                        kristi@ewlawll.com
                                                                                                     EVANGELISTA WORLEY, LLC
                                                                                                     8100 A Roswell Road, Suite 100                                                   wbf@federmanlaw.com
                                                                                                           Atlanta, GA 30350                                                          clm@federmanlaw.com
                                                                                                              404-205-8400                                                            jdw@federmanlaw.com

                                                                                                           William Federman
                                                                                                           Carin L. Marcussen
                                                                                                            Joshua D. Wells
                                                                                                      FEDERMAN & SHERWOOD
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                                                                                                          Oklahoma, OK 73120
                                                                                                             405-235-1560
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                                                                Plaintiffs' Counsel Table
                                                    In re: Equifax, Inc., Customer Data Security Breach Litigation
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  Case Name              Case          Original Court         Local Counsel    Plaintiffs' Counsel & Contact Information                                             Email Addresses           Consumer,    Transfer
                       Number &                                                                                                                                                                Financial     Status
                        Original                                                                                                                                                                or Small
                         Court                                                                                                                                                                  Business

First Castle Federal   1:17-cv-04707   Northern District of   POPE MCGLAMRY,                 Michael Lee McGlamry                                                   mmcglamry@pmkm.com          Financial
  Credit Union v.                           Georgia                 P.C.                        N. Kirkland Pope                                                     kirkpope@pmkm.com
 Equifax, Inc. et al                                                                          Pope McGlamry, P.C.
                                                                                                P.O. Box 191625
                                                                                       3391 Peachtree Road, N.E., Suite 300
                                                                                               Atlanta, GA 31119                                                    chrish@pittmandutton.com
                                                                                                 404-523-7706

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                                                                                                  205-322-8880                                                      kirk@woodlawfirmllc.com

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                                                                                             Birmingham, AL 35205
                                                                                                 205-328-2200

                                                                                                E. Kirk Wood, Jr.
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                                                                                              Gregory L. Davis
                                                                                         DAVIS & TALIAFERRO, LLC                                                      gldavis@knology.net
                                                                                           7031 Halcyon Park Drive
                                                                                           Montgomery, AL 36117
                                                                                                334-832-9080
                                                                                                 Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 52 of 154




                                                             Plaintiffs' Counsel Table
                                               In re: Equifax, Inc., Customer Data Security Breach Litigation
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Case Name           Case          Original Court         Local Counsel            Plaintiffs' Counsel & Contact Information                                                Email Addresses               Consumer,    Transfer
                  Number &                                                                                                                                                                               Financial     Status
                   Original                                                                                                                                                                               or Small
                    Court                                                                                                                                                                                 Business

First Education   1:17-cv-04184   Northern District of      Anthony C. Lake                        Bryan Bleichner                                                     bbleichner@chesnutcambronne.com    Financial
Federal Credit                         Georgia              Thomas Withers                       Chestnut Cambronne
 Union et al v.                                          Gillen Withers & Lake,          17 Washington Avenue North, Suite 300                                              cvanhorn@bfvlaw.com
 Equifax Inc.                                                     LLC                          Minneapolis, MN 55401
                                                         3490 Piedmont Road,                        612-339-7300                                                            ecomite@scott-scott.com
                                                                  N.E.                                                                                                    jguglielmo@scott-scott.com
                                                         One Securities Centre,                   Erin Green Comite
                                                               Suite 1050                          Joseph Guglielmo                                                        Khriebel@locklaw.com
                                                           Atlanta, GA 30305                          Scott + Scott                                                      kmbaxter-kauf@locklaw.com
                                                              404-842-9700                       156 South Main Street
                                                                                                     P.O. Box 192                                                           aclake@gwllawfirm.com
                                                          Charles H. Van Horn                    Colchester, CT 06415                                                      twithers@gwllawfirm.com
                                                         Berman Fink Van Horn                        860-537-5537
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                                                               Suite 1100                         Kate Baxter-Kauf                                                       cthomas@murray-lawfirm.com
                                                           Atlanta, GA 30305               Lockridge Grindal Nauen P.L.L.P.
                                                             404-261-7711                 100 Washington Ave. S., Suite 2200
                                                                                               Minneapolis, MN 55401
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                                                                                                   Arthur M. Murray
                                                                                                   Caroline Thomas
                                                                                                   Murray Law Firm
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                                                                                                 80 South 8th Street
                                                                                               Minneapolis, MN 55402
                                                                                                    612-341-0400

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                                                                                                 Carlson Lynch Sweet
                                                                                                Kilpela & Carpenter LLP
                                                                                              1133 Penn Avenue, 5th Floor
                                                                                                 Pittsburgh, PA 15222
                                                                                                     412 322 9243
                                                                                                 Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 53 of 154




                                                                   Plaintiffs' Counsel Table
                                                     In re: Equifax, Inc., Customer Data Security Breach Litigation
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 Case Name              Case           Original Court            Local Counsel    Plaintiffs' Counsel & Contact Information                                             Email Addresses             Consumer,     Transfer
                      Number &                                                                                                                                                                      Financial      Status
                       Original                                                                                                                                                                      or Small
                        Court                                                                                                                                                                        Business

  Flores et al. v.    7:17-cv-07088   Southern District of New                                    Shelly L Friedland                                                   sfriedland@triefandolk.com    Consumer    Yes by CTO - 1
   Equifax Inc.                                York                                                   Ted Trief
                                                                                                    Trief and Olk
                                                                                                  150 East 58 Street
                                                                                                 New York, NY 10155
                                                                                                    212-486-6060

  Fort McClellan      1:17-cv-04994     Northern District of     POPE MCGLAMRY,                 Michael Lee McGlamry                                                     kirkpope@pmkm.com           Financial        Yes
  Credit Union v.                            Georgia                   P.C.                         N. Kirkland Pope
 Equifax, Inc. and                                                                               Pope McGlamry, P.C.
Equifax Information                                                                                 P.O. Box 191625
   Services, Inc.                                                                         3391 Peachtree Road, N.E., Suite 300                                         chrish@pittmandutton.com
                                                                                                Atlanta, GA 31119-1625                                                 jonm@pittmandutton.com
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                                                                                                      Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 54 of 154




                                                                      Plaintiffs' Counsel Table
                                                       In re: Equifax, Inc., Customer Data Security Breach Litigation
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  Case Name               Case          Original Court             Local Counsel       Plaintiffs' Counsel & Contact Information                                             Email Addresses              Consumer,    Transfer
                        Number &                                                                                                                                                                          Financial     Status
                         Original                                                                                                                                                                          or Small
                          Court                                                                                                                                                                            Business

  Frank et al. v.       5:17-cv-01611    Northern District of     BATTLE & WINN LLP;                     Robert E Battle                                                      rbattle@battlewinn.com       Consumer   Yes by CTO - 1
 Equifax Inc. et al.                          Alabama             SERIOUS INJURY LAW                      Adam P Plant                                                        aplant@battlewinn.com
                                                                      GROUP, P.C.                      Harlan F Winn, III                                                     hwinn@battlewinn.com
                                                                                                     BATTLE & WINN LLP
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                                                                                                     Birmingham, AL 35233                                                   amelzer@sanfordheisler.com
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                                                                                                        Jeremy Heisler                                                      chuck@chuckjameslaw.com
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                                                                                                        Kevin H Sharp
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                                                                                                  1350 Avenue of the Americas
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                                                                                                     New York, NY 10019
                                                                                                        646-402-5650

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                                                                                             LAW OFFICES OF CHARLES JAMES II
                                                                                                      418 Scott Street
                                                                                                        P O Box 781
                                                                                                   Montgomery, AL 36101
                                                                                                       334-832-1001

 Frazier v. Equifax     1:17-cv-06587   Eastern District of New                                      Edward B. Geller                                                             epbh@aol.com             Consumer   Yes by CTO - 1
        Inc.                                     York                                           EDWARD B. GELLER, ESQ., P.C.
                                                                                                     15 Landing Way                                                         jheisler@sanfordheisler.com
                                                                                                     Bronx, NY 10464
                                                                                                      914-473-6783

Fried v. Equifax Inc.   3:17-cv-01955    Southern District of                                           Joseph N. Kravec, Jr.                                                  jkravec@fdpklaw.com         Consumer   Yes by CTO - 1
                                             California                                                   William T. Payne
                                                                                               Feinstein Doyle Payne & Kravec, LLC
                                                                                                         429 Fourth Avenue
                                                                                                Law & Finance Building, Suite 1300
                                                                                                       Pittsburgh, PA 15219
                                                                                                           412-281-8400
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                                                                    Plaintiffs' Counsel Table
                                                     In re: Equifax, Inc., Customer Data Security Breach Litigation
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  Case Name              Case          Original Court            Local Counsel          Plaintiffs' Counsel & Contact Information                                             Email Addresses           Consumer,    Transfer
                       Number &                                                                                                                                                                         Financial     Status
                        Original                                                                                                                                                                         or Small
                         Court                                                                                                                                                                           Business

Friedman & Acosta      1:17-cv-07022   District of New Jersey                                         Christopher A. Seeger                                                  cseeger@seegerweiss.com     Consumer
v. Equifax, Inc. and                    (Camden Division)                                              David R. Buchanan
Equifax Information                                                                                    Jennifer R. Scullion
    Services LLC                                                                                      SEEGER WEISS LLP
                                                                                                    550 Broad Street Suite 920
                                                                                                        Newark, NJ 07102
                                                                                                          888-610-6574
                                                                                                       Christopher L. Ayers
                                                                                                        Burns & Levinson
                                                                                                        One Citizens Plaza
                                                                                                            Suite 1100
                                                                                                      Providence, RI 02903
                                                                                                         (401) 831-8336


Fuhrman v. Equifax     2:17-cv-13508    Eastern District of     Aidenbaum Schloff and                    Kevin Sharp                                                        ksharp@sanfordheisler.com    Consumer   Yes by CTO - 1
    Inc. et al                              Michigan                Bloom PLLC                  SANFORD HEISLER SHARP, LLP
                                                                                                  611 Commerce St., Suite 3100
                                                                                                      Nashville, TN 37203
                                                                                                        615-434-7003
                                                                                                                                                                            gaidenbaum@aidenbaum.com
                                                                                                       Guido G. Aidenbaum                                                     rbloom@aidenbaum.com
                                                                                                           Ryan Bloom                                                          eindig@aidenbaum.com
                                                                                                           Sara Sturing                                                       ssturing@aidenbaum.com
                                                                                                           Elliott Indig
                                                                                                Aidenbaum Schloff and Bloom PLLC
                                                                                                 6960 Orchard Lake Road, Ste 250
                                                                                                    West Bloomfield, MI 48322
                                                                                                          248-865-6500
                                                                                         Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 56 of 154




                                                           Plaintiffs' Counsel Table
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                  Number &                                                                                                                                                                       Financial     Status
                   Original                                                                                                                                                                       or Small
                    Court                                                                                                                                                                         Business

Gallant, Jr. v.   8:17-cv-02712   District of Maryland                                    Richard V. Falcon                                                     billy.murphy@murphyfalcon.com     Consumer   Yes by CTO - 1
Equifax Inc.                      (Greenbelt Division)                                  William H. Murphy, Jr.                                                 hassan.murphy@murphyfalcon.com
                                                                                        William H. Murphy, III                                                 richard.falcon@murphyfalcon.com
                                                                                      Murphy, Falcon & Murphy
                                                                                      One South Street 23rd Floor                                                rweltchek@wmwlawfirm.com
                                                                                        Baltimore, MD 21202
                                                                                            410-951-8744                                                            notices@dannlaw.com

                                                                                       Robert J. Weltchek                                                            asacks@sackslaw.com
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                                                                                     Kristopher A. Mallahan
                                                                                       Nathan W. Hopkins
                                                                                     Megan Elizabeth Burns
                                                                            WELTCHEK MALLAHAN & WELTCHEK, LLC
                                                                                 2330 West Joppa Road, Suite 203
                                                                                      Lutherville, MD 21093
                                                                                          410-825-5287

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                                                                                              Brian Flick
                                                                                   THE DANN LAW FIRM CO. LPA
                                                                                           PO Box 6031040
                                                                              Cleveland, OH 44103       Ph: 216-373-0539

                                                                                          Andrew B. Sacks
                                                                                           John K. Weston
                                                                                     Sacks Weston Diamond LLC
                                                                                    1845 Walnut Street, Suite 1600
                                                                                       Philadelphia, PA 19103
                                                                                            215-925-8200
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                                           Plaintiffs' Counsel Table
                                 In re: Equifax, Inc., Customer Data Security Breach Litigation
                                                  Case No. 1:17-md-2800-TWT
                                                          MDL No. 2800
Case Name     Case      Original Court   Local Counsel   Plaintiffs' Counsel & Contact Information                                                  Email Addresses               Consumer,   Transfer
            Number &                                                                                                                                                              Financial    Status
             Original                                                                                                                                                              or Small
              Court                                                                                                                                                                Business

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                                                                  Plaintiffs' Counsel Table
                                                    In re: Equifax, Inc., Customer Data Security Breach Litigation
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 Case Name               Case          Original Court         Local Counsel          Plaintiffs' Counsel & Contact Information                                             Email Addresses            Consumer,    Transfer
                       Number &                                                                                                                                                                       Financial     Status
                        Original                                                                                                                                                                       or Small
                         Court                                                                                                                                                                         Business

Galpern v. Equifax     5:17-cv-05265   Northern District of                                          Scott E. Cole                                                           scole@scalaw.com          Consumer
Inc and Trusted ID,                    California (San Jose                                         Corey B. Bennett                                                        cbennett@scalaw.com
        Inc.                                Division)                                       SCOTT COLE & ASSOCIATES, APC
                                                                                               1970 Broadway Ninth Floor
                                                                                                   Oakland, CA 94612
                                                                                                     510-891-9800

                                                                                                 Timothy Paul Rumberger
                                                                                        LAW OFFICES OF TIMOTHY P. RUMBERGER
                                                                                                     1339 Bay Street
                                                                                                   Alameda, CA 94501
                                                                                                      510-841-5500
 Gastineau et al v.    1:17-cv-03769   Northern District of   Holzer & Holzer, LLC                 Alexandria Patel Rankin                                                 arankin@holzerlaw.com       Consumer
  Equifax, Inc.                             Georgia                                                   Corey D. Holzer                                                      cholzer@holzerlaw.com
                                                                                                   Holzer & Holzer, LLC
                                                                                             1200 Ashford Center North, Suite 410
                                                                                                     Atlanta, GA 30338
                                                                                                       770-392-0090

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                                                                                                    Wyly Rommel, PLLC
                                                                                                      4004 Texas Blvd
                                                                                                    Texarkana, TX 75503
                                                                                                       903-334-8646
                                                                                                        Scott E. Poynter                                                  scott@poynterlawgroup.com
                                                                                            Steel, Wright, Gray & Hutchison, PLLC
                                                                                                   400 W Capitol Ave #2910,
                                                                                                    Little Rock, AR 72201
                                                                                                    Phone: (501) 251-1587

Gay v. Equifax, Inc.   1:17-cv-02417   District of Colorado                                                PRO SE                                                             no email provided        Consumer   Yes by CTO - 1
                                                                                                      William Alan Gay
                                                                                                    2084 Creighton Drive
                                                                                                     Golden, CO 80401
                                                                                                       Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 59 of 154




                                                                   Plaintiffs' Counsel Table
                                                     In re: Equifax, Inc., Customer Data Security Breach Litigation
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  Case Name               Case          Original Court         Local Counsel            Plaintiffs' Counsel & Contact Information                                                Email Addresses               Consumer,     Transfer
                        Number &                                                                                                                                                                               Financial      Status
                         Original                                                                                                                                                                               or Small
                          Court                                                                                                                                                                                 Business

   Geller et al. v.     9:17-cv-81056   Southern District of                                            Steven C. Holzman                                                        scholzmanlaw@gmail.com         Consumer    Yes by CTO - 1
   Equifax, Inc.                             Florida                                              Law office of Steven C. Holzman
                                                                                                    4400 North Federal Highway                                                   mwites@wklawyers.com
                                                                                                    Lighthouse Point, FL 33064
                                                                                                           561-789-5366

                                                                                                        Marc Aaron Wites
                                                                                                          Wites Law Firm
                                                                                                    4400 North Federal Highway
                                                                                                    Lighthouse Point, FL 33064
                                                                                                          954-570-8989

  Gerber Federal        1:17-cv-04388   Northern District of      Anthony C. Lake                        Bryan Bleichner                                                     bbleichner@chesnutcambronne.com    Financial
Credit Union et al v.                        Georgia              Thomas Withers                       Chestnut Cambronne
   Equifax Inc.                                                Gillen Withers & Lake,          17 Washington Avenue North, Suite 300                                              cvanhorn@bfvlaw.com
                                                                        LLC                          Minneapolis, MN 55401
                                                               3490 Piedmont Road,                        612-339-7300                                                            ecomite@scott-scott.com
                                                                        N.E.                                                                                                    jguglielmo@scott-scott.com
                                                               One Securities Centre,                   Erin Green Comite
                                                                     Suite 1050                          Joseph Guglielmo                                                        Khriebel@locklaw.com
                                                                 Atlanta, GA 30305                          Scott + Scott                                                      kmbaxter-kauf@locklaw.com
                                                                    404-842-9700                       156 South Main Street
                                                                                                           P.O. Box 192                                                           aclake@gwllawfirm.com
                                                                Charles H. Van Horn                    Colchester, CT 06415                                                      twithers@gwllawfirm.com
                                                               Berman Fink Van Horn                        860-537-5537
                                                                        P.C.                                                                                                   smurray@murray-lawfirm.com
                                                                3475 Piedmont Road,                    Karen Hanson Riebel                                                     amurray@murray-lawfirm.com
                                                                     Suite 1100                         Kate Baxter-Kauf                                                       cthomas@murray-lawfirm.com
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                                                                                                     Minneapolis, MN 55401
                                                                                                          612-339-6900

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                                                                                                      New Orleans, LA 70130
                                                                                                           505-525-8100
                                                                                            Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 60 of 154




                                                               Plaintiffs' Counsel Table
                                                   In re: Equifax, Inc., Customer Data Security Breach Litigation
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 Case Name              Case          Original Court         Local Counsel   Plaintiffs' Counsel & Contact Information                                                Email Addresses             Consumer,   Transfer
                      Number &                                                                                                                                                                    Financial    Status
                       Original                                                                                                                                                                    or Small
                        Court                                                                                                                                                                      Business

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                                                                                           Carlson Lynch Sweet
                                                                                          Kilpela & Carpenter LLP
                                                                                        1133 Penn Avenue, 5th Floor
                                                                                           Pittsburgh, PA 15222
                                                                                               412-322-9243
  Gerstein et al v.   1:17-cv-05048   Northern District of                                    David H. Krieger                                                         notices@dannlaw.com         Consumer
Equifax Information                        Georgia                                             George Haines
   Services LLC                                                                           Haines and Krieger, LLC
                                                                                      8985 S. Eastern Avenue, Suite 130
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                                                                        Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 61 of 154




                                           Plaintiffs' Counsel Table
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Case Name     Case      Original Court   Local Counsel   Plaintiffs' Counsel & Contact Information                                                 Email Addresses               Consumer,   Transfer
            Number &                                                                                                                                                             Financial    Status
             Original                                                                                                                                                             or Small
              Court                                                                                                                                                               Business

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                                                                                      Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 62 of 154




                                                          Plaintiffs' Counsel Table
                                              In re: Equifax, Inc., Customer Data Security Breach Litigation
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Case Name         Case          Original Court          Local Counsel   Plaintiffs' Counsel & Contact Information                                             Email Addresses               Consumer,   Transfer
                Number &                                                                                                                                                                    Financial    Status
                 Original                                                                                                                                                                    or Small
                  Court                                                                                                                                                                      Business

 Gersten and    3:17-cv-01828    Southern District of                                  Edward D. Chapin                                                      ksharp@sanfordheisler.com       Consumer     Yes
Obradovich v.                   California (San Diego                            SANFORD HEISLER SHARP, LLP                                                 dfuschetti@sanfordheisler.com
 Equifax Inc.                         Division)                                   655 West Broadway, Suite 1700                                             echapin2@sanfordheisler.com
                                                                                      San Diego, CA 92101
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                                                                                               Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 63 of 154




                                                              Plaintiffs' Counsel Table
                                                 In re: Equifax, Inc., Customer Data Security Breach Litigation
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Case Name             Case          Original Court         Local Counsel        Plaintiffs' Counsel & Contact Information                                               Email Addresses              Consumer,    Transfer
                    Number &                                                                                                                                                                         Financial     Status
                     Original                                                                                                                                                                         or Small
                      Court                                                                                                                                                                           Business

Gibson v. Equifax   1:17-cv-00466    District of Hawaii    Bickerton Dang LLP                   James J. Bickerton                                                       bickerton@bsds.com           Consumer   Yes by CTO - 1
      Inc.                                                                                    Bickerton Dang LLLP
                                                                                                  Fort St Tower                                                      echapin2@sandfordheisler.com
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                                                                                              Bickerton Dang LLLP
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                                                                                            Sanford Heisler Sharp, LLP
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                                                                                               Nashville, TN 37203
                                                                                                  615-434-7000

Gibson v. Equifax   5:17-cv-00973    Western District of                                          Joshua D. Wells                                                       jdw@federmanlaw.com           Consumer
      Inc.                          Oklahoma (Oklahoma                                         William B. Federman                                                      wbf@federmanlaw.com
                                       City Division)                                      FEDERMAN & SHERWOOD
                                                                                           10205 N. Pennsylvania Avenue
                                                                                             Oklahoma City, OK 73120
                                                                                                   405-235-1560
                                                                                                            Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 64 of 154




                                                                       Plaintiffs' Counsel Table
                                                      In re: Equifax, Inc., Customer Data Security Breach Litigation
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Case Name               Case           Original Court              Local Counsel            Plaintiffs' Counsel & Contact Information                                                 Email Addresses              Consumer,    Transfer
                      Number &                                                                                                                                                                                     Financial     Status
                       Original                                                                                                                                                                                     or Small
                        Court                                                                                                                                                                                       Business

Gladwell et al. v.    5:17-cv-04061   Southern District of West                                               Leonard A. Bennett                                                      lenbennett@clalegal.com       Consumer   Yes by CTO - 1
Equifax, Inc. et al                           Virginia                                                      Elizabeth Wilson Hanes                                                     elizabeth@clalegal.com
                                                                                                  CONSUMER LITIGATION ASSOCIATES
                                                                                                   763 J. Clyde Morris Boulevard, Suite 1-A
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                                                                                                                1331 Lamar
                                                                                                            Houston, TX 77010

  Goldweber v.        5:17-cv-05586     Northern District of                                                Willem F. Jonckheer                                                   wjonckheer@schubertlawfirm.com    Consumer   Yes by CTO - 1
  Equifax Inc.                              California                                                       Noah M. Schubert
                                                                                                             Robert C. Schubert                                                         nschubert@sjk.law
                                                                                                      Schubert Jonckheer & Kolbe LLP
                                                                                                    Three Embarcadero Center, Suite 1650                                          rschubert@schubertlawfirm.com
                                                                                                          San Francisco, CA 94111
                                                                                                              (415) 788-4220

Gottesman et al v.    1:17-cv-03498     Northern District of      Evangelista Worley, LLC                   David James Worley                                                          jim@ewlawllc.com            Consumer
  Equifax, Inc.                              Georgia                                                      Evangelista Worley, LLC                                                       david@ewlawll.com
                                                                                                       8100 A Roswell Road, Suite 100                                                   kristi@ewlawll.com
                                                                                                             Atlanta, GA 30350
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                                                                                                             210 Summit Avenue
                                                                                                            Montvale, NJ 07645
                                                                                                                201-391-7600

Gottlieb, et al. v.   1:17-cv-07615    District of New Jersey                                               Neil Grossman                                                                neil@bgandg.com            Consumer   Yes by CTO - 1
 Equifax, Inc.                                                                                              Pertz Bronskin
                                                                                               BRONSTEIN, GEWIRTZ & GROSSMAN, ESQS.
                                                                                                     144 N. Beverqyck Road, #187
                                                                                                       Lake Hiawatha, NJ 07034
                                                                                                            973-335-6409
                                                                                               Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 65 of 154




                                                                  Plaintiffs' Counsel Table
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  Case Name              Case          Original Court           Local Counsel   Plaintiffs' Counsel & Contact Information                                                 Email Addresses               Consumer,   Transfer
                       Number &                                                                                                                                                                         Financial    Status
                        Original                                                                                                                                                                         or Small
                         Court                                                                                                                                                                           Business

Gray & Garthright v.   6:17-cv-06095     Western District of                                 Annabell L. Patterson                                                                                       Consumer
Equifax Information                    Arkansas (Hot Springs)                          ANNABELLE LEE PATTERSON, PLC
   Services, LLC                                                                             646 Quapaw Avenue
                                                                                            Hot Springs, AR 71901
                                                                                                501-701-0027

                                                                                                 David H. Krieger                                                      dkrieger@hainesandkrieger.com
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                                                                                                      Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 66 of 154




                                                                   Plaintiffs' Counsel Table
                                                     In re: Equifax, Inc., Customer Data Security Breach Litigation
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                       Number &                                                                                                                                                                                   Financial     Status
                        Original                                                                                                                                                                                   or Small
                         Court                                                                                                                                                                                     Business

   Green et al v.      1:17-cv-03487   Northern District of   Law Offices of David A.                 David Andrew Bain                                                             dbain@bain-law.com             Consumer
   Equifax, Inc.                            Georgia                Bain, LLC                    Law Offices of David A. Bain, LLC
                                                                                                       1050 Promenade II
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                                                                                                          267-507-6085
Greenlee v. Equifax,   5:17-cv-01929    Central District of                                             Jared M. Hartman                                                    jared@sandiegoconsumerattorneys.com    Consumer   Yes by CTO - 1
        Inc                                California                                                     Babak Semnar                                                        bobsandiegoconsumerattorneys.com
                                                                                                  SEMNAR & HARTMAN LLP
                                                                                                400 South Melrose Drive, Suite 209
                                                                                                         Vista, CA 92081
                                                                                                          619-500-4187

Greenwald et al. v.    1:17-cv-00438     District of New                                             Charles G. Douglas, III                                                       mail@nhlawoffice.com            Consumer   Yes by CTO - 1
  Equifax, Inc.                            Hampshire                                              Douglas Leonard & Garvey PC
                                                                                                       14 South St, Ste 5
                                                                                                      Concord, NH 03301
                                                                                                         603 224-1988
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                                                                      Plaintiffs' Counsel Table
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                       Number &                                                                                                                                                                                Financial      Status
                        Original                                                                                                                                                                                or Small
                         Court                                                                                                                                                                                  Business

Grossberg et al. v.    1:17-cv-05280    Eastern District of New                                               Orin R. Kurtz                                                        okurtz@gardylaw.com          Consumer
  Equifax Inc.                         York (Brooklyn Division)                                          GARDY & NOTIS, LLP
                                                                                                 126 East 56th Street, 8th Floor, Tower 56
                                                                                                          New York, NY 10022
                                                                                                              212-905-0509

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                                                                                                            ABBEY GARDY
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                                                                                                          New York, NY 10016

Gulf Winds Federal     1:17-cv-03873     Northern District of     POPE MCGLAMRY,                         Michael Lee McGlamry                                                     mmcglamry@pmkm.com            Financial
  Credit Union v.                             Georgia                   P.C.                                 N. Kirkland Pope                                                      kirkpope@pmkm.com
 Equifax, Inc. et al                                                                                      Pope McGlamry, P.C.
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 Gulley v. Equifax     4:17-cv-04088      Western District of     Steele, Wright, Gray &                   Marshall Alan Wright                                                 marshallwright@sbcglobal.net    Consumer    Yes by CTO - 1
    Inc. et al.                               Arkansas              Hitchinson, PLLC             Steele, Wright, Gray & Hitchinson, PLLC
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                                                                                                    Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 68 of 154




                                                                Plaintiffs' Counsel Table
                                                  In re: Equifax, Inc., Customer Data Security Breach Litigation
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Case Name             Case          Original Court          Local Counsel            Plaintiffs' Counsel & Contact Information                                            Email Addresses          Consumer,    Transfer
                    Number &                                                                                                                                                                       Financial     Status
                     Original                                                                                                                                                                       or Small
                      Court                                                                                                                                                                         Business

Halpin, et al. v.   1:17-cv-03872   Northern District of   Evangelista Worley, LLC                  David James Worley                                                     david@ewlawllc.com       Consumer
 Equifax, Inc.                           Georgia                                                    James M. Evangelista                                                    jim@ewlawllc.com
                                    (Atlanta Division)                                            Kristi Stahnke McGregor                                                  krisit@ewlawllc.com
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                                                                                            2200 Larkspur Landing Circle, Suite 101
                                                                                                     Larkspur, CA 94939
                                                                                                        415-477-6700
Hamilton et al v.   1:17-cv-05266    Central District of    Green & Noblin, P.C.                       Robert S. Green                                                    gnecf@classcounsel.com    Consumer   Yes by CTO - 1
 Equifax, Inc.                          California                                                   James Robert Noblin
                                                                                                    Green and Noblin PC
                                                                                            2200 Larkspur Landing Circle, Suite 101
                                                                                                     Larkspur, CA 94939
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                                                                    Plaintiffs' Counsel Table
                                                      In re: Equifax, Inc., Customer Data Security Breach Litigation
                                                                       Case No. 1:17-md-2800-TWT
                                                                               MDL No. 2800
 Case Name              Case           Original Court             Local Counsel   Plaintiffs' Counsel & Contact Information                                              Email Addresses              Consumer,    Transfer
                      Number &                                                                                                                                                                        Financial     Status
                       Original                                                                                                                                                                        or Small
                        Court                                                                                                                                                                          Business

  Hamre et al v.      3:17-cv-00196   District of North Dakota                                      Jordan M. Lewis                                                          jml@kulaw.com             Consumer   Yes by CTO - 1
Equifax Information                                                                                  Kelley Uustal
  Services, LLC                                                                                  Courthouse Law Plaza                                                    mmiller@solberglaw.com
                                                                                              700 SE Third Ave., Suite 300                                               tmiller@solberglaw.com
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                                                                                                   P.O. Box 1897
                                                                                               Fargo, ND 58107-1897
                                                                                                   701-237-3166


 Harper v. Equifax    1:17-cv-11785   District of Massachusetts                                      Jeremy Heisler                                                     jheisler@sanfordheisler.com    Consumer   Yes by CTO - 1
     Inc. et al                                                                                    Andrew C. Melzer                                                     amelzer@sanfordheisler.com
                                                                                               Sanford Heisler Sharp, LLP                                               amiller@sanfordheisler.com
                                                                                         1350 Avenue of the Americas, 31st Floor                                         ksharp@sanfordheisler.com
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                                                                   Plaintiffs' Counsel Table
                                                    In re: Equifax, Inc., Customer Data Security Breach Litigation
                                                                     Case No. 1:17-md-2800-TWT
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 Case Name              Case          Original Court            Local Counsel            Plaintiffs' Counsel & Contact Information                                              Email Addresses              Consumer,    Transfer
                      Number &                                                                                                                                                                               Financial     Status
                       Original                                                                                                                                                                               or Small
                        Court                                                                                                                                                                                 Business

Hebrlee v. Equifax,   1:17-cv-07120   Northern District of    Duncan Law Group, LLC                     Robert R Duncan                                                        rrd@duncanlawgroup.com         Consumer   Yes by CTO - 1
    Inc. et al.                             Illinois                                                  James Henry Podolny                                                       jp@duncanlawgroup.com
                                                                                                     Duncan Law Group, LLC
                                                                                                     161 N. Clark, Suite 2550                                                  ksharp@sanfordheisler.com
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                                                                                                       Nashville, TN 37203
                                                                                                         (615) 434-7001
  Henderson v.        1:17-cv-03829   Northern District of    Conley Griggs Partin LLP                    Ranse M. Partin                                                       ranse@conletgriggs.com        Consumer
  Equifax, Inc.                            Georgia                                                 Conley Griggs Partin, LLP- GA
                                                                                                      Building One, Suite 300
                                                                                                   4200 Northside Parkway, NW
                                                                                                        Atlanta, GA 30327
                                                                                                           404-467-1155

  Henderson v.        0:17-cv-04289   District of Minnesota                                              Joseph C Bourne                                                       jbourne@gustafsongluek.com     Consumer   Yes by CTO - 1
Equifax, Inc. et al                                                                                   Kaitlyn Leeann Dennis                                                    kdennis@gustafsongluek.com
                                                                                                        Daniel E Gustafson                                                   dgustafson@gustafsongluek.com
                                                                                                        Daniel C Hedlund                                                      dhedlund@gustafsongluek.com
                                                                                                           Eric S Taubel                                                       etaubel@gustafsongluek.com
                                                                                                      Gustafson Gluek PLLC
                                                                                                  120 South 6th Street, Suite 2600                                               dgallucci@nastlaw.com
                                                                                                         Mpls, MN 55402                                                          jmatusko@nastlaw.com
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                                                                                                                                                                                  jnroda@nastlaw.com
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                                                                                                        Joanne E Matusko
                                                                                                          Dianne M. Nast
                                                                                                          Joseph N. Roda
                                                                                                           NastLaw LLC
                                                                                                   1101 Market Street, Suite 2801
                                                                                                      Philadelphia, PA 19107
                                                                                                           215-923-9300
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                                                                      Plaintiffs' Counsel Table
                                                       In re: Equifax, Inc., Customer Data Security Breach Litigation
                                                                        Case No. 1:17-md-2800-TWT
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  Case Name               Case           Original Court           Local Counsel            Plaintiffs' Counsel & Contact Information                                                Email Addresses               Consumer,     Transfer
                        Number &                                                                                                                                                                                  Financial      Status
                         Original                                                                                                                                                                                  or Small
                          Court                                                                                                                                                                                    Business

 Hensley v. Equifax,    5:17-cv-04105      Eastern District of                                               Dianne M. Nast                                                           dnast@nastlaw.com            Consumer    Yes on 12/11/17
  Inc. and Equifax                      Pennslyvania (Allentown                                            Daniel N. Gallucci
Information Services                           Division)                                                   Joanne E. Matusko
        LLC                                                                                                  Joseph N. Roda
                                                                                                            NASTLAW LLC
                                                                                                      1101 Market Street Suite 2801
                                                                                                         Philadelphia, PA 19107
                                                                                                              215-923-9300

 Heritage Federal       1:17-cv-05265     Northern District of       Anthony C. Lake                        Bryan Bleichner                                                     bbleichner@chesnutcambronne.com    Financial
Credit Union et al v.                          Georgia               Thomas Withers                       Chestnut Cambronne
      Equifax                                                     Gillen Withers & Lake,          17 Washington Avenue North, Suite 300                                              cvanhorn@bfvlaw.com
                                                                           LLC                          Minneapolis, MN 55401
                                                                  3490 Piedmont Road,                        612-339-7300                                                            ecomite@scott-scott.com
                                                                           N.E.                                                                                                    jguglielmo@scott-scott.com
                                                                  One Securities Centre,                   Erin Green Comite
                                                                        Suite 1050                          Joseph Guglielmo                                                        Khriebel@locklaw.com
                                                                    Atlanta, GA 30305                          Scott + Scott                                                      kmbaxter-kauf@locklaw.com
                                                                       404-842-9700                       156 South Main Street
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                                                                   Charles H. Van Horn                    Colchester, CT 06415                                                      twithers@gwllawfirm.com
                                                                  Berman Fink Van Horn                        860-537-5537
                                                                           P.C.                                                                                                   smurray@murray-lawfirm.com
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                                                                  Plaintiffs' Counsel Table
                                                      In re: Equifax, Inc., Customer Data Security Breach Litigation
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  Case Name               Case          Original Court          Local Counsel    Plaintiffs' Counsel & Contact Information                                               Email Addresses             Consumer,   Transfer
                        Number &                                                                                                                                                                     Financial    Status
                         Original                                                                                                                                                                     or Small
                          Court                                                                                                                                                                       Business

                                                                                              Brian C. Gudmundson                                                    brian.gudmundson@zimmreed.com
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                                                                                                1100 IDS Center                                                         glynch@carlsonlynch.com
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                                                                                              Kilpela & Carpenter LLP
                                                                                            1133 Penn Avenue, 5th Floor
                                                                                               Pittsburgh, PA 15222
                                                                                                   412-322-9243

Highfield v. Equifax,   5:17-cv-01567    Northern District of   POPE MCGLAMRY,                    Chris T. Hellums                                                      chrish@pittmandutton.com      Consumer     Yes
 Inc. and Equifax                       Alabama (Northeastern         P.C.                       Johnathan S. Mann                                                      jonm@pittmandutton.com
    Information                               Division)                                          Michael C. Bradley                                                     mikeb@pittmandutton.com
  Solutions, LLC                                                                                  Austin B. Whitten                                                    austinw@pittmandutton.com
                                                                                          Pittman, Dutton & Hellums, P.C.
                                                                                            2001 Park Place, Suite 1100
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                                                                     Plaintiffs' Counsel Table
                                                    In re: Equifax, Inc., Customer Data Security Breach Litigation
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Case Name             Case           Original Court               Local Counsel           Plaintiffs' Counsel & Contact Information                                             Email Addresses            Consumer,    Transfer
                    Number &                                                                                                                                                                               Financial     Status
                     Original                                                                                                                                                                               or Small
                      Court                                                                                                                                                                                 Business

 Horne et al v.     1:17-cv-03713     Northern District of      Robbins Geller Rudman &                      John C. Herman                                                      jherman@rgrdlaw.com        Consumer
 Equifax Inc.                              Georgia                    Dowd, LLP                                Paul J. Geller                                                     pgeller@rgrdlaw.com
                                                                                                           Stuart A. Davidson                                                   sdavidson@rgrdlaw.com
                                                                                                Robbins Geller Rudman & Dowd, LLP - GA
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                                                                                                      1918 8th Avenue, Suite 3300
                                                                                                           Seattle, WA 98101
                                                                                                             206-268-9304
House v. Equifax,   4:17-cv-00392   Southern District of Iowa     Galligan & Reid PC                       Brian P Galligan                                                    bgalligan@galliganlaw.com    Consumer   Yes by CTO - 1
      Inc.                                                                                             GALLIGAN & REID PC                                                      ksharp@sanfordheisler.com
                                                                                                       300 Walnut Street, Suite 5
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                                                                                                            515-282-3333

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                                                                     Plaintiffs' Counsel Table
                                                      In re: Equifax, Inc., Customer Data Security Breach Litigation
                                                                       Case No. 1:17-md-2800-TWT
                                                                               MDL No. 2800
  Case Name              Case          Original Court            Local Counsel             Plaintiffs' Counsel & Contact Information                                              Email Addresses             Consumer,    Transfer
                       Number &                                                                                                                                                                               Financial     Status
                        Original                                                                                                                                                                               or Small
                         Court                                                                                                                                                                                 Business

 House v. Equifax,     2:17-cv-02523     District of Kansas                                               Mitchell L. Burgess                                                    mitch@burgesslawkc.com        Consumer
       Inc.                            (Kansas City Division)                                           BURGESS LAW FIRM
                                                                                                     4310 Madison Avenue Suite 100
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                                                                                                       Kansas City, MO 64111
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                                                                                                   One North LaSalle Street, Suite 4600
                                                                                                           Chicago, IL 60602
                                                                                                             312-621-2000

  Hyatt v. Equifax     1:17-cv-01670     Eastern District of    First Albrecht & Blondis                   Lawrence G Albrecht                                                   lalbrecht@fabattorneys.com    Consumer   Yes by CTO - 1
Information Services                         Wisonsin                      SC                                  James P End                                                          jend@fabattorneys.com
     LLC et al                                                                                           Christopher G Meadows                                                  cmeadows@fabattorneys.com
                                                                                                       First Albrecht & Blondis SC
                                                                                                        158 N Broadway - Ste 600
                                                                                                       Milwaukee, WI 53202-6015
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                                                                  Plaintiffs' Counsel Table
                                                    In re: Equifax, Inc., Customer Data Security Breach Litigation
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  Case Name              Case          Original Court         Local Counsel            Plaintiffs' Counsel & Contact Information                                                Email Addresses               Consumer,     Transfer
                       Number &                                                                                                                                                                               Financial      Status
                        Original                                                                                                                                                                               or Small
                         Court                                                                                                                                                                                 Business

Ialacci v. Equifax,    5:17-cv-05647   Northern District of                                              Harry Shulman                                                         harry@shulmanlawfirm.com        Consumer    Yes by CTO - 1
        Inc.                               California                                                    Shulman Law
                                                                                                      44 Montgomery St.                                                         weiner@halunenlaw.com
                                                                                                           Suite 3830
                                                                                                    San Francisco, CA 94104
                                                                                                         415-901-0505

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                                                                                                     80 South Eighth Street
                                                                                                     Minneapolis, MN 55402
                                                                                                         612-605-4098
    Independent        1:17-cv-04756   Northern District of      Anthony C. Lake                        Bryan Bleichner                                                     bbleichner@chesnutcambronne.com    Financial
Community Bankers                           Georgia              Thomas Withers                       Chestnut Cambronne
 of America et al v.                                          Gillen Withers & Lake,          17 Washington Avenue North, Suite 300                                              cvanhorn@bfvlaw.com
    Equifax Inc.                                                       LLC                          Minneapolis, MN 55401
                                                              3490 Piedmont Road,                        612-339-7300                                                            ecomite@scott-scott.com
                                                                       N.E.                                                                                                    jguglielmo@scott-scott.com
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                                                                   Plaintiffs' Counsel Table
                                                      In re: Equifax, Inc., Customer Data Security Breach Litigation
                                                                       Case No. 1:17-md-2800-TWT
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  Case Name                Case          Original Court         Local Counsel         Plaintiffs' Counsel & Contact Information                                               Email Addresses             Consumer,    Transfer
                         Number &                                                                                                                                                                         Financial     Status
                          Original                                                                                                                                                                         or Small
                           Court                                                                                                                                                                           Business

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                                                                                                        412-322-9243
Irwin v. Equifax, Inc.   5:17-cv-05735   Northern District of                                         Derek G. Howard                                                       derek@derekhowardlaw.com       Consumer   Yes by CTO - 1
                                             California                                            Ashley Marie Romero                                                      ashley@derekhowardlaw.com
                                                                                               Derek G. Howard Law Firm, Inc.
                                                                                                      42 Miller Avenue                                                        dan@jmglawoffices.com
                                                                                                   Mill Valley, CA 94941
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                                                                                               Jenkins, Mulligan & Gabriel , LLP
                                                                                             10085 Carroll Canyon Road, Suite 210
                                                                                                     San Diego, CA 92131
                                                                                                         858-527-1792
Jimenez v. Equifax,      1:17-cv-03885   Northern District of   Kevin T Moore, P.C.                  Jeff S. Westerman                                                         ktm@ktmtriallaw.com         Consumer
       Inc.                                   Georgia                                               Westerman Law Corp.
                                                                                              1875 Century Park East, Suite 2200
                                                                                                   Los Angeles, CA 90067
                                                                                                       310-698-7880

                                                                                                     Kevin Trent Moore
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                                                                                                   Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 77 of 154




                                                                      Plaintiffs' Counsel Table
                                                        In re: Equifax, Inc., Customer Data Security Breach Litigation
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  Case Name                Case           Original Court            Local Counsel   Plaintiffs' Counsel & Contact Information                                              Email Addresses              Consumer,    Transfer
                         Number &                                                                                                                                                                       Financial     Status
                          Original                                                                                                                                                                       or Small
                           Court                                                                                                                                                                         Business

Johns et al v. Equifax   5:17-cv-05372     Northern District of                                       Michael W. Sobol                                                        msobol@lchb.com            Consumer   Yes by CTO - 1
         Inc.                                  California                                 Lieff Cabraser Heimann & Bernstein, LLP
                                                                                                  Embarcadero Center West
                                                                                                 275 Battery Street, 29th Floor
                                                                                                San Francisco, CA 94111-3339
                                                                                                       (415) 956-1000

   Johnson et al v.      3:17-cv-03135 Northern District of Texas                                  Charles Austin Reams                                                   austin@reamslawfirm.com        Consumer   Yes by CTO - 1
     Equifax, Inc                                                                                       Reams Law
                                                                                                 9208 North Kelley Avenue
                                                                                                 Oklahoma City, OK 73131
                                                                                                      405-285-6878

   Johnson et al v.      3:17-cv-02464 Northern District of Texas                                       John Green                                                           jlgreen488@aol.com          Consumer   Yes by CTO - 1
  Equifax, Inc et al                                                                         John L Green, CPA, Attorney at Law
                                                                                              4888 Loop Central Drive, Suite 445                                         craig.hemphill@ckhlopllc.com
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                                                                                                        Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 78 of 154




                                                                      Plaintiffs' Counsel Table
                                                      In re: Equifax, Inc., Customer Data Security Breach Litigation
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  Case Name              Case          Original Court              Local Counsel          Plaintiffs' Counsel & Contact Information                                            Email Addresses            Consumer,         Transfer
                       Number &                                                                                                                                                                           Financial          Status
                        Original                                                                                                                                                                           or Small
                         Court                                                                                                                                                                             Business

Johnson v. Equifax     6:17-cv-00100    District of Montana                                             Robert Farris-Olsen                                                     rfolsen@mswdlaw.com         Consumer       Yes by CTO - 1
      Inc.                                                                                 MORRISON, SHERWOOD, WILSON & DEOLA, PLLP
                                                                                                      401 N Last Chance Gulch
                                                                                                            PO Box 557
                                                                                                         Helena, MT 59624
                                                                                                           406-442-3261
  Jones et al. v.      3:17-cv-00211    Northern District of     Gordon Shaw Law Group,                    Kevin Sharp                                                        ksharp@sanfordheisler.com     Consumer       Yes by CTO - 1
 Equifax Inc. et al.                        Mississippi                  PLLC                     SANFORD HEISLER SHARP, LLP
                                                                                                   611 Commerce Street, Suite 3100                                               ashaw@lawjhg.com
                                                                                                        Nashville, TN 37203
                                                                                                          615-434-7001

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                                                                                                      Covington, TN 38019
                                                                                                         901-476-7100

Joof & Sogomonyan      2:17-cv-06659     Central District of                                             Armen Kiramijyan                                                      akiramijyan@kaass.com        Consumer            Yes
  v. Equifax, Inc.                      California (Western                                              Hovsep Hovsepyan                                                      hhovsepyan@kaass.com
                                       Division - Los Angeles)                                             KAASS LAW
                                                                                                      313 East Broadway # 944
                                                                                                        Glendale, CA 91209
                                                                                                           310-943-1171

Jorge & Durrang v.     2:17-cv-05404   Eastern District of New                                              Ryan L. Gentile                                                                                 Consumer
   Equifax Inc.                        York (Central Division)                                             Gus M. Farinella
                                                                                             LAW OFFICES OF GUS MICHAEL FARINELLA
                                                                                                    110 Jericho Turnpike Suite 100
                                                                                                        Floral Park, NY 11001
                                                                                                             516-326-2333

Kademi, LLC et al v.   1:17-cv-03886    Northern District of       The Doss Firm, LLC                      Jason R. Doss                                                      jasondoss@dossfirm.com      Small Business
   Equifax, Inc.                             Georgia                                                     Samuel T. Brannan                                                    stbrannan@dossfirm.com
                                                                                                        The Doss Firm, LLC
                                                                                                    36 Trammell Street, Suite 101
                                                                                                        Marietta, GA 30066
                                                                                                           770-578-1314
                                                                                                               Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 79 of 154




                                                                          Plaintiffs' Counsel Table
                                                         In re: Equifax, Inc., Customer Data Security Breach Litigation
                                                                          Case No. 1:17-md-2800-TWT
                                                                                  MDL No. 2800
  Case Name                Case           Original Court              Local Counsel            Plaintiffs' Counsel & Contact Information                                              Email Addresses            Consumer,    Transfer
                         Number &                                                                                                                                                                                Financial     Status
                          Original                                                                                                                                                                                or Small
                           Court                                                                                                                                                                                  Business

  Kalmick et al v.       1:17-cv-00954   Western District of Texas                                                 Paul Colley, Jr.                                                      paul@colleylaw.net       Consumer   Yes by CTO - 1
   Equifax Inc.                                                                                                     Jarrett Stone                                                       jarrett@colleylaw.net
                                                                                                                  Colley Firm, P.C.
                                                                                                        12912 Hill Country Blvd., Suite F-234
                                                                                                                 Austin, TX 78738
                                                                                                                   512-477-2001

Katz et al v. Equifax,   1:17-cv-03798     Northern District of      Evangelista Worley, LLC                   David James Worley                                                       david@ewlawllc.com        Consumer
         Inc                                    Georgia                                                        James M. Evangelista                                                      jim@ewlawllc.com
                                                                                                             Kristi Stahnke McGregor                                                    kristi@ewlawllc.com
                                                                                                             Evangelista Worley, LLC
                                                                                                          8100 A Roswell Road, Suite 100                                               jabraham@aftlaw.com
                                                                                                                Atlanta, GA 30350
                                                                                                                   404-205-8400

                                                                                                                Jeffrey S. Abraham
                                                                                                         Abraham, Fruchter & Twersky, LLP
                                                                                                         One Pennsylvania Plaza, Suite 2805
                                                                                                            New York, NY 10019-1910
                                                                                                                  212-279-5050
    Kealy et al v.       1:17-cv-03443     Northern District of                                                James M. Evangelista                                                     jme@ewlawllc.com          Consumer        Yes
    Equifax, Inc.                           Georgia (Atlanta                                                     David J. Worley                                                        david@ewlawll.com
                                                Division)                                                    Kristi Stahnke McGregor                                                    kristi@ewlawll.com
                                                                                                          EVANGELISTA WORLEY, LLC
                                                                                                          8100 A Roswell Road, Suite 100
                                                                                                                Atlanta, GA 30350
                                                                                                                   404-205-8400

Kemp v. Equifax, Inc.    1:17-cv-00147     Northern District of                                                  Jason L. Nabors                                                     jason@langstonlawyers.com    Consumer   Yes by CTO - 1
        et al                                  Mississippi                                       SMITH, PHILLIPS, MITCHELL & SCOTT - Batesville
                                                                                                                P.O. Drawer 1586
                                                                                                              Batesville, MS 38606
                                                                                                                 (662) 563-4613

                                                                                                                  Shane F. Langston                                                  shane@langstonlawyers.com
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                                                                                                             Southlake, TX 76092-3521
                                                                                                                 1 (877) LAW-0008
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                                                                     Plaintiffs' Counsel Table
                                                      In re: Equifax, Inc., Customer Data Security Breach Litigation
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  Case Name               Case          Original Court           Local Counsel          Plaintiffs' Counsel & Contact Information                                               Email Addresses              Consumer,    Transfer
                        Number &                                                                                                                                                                             Financial     Status
                         Original                                                                                                                                                                             or Small
                          Court                                                                                                                                                                               Business

 Kendall v. Equifax     1:17-cv-06922   District of New Jersey   Harris Lowry Manton,                   Javier L. Merino                                                         jmerino@dannlaw.com          Consumer   Yes by CTO - 1
Information Services,                                                     LLP                       DANN & MERINO PC
        LLC                                                                                     One Meadowlands Plaza, Suite 200                                                 tom@attorneyzim.com
                                                                                                   East Rutherford, NJ 07073
                                                                                                         201-355-3440                                                        dkrieger@hainesandkrieger.com
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                                                                                                  1845 Walnut Street, Suite 1600
                                                                                                     Philadelphia, PA 19103
                                                                                                          215-925-8200
                                                                        Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 81 of 154




                                           Plaintiffs' Counsel Table
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Case Name     Case      Original Court   Local Counsel   Plaintiffs' Counsel & Contact Information                                                 Email Addresses               Consumer,   Transfer
            Number &                                                                                                                                                             Financial    Status
             Original                                                                                                                                                             or Small
              Court                                                                                                                                                               Business

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                                                                         Fax: (619) 362-9555

                                                                          Richard V. Falcon
                                                                      Murphy Falcon & Murphy
                                                                      1 South Street, Suite 2300
                                                                        Baltimore, MD 21202
                                                                                               Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 82 of 154




                                                                   Plaintiffs' Counsel Table
                                                       In re: Equifax, Inc., Customer Data Security Breach Litigation
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  Case Name               Case          Original Court           Local Counsel   Plaintiffs' Counsel & Contact Information                                             Email Addresses            Consumer,   Transfer
                        Number &                                                                                                                                                                  Financial    Status
                         Original                                                                                                                                                                  or Small
                          Court                                                                                                                                                                    Business

                                                                                                  Brian D. Flick
                                                                                                P.O. Box 6031046
                                                                                               Cleveland, OH 44103

  Kilgore et al. v.     1:17-cv-00942   District of New Mexico                                  Geoffrey R. Romero                                                      geoff26@hotmail.com        Consumer     Yes
Equifax Information                     (Albuquerque Division)                        LAW OFFICES OF GEOFFREY R. ROMERO
   Services LLC                                                                               4801 All Saints Rd. NW
                                                                                              Albuquerque, NM 87120
                                                                                                  502-226-0935
                                                                                                                                                                       paul@zebrowskilaw.com
                                                                                                  Paul Zebrowski                                                       tom@zebrowskilaw.com
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                                                                                              4801 All Saints Rd. NW
                                                                                              Albuquerque, NM 87120
                                                                                                  505-715-5161
King v. Equifax, Inc.   1:17-cv-03157     Southern District of                                     Irwin B. Levin                                                     ilvein@cohenandmalad.com     Consumer
                                         Indiana (Indianapolis                                   Richard E. Shevitz                                                  rshevitz@cohenandmalad.com
                                               Division)                                         Vess Allen Miller                                                   vmiller@cohenandmalad.com
                                                                                                  Lynn A. Toops                                                       ltoops@cohenandmalad.com
                                                                                             COHEN & MALAD LLP
                                                                                           One Indiana Square, Suite 1400
                                                                                              Indianapolis, IN 46204
                                                                                                   317-636-6481
  Kishel et al v.       1:17-cv-05139    Northern District of                                     Kevin H. Sharp                                                      ksharp@sanfordheisler.com    Consumer
 Equifax Inc. et al                           Georgia                                        Sanford Heisler Sharp, LLP
                                                                                          611 Commerce Street , Suite 3100
                                                                                                Nashville, TN 37203
                                                                                                   615-343-7001
                                                                                                      Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 83 of 154




                                                                     Plaintiffs' Counsel Table
                                                        In re: Equifax, Inc., Customer Data Security Breach Litigation
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  Case Name                Case          Original Court            Local Counsel      Plaintiffs' Counsel & Contact Information                                              Email Addresses             Consumer,    Transfer
                         Number &                                                                                                                                                                        Financial     Status
                          Original                                                                                                                                                                        or Small
                           Court                                                                                                                                                                          Business

 Klavans v. Equifax      1:17-cv-01346    District of Delaware      Shelsby & Leoni                     Robert Joseph Leoni                                                     rleoni@mslde.com          Consumer   Yes by CTO - 1
     Inc. et al                                                                                          Gilbert F. Shelsby                                                    gshelsby@mslde.com
                                                                                                         Shelsby & Leoni
                                                                                                          221 Main Street
                                                                                                        Stanton, DE 19804                                                   amelzer@sanfordheisler.com
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                                                                                                         646-402-5650

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                                                                                                611 Commerce Street, Suite 3100
                                                                                                     Nashville, TN 37203
                                                                                                        615-434-7001
Klein et al v. Equifax   1:17-cv-05489   Eastern District of New                                    Jeremy Alan Lieberman                                                    jalieberman@pomlaw.com       Consumer   Yes by CTO - 1
         Inc.                                     York                                             Joseph Alexander Hood, II                                                    ahood@pomlaw.com
                                                                                                      Patrick V. Dahlstrom
                                                                                                        Pomerantz LLP
                                                                                                       600 Third Avenue
                                                                                                     New York, NY 10016
                                                                                                         212-661-1100

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                                                                                                     Chicago, Illinois 60603
                                                                                                     Phone: 312-377-1181
                                                                                                       Fax: 312-229-8811

 Kloewer v. Equifax      1:17-cv-03149    District of Colorado                                           Brad Kloewer                                                                                     Consumer   Yes by CTO-5
       Inc.                                                                                        2467 South Bannock Street
                                                                                                      Denver, CO 80223
                                                                                                         303-910-2734
                                                                                                           PRO SE
                                                                                               Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 84 of 154




                                                                  Plaintiffs' Counsel Table
                                                     In re: Equifax, Inc., Customer Data Security Breach Litigation
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 Case Name              Case          Original Court            Local Counsel   Plaintiffs' Counsel & Contact Information                                                 Email Addresses               Consumer,   Transfer
                      Number &                                                                                                                                                                          Financial    Status
                       Original                                                                                                                                                                          or Small
                        Court                                                                                                                                                                            Business

 Knepper et al. v.    2:17-cv-02368   District of Nevada (Las                                     David H. Krieger                                                     dkrieger@hainesandkrieger.com     Consumer
Equifax Information                      Vegas Division)                                           George Haines                                                       ghaines@hainesandkrieger.com
  Services, LLC                                                                              HAINES & KRIEGER, LLC
                                                                                            8985 S. Eastern Ave Suite 350
                                                                                               Henderson, NV 89123
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                                                                                                Matthew I. Knepper                                                     miles.clark@knepperclark.com
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                                                                                             KNEPPER & CLARK, LLC
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                                                                                                Cleveland, OH 44103
                                                                                                   216-373-0539
                                                                                                   Brian D. Flick
                                                                                         Mills, Mills, Fiely and Lucas, LLC
                                                                                             632 Vine Street, Suite 305
                                                                                               Cincinnati, OH 45202
                                                                                                   216-373-0539
                                                                                                      Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 85 of 154




                                                                    Plaintiffs' Counsel Table
                                                      In re: Equifax, Inc., Customer Data Security Breach Litigation
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                        Number &                                                                                                                                                                                   Financial     Status
                         Original                                                                                                                                                                                   or Small
                          Court                                                                                                                                                                                     Business

Kohn et al v. Equifax   1:17-cv-07257   District of New Jersey                                           Julio C. Gomez                                                            jgomez@gomezllc.com              Consumer   Yes by CTO - 1
     Inc. et al                                                                                           GOMEZ LLC
                                                                                                       The Stucke Building                                                    jkanterman@stonemagnalaw.com
                                                                                                    111 Quimby Street, Suite 8                                                rmagnanini@stonemagnalaw.com
                                                                                                       Westfield, NJ 07090                                                      dstone@stonemagnalaw.com
                                                                                                          908-789-1080

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                                                                                                      Robert A. Magnanini
                                                                                                         David S. Stone
                                                                                                  STONE & MAGNANINI LLP
                                                                                                  100 Connell Drive, Suite 2200
                                                                                                   Berkley Heights, NJ 07922
                                                                                                          973-218-1111
   Krachanus v.         1:17-cv-04694    Northern District of    Jonathan W. Johnson,                Jonathan Wesley Johnson                                                jwj@jonathanjohnsonatlantalawyer.com    Consumer
   Equifax, Inc.                              Georgia                    LLC                        Jonathan W. Johnson, LLC
                                                                                                2296 Henderson Mill Rd., Suite 304                                                 geragos@geragos.com
                                                                                                        Atlanta, GA 30345
                                                                                                          404-298-0795

                                                                                                     Benjamin Jared Meiselas
                                                                                                        Geragos & Geragos
                                                                                                    644 South Figueroa Street
                                                                                                    Historic Engine Co. No. 28
                                                                                                     Los Angeles, CA 90017
                                                                                                          213-625-3900

Krawcyk v. Equifax,     4:17-cv-00760    Western District of                                           Mitchell L. Burgess                                                        mitch@burgesslawkc.com            Consumer
      Inc.                              Missouri (Kansas City                                         Burgess Law Firm PC
                                             Division)                                           4310 Madison Avenue, Suite 100                                                    phalenlaw@yahoo.com
                                                                                                     Kansas City, MO 64111
                                                                                                         816-471-1700

                                                                                                        Ralph K. Phalen
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                                                                                                     Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 86 of 154




                                                                  Plaintiffs' Counsel Table
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                        Number &                                                                                                                                                                 Financial    Status
                         Original                                                                                                                                                                 or Small
                          Court                                                                                                                                                                   Business

Kuhns v. Equifax Inc.   1:17-cv-03463   Northern District of                                        David Andrew Bain                                                       dbain@bain-law.com    Consumer
        et al                                Georgia                                          Law Offices of David A. Bain, LLC
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                                                                                                 1230 Peachtree Street, NE
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                                                                                                          24th Floor
                                                                                                    New York, NY 10004
                                                                                                         212-363-7500
Kuss v. Equifax, Inc.   1:17-cv-03436   Northern District of   Griffin & Strong, PC                    Rodney K. Strong                                                    rodney@gspclaw.com     Consumer     Yes
                                         Georgia (Atlanta                                               David J. Maher                                                      david@gspclaw.com
                                             Division)                                            GRIFFIN & STRONG, P.C.
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                                                                                                      Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 87 of 154




                                                                   Plaintiffs' Counsel Table
                                                    In re: Equifax, Inc., Customer Data Security Breach Litigation
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                       Number &                                                                                                                                                                          Financial    Status
                        Original                                                                                                                                                                          or Small
                         Court                                                                                                                                                                            Business

LaGasse, et al. v.     1:17-cv-03745   Northern District of        W. Pitts Carr                      Stephen D. Susman*                                                    ssusman@susmangodfrey.com     Consumer
Equifax Inc., et al.                        Georgia             Alex D. Weatherby                  SUSMAN GODFREY LLP                                                       sshepard@susmangodfrey.com
                                                              CARR & WEATHERBY,                   1000 Louisiana St., Suite 5100
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                                                                                            Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 88 of 154




                                                               Plaintiffs' Counsel Table
                                                   In re: Equifax, Inc., Customer Data Security Breach Litigation
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 Case Name              Case          Original Court         Local Counsel   Plaintiffs' Counsel & Contact Information                                            Email Addresses        Consumer,   Transfer
                      Number &                                                                                                                                                           Financial    Status
                       Original                                                                                                                                                           or Small
                        Court                                                                                                                                                             Business

                                                                                                W. Pitts Carr
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                                                                                          Joseph Marshall Colwell
                                                                                               Joel Wooten, Jr.
                                                                                         Butler Wooten & Peak LLP
                                                                                            2719 Buford Hwy NE
                                                                                             Atlanta, GA 30324
                                                                                            Phone(404) 321-1700
                                                                                          Toll Free(877) 250-3229
                                                                                             Fax(404) 321-1713
 Lang & Pantek v.     1:17-cv-06519   Northern District of                                    Rusty A. Payton                                                     payton@dannlaw.com      Consumer
Equifax Information                    Illinois (Chicago                                      PAYTONDANN
  Services, LLC                             Division)                                     4422 N. Ravenswood Ave
                                                                                             Chicago, IL 60640
                                                                                               312-702-1000
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                                                                                               312-899-9090
                                                                                                   Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 89 of 154




                                                               Plaintiffs' Counsel Table
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Case Name            Case          Original Court          Local Counsel            Plaintiffs' Counsel & Contact Information                                                 Email Addresses               Consumer,   Transfer
                   Number &                                                                                                                                                                                 Financial    Status
                    Original                                                                                                                                                                                 or Small
                     Court                                                                                                                                                                                   Business

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                                                                                                      George Haines                                                        ghaines@hainesandkrieger.com
                                                                                                HAINES & KRIEGER, LLC
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                                                                                                   Las Vegas, NV 89123
                                                                                                       702-952-2733

Lapter et al. v.   1:17-cv-03445   Northern District of   Evangelista Worley, LLC                 James M. Evangelista                                                          jme@ewlawllc.com             Consumer     Yes
 Equifax, Inc.                      Georgia (Atlanta                                                 David J. Worley                                                            david@ewlawll.com
                                        Division)                                                Kristi Stahnke McGregor                                                        kristi@ewlawll.com
                                                                                             EVANGELISTA WORLEY, LLC
                                                                                              8100A Roswell Road, Suite 100
                                                                                                    Atlanta, GA 30350                                                          hlongman@ssbny.com
                                                                                                       404-205-8400                                                             memert@ssbny.com
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                                                                                                  Howard T. Longman                                                             pkslyne@ssbny.com
                                                                                                     Michael Klein
                                                                                                     Melissa Emert
                                                                                                     Patrick Slyne
                                                                                                STULL, STULL & BRODY
                                                                                                   6 East 45th Street
                                                                                                  New York, NY 10017
                                                                                                     212-687-7230
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                                                                         Plaintiffs' Counsel Table
                                                        In re: Equifax, Inc., Customer Data Security Breach Litigation
                                                                         Case No. 1:17-md-2800-TWT
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  Case Name                Case           Original Court             Local Counsel            Plaintiffs' Counsel & Contact Information                                                  Email Addresses             Consumer,    Transfer
                         Number &                                                                                                                                                                                    Financial     Status
                          Original                                                                                                                                                                                    or Small
                           Court                                                                                                                                                                                      Business

   Larson et al v.       1:17-cv-03905     Northern District of     Law Offices of David A.                    David Andrew Bain                                                           dbain@bain-law.com         Consumer
    Equifax, Inc.                               Georgia                  Bain, LLC                       Law Offices of David A. Bain, LLC
                                                                                                                1050 Promenade II
                                                                                                            1230 Peachtree Street, NE                                                     goldman@lawgsp.com
                                                                                                                Atlanta, GA 30309
                                                                                                                   404-724-9990

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                                                                                                               Eight Tower Bridge
                                                                                                         161 Washington Street, Suite 1025
                                                                                                             Conshohocken, PA 19428
                                                                                                                  484-342-0700
                                                                                                                  Joshua J. Grabar
                                                                                                                Grabar Law Office
                                                                                                           1735 Market Street, Suite 3750
                                                                                                              Philadelphia, PA 19103

 Lawyer v. Equifax       4:17-cv-03161 Southern District of Texas                                                  Robert C Hilliard                                                     bobh@hmglawfirm.com          Consumer   Yes by CTO - 1
       Inc.                                                                                                 Hilliard Munoz Gonzales LLP
                                                                                                              719 S Shoreline, Ste 500
                                                                                                             Corpus Christi, TX 78401
                                                                                                                    361-882-1612

Lee et al. v. Equifax,   5:17-cv-05553     Northern District of                                                  Gayle Meryl Blatt                                                          gmb@cglaw.com             Consumer   Yes by CTO - 1
         Inc.                                  California                                        Casey Gerry Schenk Francavilla Blatt & Penfield LLP
                                                                                                                 110 Laurel Street
                                                                                                               San Diego, CA 92101
                                                                                                                   619-238-1811

   Levy v. Equifax       1:17-cv-05354    Eastern District of New                                                 Amir J. Goldstein                                                   ajg@consumercounselgroup.com    Consumer
Information Services                     York (Brooklyn Division)                                              591 Broadway Suite 3A
        LLC                                                                                                     New York, NY 10012
                                                                                                                   212-966-5253
                                                                                                              Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 91 of 154




                                                                          Plaintiffs' Counsel Table
                                                         In re: Equifax, Inc., Customer Data Security Breach Litigation
                                                                          Case No. 1:17-md-2800-TWT
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  Case Name                Case           Original Court               Local Counsel            Plaintiffs' Counsel & Contact Information                                           Email Addresses           Consumer,   Transfer
                         Number &                                                                                                                                                                             Financial    Status
                          Original                                                                                                                                                                             or Small
                           Court                                                                                                                                                                               Business

Lewis v. Equifax, Inc.   1:17-cv-03863     Northern District of      Conley Griggs Partin LLP                    Ranse M. Partin                                                    ranse@conletgriggs.com     Consumer
                                                Georgia                                                   Conley Griggs Partin, LLP- GA
                                                                                                             Building One, Suite 300
                                                                                                          4200 Northside Parkway, NW
                                                                                                               Atlanta, GA 30327
                                                                                                                  404-467-1155

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                                                                                                            The Lanier Law Firm - TX
                                                                                                              6810 FM 1960 West
                                                                                                              Houston, TX 77069
                                                                                                                 713-659-5200

 Lipchitz v. Equifax,    1:17-cv-03457     Northern District of      Evangelista Worley, LLC                  James M. Evangelista                                                    jme@ewlawllc.com         Consumer     Yes
         Inc.                               Georgia (Atlanta                                                     David J. Worley                                                      david@ewlawll.com
                                                Division)                                                    Kristi Stahnke McGregor                                                  kristi@ewlawll.com
                                                                                                         EVANGELISTA WORLEY, LLC
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                                                                                                                Atlanta, GA 30350                                                   clm@federmanlaw.com
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                                                                                                              Oklahoma, OK 73120
                                                                                                                 405-235-1560
   Lynch et al. v.       4:17-cv-00640   Eastern District of Texas                                             L. Kirstine Rogers                                                   krogers@stecklerlaw.com    Consumer
   Equifax, Inc.                           (Sherman Division)                                         STECKLER GRESHAM COCHRAN LLP                                                   dean@stecklerlaw.com
                                                                                                         12720 Hillcrest Road, Suite 1045                                            bruce@stecklerlaw.com
                                                                                                               Dallas, TX 75203
                                                                                                                 972-387-4040
                                                                                                      Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 92 of 154




                                                                    Plaintiffs' Counsel Table
                                                     In re: Equifax, Inc., Customer Data Security Breach Litigation
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  Case Name             Case          Original Court             Local Counsel          Plaintiffs' Counsel & Contact Information                                           Email Addresses          Consumer,    Transfer
                      Number &                                                                                                                                                                       Financial     Status
                       Original                                                                                                                                                                       or Small
                        Court                                                                                                                                                                         Business

 Mallh v. Equifax,    1:17-cv-05555   Eastern District of New                                         Gregory Joseph Allen                                                    greg@gjallenlaw.com     Consumer   Yes by CTO - 1
       Inc.                                    York                                                       Home Office
                                                                                                    120 W Wilson Ave #1135                                                   law@herminalaw.com
                                                                                                      Glendale, CA 91203
                                                                                                         203-535-4636

                                                                                                         John W. Hermina
                                                                                                        Hermina Law Group
                                                                                                         8327 Cherry Lane
                                                                                                        Laurel, MD 20707
                                                                                                          (301)206-3166

Maloney v. Equifax,   2:17-cv-01238    Eastern District of                                            Mark A. Eldridge                                                      medlridge@ademilaw.com    Consumer
      Inc.                            Wisconsin (Milwaukee                                             Shpetim Ademi                                                         sademi@ademilaw.com
                                           Division)                                                   John D. Blythin                                                       jblythin@ademilaw.com
                                                                                                        Jesse Fruchter                                                         jfruchter@ademilaw
                                                                                                   ADEMI & O'REILLY LLP
                                                                                                    3620 East Layton Ave
                                                                                                     Cudahy, WI 53110
                                                                                                        414-482-8004

Manaher v. Equifax,   1:17-cv-03447    Northern District of     Webb, Klase & Lemond,                    E. Adam Webb                                                          adam@webbllc.com       Consumer        Yes
      Inc.                              Georgia (Atlanta                LLC                          G. Franklin Lemond, Jr.                                                 flemond@webbllc.com
                                            Division)                                           WEBB, KLASE & LEMOND, LLC
                                                                                                1900 The Exchange, SE, Suite 480                                            jgs@mccunewright.com
                                                                                                       Atlanta, GA 30339                                                    mds@mccunewright.com
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                                                                                               MCCUNE WRIGHT AREVALO LLP
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                                                                                                    Berwyn, PA 19312
                                                                                                       610-200-0580

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                                                                                                     The Malone Firm, LLC
                                                                                                   1650 Arch Street, Suite 2501
                                                                                                     Philadelphia, PA 19103
                                                                                                          215-561-7700
                                                                                               Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 93 of 154




                                                                   Plaintiffs' Counsel Table
                                                      In re: Equifax, Inc., Customer Data Security Breach Litigation
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  Case Name              Case          Original Court            Local Counsel   Plaintiffs' Counsel & Contact Information                                              Email Addresses              Consumer,    Transfer
                       Number &                                                                                                                                                                      Financial     Status
                        Original                                                                                                                                                                      or Small
                         Court                                                                                                                                                                        Business

  Mann v. Equifax      2:17-cv-04100     Eastern District of                                       John Soumilas                                                     jsoumilas@consumerlawfirm.com    Consumer
Information Services                        Pennslyvania                                   FRANCIS & MAILMAN,P.C.
       LLC                             (Philadelphia Division)                             Land Title Building, 19th Floor
                                                                                                100 S. BROAD ST.
                                                                                              Philadelphia, PA 19110
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                                                                                              One South Broad Street
                                                                                                     Suite 2100
                                                                                              Philadelphia, PA 19107
                                                                                               Phone: 215 238-1700
                                                                                                Fax: 215 238-1968

Manopla v. Equifax     3:17-cv-11419   District of New Jersey                                 Edward B. Geller                                                               epbh@aol.com             Consumer   Yes by CTO - 1
      Inc.                                                                               EDWARD B. GELLER, ESQ., P.C.
                                                                                              15 Landing Way
                                                                                              Bronx, NY 10464
                                                                                               914-473-6783

Manopla v. Equifax     3:17-cv-11424   District of New Jersey                                 Edward B. Geller                                                               epbh@aol.com             Consumer   Yes by CTO - 1
      Inc.                                                                               EDWARD B. GELLER, ESQ., P.C.
                                                                                              15 Landing Way
                                                                                              Bronx, NY 10464
                                                                                               914-473-6783

Manopla v. Equifax     3:17-cv-11440   District of New Jersey                                 Edward B. Geller                                                               epbh@aol.com             Consumer   Yes by CTO - 1
      Inc.                                                                               EDWARD B. GELLER, ESQ., P.C.
                                                                                              15 Landing Way
                                                                                              Bronx, NY 10464
                                                                                               914-473-6783

Manopla v. Equifax     3:17-cv-12275   District of New Jersey                                 Edward B. Geller                                                               epbh@aol.com             Consumer   Yes by CTO - 3
      Inc.                                                                               EDWARD B. GELLER, ESQ., P.C.
                                                                                              15 Landing Way
                                                                                              Bronx, NY 10464
                                                                                               914-473-6783
                                                                                                       Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 94 of 154




                                                                  Plaintiffs' Counsel Table
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                      Number &                                                                                                                                                                            Financial    Status
                       Original                                                                                                                                                                            or Small
                        Court                                                                                                                                                                              Business

Mardock v. Equifax,   1:17-cv-03499   Northern District of   Evangelista Worley, LLC                     Ariana J. Tadler                                                       atadler@milberg.com        Consumer
      Inc.                                 Georgia                                                        Andrei V. Rado                                                         arado@milberg.com
                                                                                                           Henry Kelston                                                       hkelston@milberg.com
                                                                                                        Elizabeth McKenna                                                     emckenna@milberg.com
                                                                                                           Melissa Clark                                                        mclark@milberg.com
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                                                                                                One Pennsylvania Plaza, Suite 1920
                                                                                                   New York, NY 10119-0165
                                                                                                           212-594-5300                                                         david@ewlawllc.vom
                                                                                                                                                                                 jim@ewlawllc.com
                                                                                                        David J. Worley                                                         kristi@ewlawllc.com
                                                                                                      James M. Evangelista
                                                                                                    Kristi Stahnke McGregor
                                                                                                    Evangelista Worley, LLC
                                                                                                 8100 A Roswell Road, Suite 100
                                                                                                       Atlanta, GA 30350
                                                                                                          404-205-8400
Martin v. Equifax,    3:17-cv-01246    Middle District of    Gordon Shaw Law Group,                      Andrew Melzer                                                       amelzer@sanfordheisler.com    Consumer     Yes
       Inc.                           Tennessee (Nashville     PLLC; Lacy, Price &                  Sanford Heisler Sharp, LLP
                                           Division)              Wagner, P.C.                1350 Avenue of the Americas, 31st Floor                                        ksharp@sanfordheisler.com
                                                                                                      New York, NY 10019
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                                                                                                        Kevin H. Sharp                                                           ashaw@lawjhg.com
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                                                                                                       Amber Griffin Shaw
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                                                                                                 114 W. Liberty Avenue, Suite 300
                                                                                                          P.O. Box 846
                                                                                                      Covington, TN 38019
                                                                                                          901-476-7100

                                                                                                      W. Allen McDonald
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                                                                                                 249 North Peters Road, Suite 101
                                                                                                      Knoxville, TN 37923
                                                                                                         865-246-0800
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                                                                 Plaintiffs' Counsel Table
                                                  In re: Equifax, Inc., Customer Data Security Breach Litigation
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                     Number &                                                                                                                                                                              Financial     Status
                      Original                                                                                                                                                                              or Small
                       Court                                                                                                                                                                                Business

Martin v. Equifax,   3:17-cv-00174   Northern District of                                        David Malcolm McMullan, Jr                                                dmcmullan@barrettlawgroup.com    Consumer   Yes by CTO - 1
       Inc.                              Mississippi                                             BARRETT LAW OFFICES
                                                                                                     404 Court Square N
                                                                                                        P. O. Box 927
                                                                                                    Lexington, MS 39095
                                                                                                       (662) 834-2376

Martin v. Equifax,   1:17-cv-03458   Northern District of   Evangelista Worley, LLC                 James M. Evangelista                                                        jme@ewlawllc.com            Consumer        Yes
       Inc.                           Georgia (Atlanta                                                David J. Worley                                                           david@ewlawll.com
                                          Division)                                               Kristi Stahnke McGregor                                                       kristi@ewlawll.com
                                                                                               EVANGELISTA WORLEY, LLC
                                                                                               8100 A Roswell Road, Suite 100                                                  wbf@federmanlaw.com
                                                                                                     Atlanta, GA 30350                                                         clm@federmanlaw.com
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                                                                                                       405-235-1560
Martin v. Equifax,   3:17-cv-00744   Southern District of                                               Jason L. Nabors                                                      jason@langstonlawyers.com      Consumer   Yes by CTO - 1
    Inc. et al                           Mississippi                                                   Shane F. Langston                                                     shane@langstonlawyers.com
                                                                                                     Rebecca M. Langston                                                     greta@langstonlawyers.com
                                                                                                  Langston & Langston, PLLC
                                                                                               210 East Capitol Street, Suite 1205
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                                                                                                         601-969-1356
                                                                                          Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 96 of 154




                                                              Plaintiffs' Counsel Table
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Case Name              Case          Original Court         Local Counsel   Plaintiffs' Counsel & Contact Information                                              Email Addresses            Consumer,    Transfer
                     Number &                                                                                                                                                                 Financial     Status
                      Original                                                                                                                                                                 or Small
                       Court                                                                                                                                                                   Business

Martinez et al. v.   1:17-cv-23510   Southern District of                                 Robert John Borrello                                                    rborrello@russomanno.com     Consumer   Yes by CTO - 1
 Equifax, Inc.                            Florida                                      Herman Joseph Russomanno                                                 hrussomanno@russomanno.com
                                                                                     Herman Joseph Russomanno, III                                                herman2@russomanno.com
                                                                                         Russomanno & Borrello
                                                                                            Museum Tower
                                                                                     150 W Flagler Street, Suite 2800
                                                                                           Miami, FL 33130                                                          david@nunez-law.com
                                                                                             305-373-2101

                                                                                         David Anthony Nunez
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                                                                                    150 West Flagler Street, Suite 2700                                           caumais@girardikeese.com
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                                                                                             305-722-9898
                                                                                                                                                                   rubinoff@krmlegal.com
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                                                                                     2665 S. Bayshore Drive, Ste. 30 I
                                                                                        Coconut Grove, FL 33133
                                                                                              305-358-6200
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                                                                     Plaintiffs' Counsel Table
                                                      In re: Equifax, Inc., Customer Data Security Breach Litigation
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                      Number &                                                                                                                                                                           Financial     Status
                       Original                                                                                                                                                                           or Small
                        Court                                                                                                                                                                             Business

 Mashburn et al v.    1:17-cv-04159      Northern District of                                    Jodi Westbrook Flowers                                                    jflowers@motleyrice.com        Consumer   Yes by CTO - 1
  Equifax, Inc.                               Georgia                                                 Kevin R. Dean                                                         kdean@motleyrice.com
                                                                                                  Motley Rice, LLC-SC
                                                                                                 28 Bridgeside Boulevard                                                claufenberg@kellerrohrback.com
                                                                                                 Mt. Pleasant, SC 29464                                                    gcappio@kellerohrback.com
                                                                                                      843-216-9163

                                                                                                 Cari Campen Laufenberg
                                                                                                Gretchen Freeman Cappio
                                                                                                  Keller Rohrback, L.L.P
                                                                                              1201 Third Avenue, Suite 3200
                                                                                                   Seattle, WA 98101
                                                                                                      206-623-1900

 Mason v. Equifax,    4:17-cv-02644   District of South Carolina                                        PRO SE                                                                no email provided           Consumer   Yes by CTO - 1
       Inc.                                                                                        Marcus C. Mason
                                                                                                    P.O. Box 52020
                                                                                                 Bennettsville, SC 29512

  McCall et al. v.    2:17-cv-02372    District of Nevada (Las                                       Miles N Clark                                                       miles.clark@knepperclark.com     Consumer
Equifax Information                       Vegas Division)                                        Knepper & Clark LLC
   Services LLC                                                                           10040 W. Cheyenne Ave., Suite 170-109
                                                                                                 Las Vegas,, NV 89129                                                        rac@cliffordlaw.com
                                                                                                     702-825-6060

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                                                                                               120 N. LaSalle St., Ste 3100                                                 notices@dannlaw.com
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                                                                                               Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 98 of 154




                                                              Plaintiffs' Counsel Table
                                                 In re: Equifax, Inc., Customer Data Security Breach Litigation
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Case Name             Case          Original Court         Local Counsel        Plaintiffs' Counsel & Contact Information                                               Email Addresses              Consumer,   Transfer
                    Number &                                                                                                                                                                         Financial    Status
                     Original                                                                                                                                                                         or Small
                      Court                                                                                                                                                                           Business

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                                                                                                  Sean N. Payne
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McDowell et al v.   1:17-cv-03502   Northern District of   Complex Law Group,                 David Michael Cohen                                                      dcohen@complexlaw.com          Consumer
 Equifax, Inc.                           Georgia                  LLC                       Complex Law Group, LLC
                                                                                            40 Powder Springs Street
                                                                                              Marietta, GA 30064
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                                                                  Plaintiffs' Counsel Table
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                      Number &                                                                                                                                                                           Financial    Status
                       Original                                                                                                                                                                           or Small
                        Court                                                                                                                                                                             Business

  McGonnigal &        1:17-cv-03422   Northern District of   BARNES LAW GROUP,                         Roy E. Barnes                                                         roy@barneslawgroup.com       Consumer     Yes
Spector v. Equifax,                    Georgia (Atlanta             LLC                                John R. Bevis                                                        bevis@barmeslawgroup.com
       Inc.                                Division)                                                J. Cameron Tribble                                                     ctribble@barneslawgroup.com
                                                                                                 BARNES LAW GROUP, LLC
                                                                                                     31 Atlanta Street                                                     jyanchunis@forthepeople.com
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                                                                                       MORGAN & MORGAN COMPLEX LITIGATION GROUP
                                                                                                201 N. Franklin Street, 7th Floor
                                                                                                       Tampa, FL 33602
                                                                                                        813-223-5505

 McHenry et al v.     1:17-cv-03582   Northern District of   Evangelista Worley, LLC                   David J. Worley                                                         jim@ewlawllc.com           Consumer
  Equifax, Inc.                            Georgia                                                  James M. Evangelista                                                       david@ewlawll.com
                                                                                                   Kristi Stahnke McGregor                                                     kristi@ewlawll.com
                                                                                                EVANGELISTA WORLEY, LLC
                                                                                                 8100 A Roswell Rd, Suite 100                                                ggraifman@kgglaw.com
                                                                                                      Atlanta, GA 30350
                                                                                                         404-205-8400

                                                                                                        Gary S. Graifman
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                                                                                             Kantrowitz, Goldhamer & Graifman, P.C.
                                                                                                       210 Summit Avenue
                                                                                                      Montvale, NJ 07645
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                                                                    Plaintiffs' Counsel Table
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                        Number &                                                                                                                                                                     Financial    Status
                         Original                                                                                                                                                                     or Small
                          Court                                                                                                                                                                       Business

   McHill et al. v.     3:17-cv-01405      District of Oregon                                     Justin M. Baxter                                                        justin@baxterlaw.com        Consumer
    Equifax Inc.                          (Portland Division)                                BAXTER & BAXTER LLP
                                                                                           8835 SW Canyon Lane, Suite 130                                              kellydonovanjones@gmail.com
                                                                                                 Portland, OR 97225

                                                                                                   Kelly D. Jones                                                      michael@underdoglawyer.com
                                                                                        KELLY D. JONES ATTORNEY AT LAW
                                                                                           819 SE Morrison Street, Suite 225
                                                                                                 Portland, OR 97214

                                                                                                   Michael R. Fuller
                                                                                                 OLSEN DAINES PC
                                                                                                  US Bancorp Tower
                                                                                            111 SW 5th Avenue, Suite 3150
                                                                                                 Portland, OR 97204
                                                                                                    503-201-4570
   McShan et al. v.     2:17-cv-06764     Central District of                                     Craig K Hemphill                                                      craig.ckhlegal@outlook.com    Consumer
       Equifax,,                         California (Western                                         CKH Legal
     Inc.,Equifax                       Division - Los Angeles)                             5090 Richmond Avenue No 316
Information Services,                                                                            Houston, TX 77056
  LLC, and Equifax                                                                                  713-240-6300                                                          amj.0169@yahoo.com
 Consumer Services,
  LLC a/k/a Equifax                                                                            Arnold Melvin Johnson
 Personal Solutions                                                                         Arnold M Johnson Law Offices
     a/k/a PSOL                                                                             1200 Wilshire Blvd., Suite 508
                                                                                            Los Angeles, CA 90017-1934
                                                                                                   213-250-9577
                                                                                                   James B. LeBow
                                                                                                Murphy & Associates
                                                                                             25511 Budde Road, No. 1901
                                                                                              The Woodlands, TX 77380
                                                                                                    (917)566-2211
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                                                                Plaintiffs' Counsel Table
                                                   In re: Equifax, Inc., Customer Data Security Breach Litigation
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                                                                            MDL No. 2800
Case Name               Case          Original Court        Local Counsel          Plaintiffs' Counsel & Contact Information                                             Email Addresses               Consumer,    Transfer
                      Number &                                                                                                                                                                         Financial     Status
                       Original                                                                                                                                                                         or Small
                        Court                                                                                                                                                                           Business

 Mead et al. v.       3:17-cv-00208    District of Alaska   Lee Holen Law Office                   Edward Chapin                                                       echapin2@sanfordheisler.com      Consumer   Yes by CTO - 1
Equifax Inc. et al.                                                                             Danielle Ann Fuschetti                                                 dfuschetti@sanfordheisler.com
                                                                                             Sandford Heisler Sharp, LLP                                                ksharp@sanfordheisler.com
                                                                                            655 West Broadway, Suite 1700
                                                                                                San Diego, CA 92101
                                                                                                   619-577-4253
                                                                                                                                                                              lhlo@alaska.net
                                                                                                   Kevin H. Sharp
                                                                                              Sanford Heisler Sharp, LLP
                                                                                             611 Commerce St., Suite 3100
                                                                                                 Nashville, TN 37203
                                                                                                    615-434-7001

                                                                                                   Mary L. Holen
                                                                                                Lee Holen Law Office
                                                                                                   PO Box 92330
                                                                                                Anchorage, AK 99509
                                                                                                   907-278-0298
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                                                                    Plaintiffs' Counsel Table
                                                      In re: Equifax, Inc., Customer Data Security Breach Litigation
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                      Number &                                                                                                                                                                       Financial     Status
                       Original                                                                                                                                                                       or Small
                        Court                                                                                                                                                                         Business

  Meade et al. v.     2:17-cv-00892   Southern District of Ohio                                   Brian M Garvine                                                         brian@garvinelaw.com        Consumer   Yes by CTO - 1
  Equifax, Inc.                                                                            Law Office of Brian Garvine LLC
                                                                                             5 E Long Street, Suite 1100                                                    jheck@lawlh.com
                                                                                                Columbus, OH 43215
                                                                                                    614-223-0290                                                        michelle@mlanhamlaw.com

                                                                                                  Jeremiah E Heck                                                          mlewis@klhlaw.com
                                                                                            Luftman & Heck and Associates
                                                                                                 580 East Rich Street                                                  Lainie@wagonerlawoffice.com
                                                                                                Columbus, OH 43215
                                                                                                    614-224-1500

                                                                                               Michelle Elizabeth Lanham
                                                                                        Michelle E. Lanham Attorney at Law LLC
                                                                                           445 Hutchinson Avenue, Suite 100
                                                                                                 Columbus, OH 43235
                                                                                                     614-300-5896

                                                                                                      Mark D Lewis
                                                                                            Kitrick, Lewis & Harris Co LPA
                                                                                            445 Hutchinson Ave. Suite 100
                                                                                                 Columbus, OH 43235
                                                                                                      614-224-7711

                                                                                                  Robert J Wagoner
                                                                                             Robert J. Wagoner Co., L.L.C.
                                                                                            445 Hutchinson Ave. , Suite 100
                                                                                                Columbus, OH 42335
                                                                                                     614-796-4110
Melrath v. Equifax,   1:17-cv-01324     District of Delaware                                      Jesse N. Silverman                                                   jsilverman@dilworthlaw.com     Consumer   Yes by CTO - 1
    Inc. et al.                                                                                     Jerry Desiderato
                                                                                                  Joshua D. Wolson
                                                                                                 Dilworth Paxson LLP
                                                                                             One Customs House-Suite 500
                                                                                            704 King Street, P.O. Box 1031
                                                                                                Wilmington, DE 19801
                                                                                                    (215) 575-7000
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                                                                    Plaintiffs' Counsel Table
                                                      In re: Equifax, Inc., Customer Data Security Breach Litigation
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                        Number &                                                                                                                                                                            Financial     Status
                         Original                                                                                                                                                                            or Small
                          Court                                                                                                                                                                              Business

Menzer v. Equifax,      1:17-cv-03459   Northern District of   Evangelista Worley, LLC                  James M. Evangelista                                                       jme@ewlawllc.com          Consumer        Yes
      Inc.                               Georgia (Atlanta                                                 David J. Worley                                                          david@ewlawll.com
                                             Division)                                                Kristi Stahnke McGregor                                                      kristi@ewlawll.com
                                                                                                   EVANGELISTA WORLEY, LLC
                                                                                                   8100 A Roswell Road, Suite 100                                                wbf@federmanlaw.com
                                                                                                         Atlanta, GA 30350                                                       clm@federmanlaw.com
                                                                                                            404-205-8400                                                         jdw@federmanlaw.com

                                                                                                         William Federman
                                                                                                         Carin L. Marcussen
                                                                                                          Joshua D. Wells
                                                                                                    FEDERMAN & SHERWOOD
                                                                                                    10205 N. Pennsylvania Avenue
                                                                                                        Oklahoma, OK 73120
                                                                                                           405-235-1560
Messer, Jr. et al. v.   2:17-cv-02694    Western District of                                          Paul Berry Cooper, III                                                     bcooper@mbbslaw.com         Consumer   Yes by CTO - 1
  Equifax, Inc.                             Tennessee                                         MCNABB BRAGORGOS & BURGESS, PLLC
                                                                                                   81 Monroe Ave., Sixth Floor
                                                                                                    Memphis, TN 38103-5402
                                                                                                         901-624-0640

  Meyers et al. v.      1:17-cv-06652   Northern District of                                             Thomas A. Demetrio                                                     tad@corboydemetrio.com       Consumer   Yes by CTO - 1
Equifax Information                           Illinois                                                  Kenneth Thomas Lumb                                                     ktl@corboydemetrio.com
   Services LLC                                                                                          Corboy & Demetrio
                                                                                                     33 N. Dearborn Street, #2100
                                                                                                          Chicago, IL 60602
                                                                                                           (312) 346-3191

  Miller et al. v.      4:17-cv-00569   Northern District of   Carr & Carr Attorneys at                   Patrick Eugene Carr                                                      pcarr@carrcarr.com        Consumer   Yes by CTO - 1
 Equifax Inc et al.                         Oklahoma                    Law                                 A Laurie Koller                                                       lkoller@carrcarr.com
                                                                                                  Carr & Carr Attorneys at Law (Tulsa)
                                                                                                         4416 S. Harvard Ave.                                                   ksharp@sanfordheisler.com
                                                                                                           Tulsa, OK 74135
                                                                                                             918-747-1000

                                                                                                           Kevin H. Sharp
                                                                                                      Sanford Heisler Sharp, LLP
                                                                                                     611 Commerce St., Suite 3100
                                                                                                         Nashville, TN 37203
                                                                                                            615-434-7001
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                                                                   Plaintiffs' Counsel Table
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  Case Name              Case          Original Court           Local Counsel          Plaintiffs' Counsel & Contact Information                                            Email Addresses           Consumer,    Transfer
                       Number &                                                                                                                                                                       Financial     Status
                        Original                                                                                                                                                                       or Small
                         Court                                                                                                                                                                         Business

   Miller et al. v.    2:17-cv-01872     Eastern District of                                            Richard Morin                                                         rick@rickmorin.net       Consumer        Yes
   Equifax, Inc.                       California (Sacremento                                  LAW OFFICE OF RICK MORIN, PC
                                              Division)                                           555 Capitol Mall, Suite 750
                                                                                                    Sacramento, CA 95814
                                                                                                        916-333-2222

  Minka et al. v.      2:17-cv-04205     Eastern District of                                           Charles J. Kocher                                                     ckocher@smbb.com          Consumer   Yes by CTO - 1
Equifax Information                        Pennsylvania                                  SALTZ MONGELUZZI BARRETT & BENDESKY PC
   Services, Inc.                                                                                 One Liberty Place, 52nd Floor
                                                                                                        1650 Markey St.
                                                                                                    Philadelphia, PA 19103
                                                                                                         215-575-3985

Mirarchi v. Equifax,   1:17-cv-04600    Northern District of    Faruqi & Faruqi, LLP                   Jeffrey L. Kodroff                                                   rkillorin@faruqilaw.com    Consumer
       Inc.                                  Georgia                                              Spector Roseman & Kodroff
                                                                                                      1818 Market Street
                                                                                                           Suite 2500
                                                                                                    Philadelphia, PA 19103
                                                                                                         215-496-0300

                                                                                                      Robert W. Killorin
                                                                                                   Faruqi & Faruqi, LLP -Atl
                                                                                                  3975 Roswell Road, Suite A
                                                                                                      Atlanta, GA 30342
                                                                                                        404-275-7557
 Mobbs v. Equifax      5:17-cv-05815    Northern District of                                             Jack Atnip, III                                                     jatnip@hjlawfirm.com      Consumer   Yes by CTO - 1
    Inc. et al                              California                                            Hellmuth and Johnson PLLC
                                                                                                     8050 West 78th Street
                                                                                                       Edina, MN 55439
                                                                                                        (952) 941-4005
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                                                                  Plaintiffs' Counsel Table
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                      Number &                                                                                                                                                                             Financial    Status
                       Original                                                                                                                                                                             or Small
                        Court                                                                                                                                                                               Business

Mohamedali et al v.   1:17-cv-03501   Northern District of   Webb, Klase & Lemond,                       E. Adam Webb                                                             adam@webbllc.com          Consumer
  Equifax Inc.                             Georgia                   LLC                             G. Franklin Lemond, Jr.                                                    flemond@webbllc.com
                                                                                                WEBB, KLASE & LEMOND, LLC
                                                                                                1900 The Exchange, SE, Suite 480
                                                                                                       Atlanta, GA 30339
                                                                                                         770-444-9325

                                                                                                          Bryan L. Clobes                                                    bclobes@caffertyclobes.com
                                                                                                         Daniel O. Herrera                                                   dherrera@caffertyclobes.com
                                                                                            Cafferty Clobes Meriwether & Sprengel LLP
                                                                                                  1101 Market Street, Suite 2650
                                                                                                      Philadelphia, PA 19107
                                                                                                           215-864-2800


Morris v. Equifax,    1:17-cv-02178   District of Colorado                                             Kevin S. Hannon                                                         khannon@hannonlaw.com        Consumer     Yes
       Inc.                            (Denver Division)                                        THE HANNON LAW FIRM, LLC
                                                                                                     1641 Downing Street                                                      rcaldwell@sawayalaw.com
                                                                                                      Denver, CO 80218
                                                                                                        303-861-8800

                                                                                                   Robert E. Caldwell, Jr.
                                                                                          SAWAYA, ROSE, MCCLURE & WILHITE, P.C.
                                                                                                  1600 North Ogden Street
                                                                                                    Denver, CO 80218
                                                                                                       303-839-1650
  Murphy et al v.     1:17-cv-03613   Northern District of   Elarbee, Thompson, Sapp                  Joseph Shane Hudson                                                    jhudson@hudsonkinglaw.com      Consumer
   Equifax, Inc.                           Georgia                   & Wilson                         Hudson & King, LLC
                                                                                                         P.O. Box 2520
                                                                                                 615 N. Virginia Avenue, Suite A
                                                                                                        Tifton, GA 31793                                                     connell@elarbeethompson.com
                                                                                                          229-396-5845                                                       swilson@elarbeethompson.com

                                                                                                       Justin Beecher Connell
                                                                                                         Stanford G. Wilson
                                                                                              Elarbee, Thompson, Sapp & Wilson, LLP
                                                                                                     229 Peachtree Street, N.E.
                                                                                                       800 International Tower
                                                                                                      Atlanta, GA 30303-1614
                                                                                                            404-659-6700
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                      Number &                                                                                                                                                                        Financial    Status
                       Original                                                                                                                                                                        or Small
                        Court                                                                                                                                                                          Business

  Murphy et al. v.    5:17-cv-05262    Northern District of                                  Jodi Westbrook Flowers                                                     jflowers@motleyrice.com        Consumer    not yet
   Equifax, Inc.                       California (Oakland                                  Breanne Vandemeer Cope                                                       bcope@motleyrice.com
                                            Division)                                           MOTLEY RICE
                                                                                            28 Bridgeside Boulevard                                                  claufenberg@kellerrohrback.com
                                                                                             Mt. Pleasant, SC 29464                                                    gcappio@kellerrohrback.com
                                                                                                  843-216-9000                                                        mpreusch@kellerrohrback.com
                                                                                                                                                                       dloeser@kellerrohrback.com
                                                                                             Cari Campen Laufenberg
                                                                                            Gretchen Freeman Cappio
                                                                                                 Derek W. Loeser
                                                                                                Matthew J. Preusch
                                                                                               Keller Rohrback, LLP
                                                                                          1201 Third Avenue, Suite 3200
                                                                                             Seattle, WA 98101-3052
                                                                                                  206-623-1900
Myers, Sr. & O'Neal   2:17-cv-01878     Eastern District of                                     Joshua H. Watson                                                        jwatson@justice4you.com        Consumer     Yes
    v. Equifax                        California (Sacremento                                     Gina M. Bowden                                                        gbowden@justice4you.com
                                             Division)                                     CLAYEO C. ARNOLD, APC
                                                                                                865 Howe Avenue                                                      jyanchunis@forthepeople.com
                                                                                              Sacramento, CA 95825                                                   mvalladares@forthepeople.com
                                                                                                  916-924-3100

                                                                                               John A. Yanchunis
                                                                                              Marcio W. Valladares
                                                                                    Morgan & Morgan Complex Litigation Group
                                                                                         201 N. Franklin Street, 7th Floor
                                                                                                Tampa, FL 33602
                                                                                                 813-223-5505
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                                                                  Plaintiffs' Counsel Table
                                                     In re: Equifax, Inc., Customer Data Security Breach Litigation
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                        Number &                                                                                                                                                                        Financial          Status
                         Original                                                                                                                                                                        or Small
                          Court                                                                                                                                                                          Business

 Napier v. Equifax      1:17-cv-00372    District of Maine     Perkins Thompson                     John A. Hobson                                                        jhobson@perkinsthompson.com     Consumer       Yes by CTO - 1
    Inc. et al                                                                                   PERKINS THOMPSON
                                                                                                    One Canal Plaza
                                                                                                     P.O. BOX 426                                                          ksharp@sanfordheisler.com
                                                                                                 PORTLAND, ME 04112
                                                                                                     207-774-2635

                                                                                                     Kevin H. Sharp
                                                                                                Sanford Heisler Sharp, LLP                                                 amelzer@sanfordheisler.com
                                                                                                    611 Commerce St.
                                                                                                        Suite 3100
                                                                                                   Nashville, TX 37203
                                                                                                      615-434-7001

                                                                                                     Andrew Melzer
                                                                                                Sanford Heisler Sharp, LLP
                                                                                          1350 Avenue of the Americas, Suite 3100
                                                                                                  New York, NY 10019
                                                                                                      646-402-5650
 Neilan v. Equifax      1:17-cv-06508   Northern District of                                           Ben Barnow                                                           b.barnow@barnowlaw.com        Consumer
       Inc.                              Illinois (Chicago                                   BARNOW & ASSOCIATES, P.C.
                                              Division)                                     One North LaSalle Street, Suite 4600
                                                                                                    Chicago, IL 60602
                                                                                                      312-621-2000

 O'Dell Properties,     1:17-cv-03618   Northern District of   The Doss Firm, LLC                     Jason R. Doss                                                         jasondoss@dossfirm.com      Small Business
LLC et al v. Equifax,                        Georgia                                                Samuel T. Brannan                                                       stbrannan@dossfirm.com
        Inc.                                                                                       The Doss Firm, LLC
                                                                                               36 Trammell Street, Suite 101
                                                                                                   Marietta, GA 30066
                                                                                                      770-578-1314
                                                                                                     Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 108 of 154




                                                                  Plaintiffs' Counsel Table
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                      Number &                                                                                                                                                                                Financial     Status
                       Original                                                                                                                                                                                or Small
                        Court                                                                                                                                                                                  Business

Ogburn v. Equifax,    3:17-cv-00644    Eastern District of                                          Grant Edward Morris, Jr.                                                grantemorris@sanfordheisler.com    Consumer   Yes by CTO - 1
    Inc. et al                              Virginia                                               Sanford Heisler Sharp, LLP
                                                                                               1666 Connecticut Ave NW, Suite 300
                                                                                                     Washington, DC 20009
                                                                                                         202-499-5200                                                         amelzer@sanfordheisler.com

                                                                                                       Andrew Melzer
                                                                                               SANFORD HEISLER SHARP, LLP                                                     ksharp@sanfordheisler.com
                                                                                                  1350 6th Avenue, Floor 31
                                                                                                    New York, NY 10019
                                                                                                       646-402-5650

                                                                                                          Kevin Sharp
                                                                                                   Sanford Heisler Sharp, LLP
                                                                                                  611 Commerce St. Suite 3100
                                                                                                      Nashville, TN 37203
                                                                                                         615-434-7001
O'Neill v. Equifax,   1:17-cv-03523   Northern District of   Law Offices of David A.                    David A. Bain                                                            dbain@bain-law.com            Consumer
    Inc. et al                             Georgia                Bain, LLC                  LAW OFFICES OF DAVID A. BAIN, LLC
                                                                                                    1230 Peachtree St, NW
                                                                                                      Atlanta, GA 30309
                                                                                                        404-724-9990

                                                                                                        Aaron M. Olsen
                                                                                                       Alreen Haeggquist
                                                                                                   Haeggquist & Eck, LLP -CA
                                                                                                    225 Broadway, Suite 2050
                                                                                                      San Diego, CA 92101
                                                                                                         619-342-8000

                                                                                                       Eric A. LaGuardia
                                                                                                         Laguardia Law
                                                                                                   402 W. Broadway, Suite 800
                                                                                                      San Diego, CA 92101
                                                                                                         619-355-4432
                                                                                                Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 109 of 154




                                                                   Plaintiffs' Counsel Table
                                                      In re: Equifax, Inc., Customer Data Security Breach Litigation
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                        Number &                                                                                                                                                                      Financial     Status
                         Original                                                                                                                                                                      or Small
                          Court                                                                                                                                                                        Business

 O'Neill v. Equifax,    1:17-cv-07284   District of New Jersey                                    David H. Tracey                                                       dtracey@sanfordheisler.com     Consumer   Yes by CTO - 1
     Inc. et al.                                                                          SANFORD HEISLER SHARP, LLP
                                                                                        1350 Avenue of the Americas, 31st Floor
                                                                                                New York, NY 10019
                                                                                                   646-402-5650

                                                                                                     Kevin Sharp                                                         ksharp@sanfordheisler.com
                                                                                                   Andrew Melzer                                                        amelzer@sanfordheisler.com
                                                                                                    Jeremy Heisler                                                      jheisler@sanfordheisler.com
                                                                                              Sanford Heisler Sharp, LLP
                                                                                             611 Commerce St. Suite 3100
                                                                                                 Nashville, TN 37203
                                                                                                    615-434-7001
Ostoya and Samuel       2:17-cv-01550    Northern District of                                 Francois M. Blaudeau                                                     francois@southernmedlaw.com     Consumer        Yes
  Stephenson v.                          Alabama (Southern                                     Evan T. Rosemore                                                          evan@southernmedlaw.com
   Equifax, Inc.                             Division)                                            Odeh J. Issis                                                          odeh@southernmedlaw.com
                                                                                        HENINGER GARRISON DAVIS, LLC
                                                                                             2224 1st Avenue North
                                                                                             Birmingham, AL 35203
                                                                                                 205-548-5525

  Pacelli v. Equifax    2:17-cv-04246    Eastern District of                                     Brent F. Vullings                                                      bvullings@vullingslaw.com      Consumer   Yes by CTO - 1
Information Services,                      Pennsylvania                                     VULLINGS LAW GROUP LLC
        LLC                                                                                  3953 Ridge Pike, Suite 102
                                                                                               Collegeville, PA 19426
                                                                                                   610-489-6060
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                                                      In re: Equifax, Inc., Customer Data Security Breach Litigation
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                        Number &                                                                                                                                                                              Financial      Status
                         Original                                                                                                                                                                              or Small
                          Court                                                                                                                                                                                Business

Pagliaruo v. Equifax,   1:17-cv-03460   Northern District of   Evangelista Worley, LLC                 James M. Evangelista                                                        jme@ewlawllc.com            Consumer          Yes
        Inc.                             Georgia (Atlanta                                                David J. Worley                                                           david@ewlawll.com
                                             Division)                                               Kristi Stahnke McGregor                                                       kristi@ewlawll.com
                                                                                                  EVANGELISTA WORLEY, LLC
                                                                                                  8100 A Roswell Road, Suite 100                                                 wbf@federmanlaw.com
                                                                                                        Atlanta, GA 30350                                                        clm@federmanlaw.com
                                                                                                           404-205-8400                                                          jdw@federmanlaw.com

                                                                                                        William Federman
                                                                                                        Carin L. Marcussen
                                                                                                         Joshua D. Wells
                                                                                                   FEDERMAN & SHERWOOD
                                                                                                   10205 N. Pennsylvania Avenue
                                                                                                       Oklahoma, OK 73120
                                                                                                          405-235-1560

   Pandelakis v.        2:17-cv-03054    District of Arizona                                            David J. McGlothlin                                                   david@westcoastlitigation.com    Consumer        Case was
Equifax Information                      (Phoenix Division)                                            HYDE & SWIGART                                                                                                      consolidated by
  Services, LLC                                                                                    2633 E. Indian School Rd., 460                                                                                              mistake;
                                                                                                        Phoenix, AZ 85016                                                                                                  addressed with
                                                                                                                                                                                                                           MDL panel and
                                                                                                          Ryan L. McBride                                                           ryan@kazlg.com                          case was sent
                                                                                                        Kazerouni Law Group                                                                                                  back to AZ;
                                                                                                  2633 Indian School Rd., Suite 460                                                                                       settled; dismissal
                                                                                                         Phoenix, AZ 85016                                                                                                with prejudice to
                                                                                                                                                                                                                              be filed by
                                                                                                                                                                                                                          Plaintiff's counsel
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                        Number &                                                                                                                                                                       Financial     Status
                         Original                                                                                                                                                                       or Small
                          Court                                                                                                                                                                         Business

 Pantaze v. Equifax     2:17-cv-01530     Northern District of                                     Jason L. Yearout                                                         jyearout@yearout.net        Consumer        Yes
Information Services                      Alabama (Southern                                   YEAROUT & TRAYLOR, PC
       LLC                                    Division)                                       3300 Cahaba Road, Suite 300
                                                                                                Birmingham, AL 35223
                                                                                                    205-414-8160                                                           stan@wattsherring.com

                                                                                                   M. Stan Herring
                                                                                               WATTS & HERRING, LLC                                                        robert@stonepatton.com
                                                                                                 301 19th Street North
                                                                                                Birmingham, AL 35203
                                                                                                    205-714-4443

                                                                                                    Robert S. Dooley
                                                                                          STONE, PATTON, KIERCE & FREEMAN
                                                                                                  118 North 18th Street
                                                                                                Bessemer, Alabama 35020
                                                                                                     205-424-1150
 Parkhill . Equifax     4:17-cv-02931 Southern District of Texas                                 Craig Carley Marchiando                                                  ccm@caddellchapman.com        Consumer   Yes by CTO - 1
     Inc. et al                                                                               Consumer Litigation Associates
                                                                                            763 J Clyde Morris Blvd., Suite 1-A
                                                                                             Newport News, VA 23601-1533
                                                                                                      757-930-3660

  Partridge et al v.    2:17-cv-01017   District of Utah (Central                                Steven A. Christensen                                                   stevenchristensen@gmail.com    Consumer
Equifax Incorporated                            Division)                              CHRISTENSEN YOUNG & ASSOCIATES PLLC
     and Equifax                                                                                 9980 S. 300 W #200
Information Services,                                                                              Sandy, UT 84070
        LLC                                                                                          801-676-6447
                                                                                                        Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 112 of 154




                                                                      Plaintiffs' Counsel Table
                                                       In re: Equifax, Inc., Customer Data Security Breach Litigation
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  Case Name               Case          Original Court            Local Counsel          Plaintiffs' Counsel & Contact Information                                                Email Addresses               Consumer,    Transfer
                        Number &                                                                                                                                                                                Financial     Status
                         Original                                                                                                                                                                                or Small
                          Court                                                                                                                                                                                  Business

Partridge v. Equifax,   1:17-cv-00423    Southern District of                                             Steven A. Martino                                                    stevemartino@taylormartino.com    Consumer   Yes by CTO - 1
        Inc.                                  Alabama                                                    W. Lloyd Copeland                                                         lloyd@taylormartino.com
                                                                                                       William Bradford Kittrell                                                  bkittrell@taylormartino.com
                                                                                                        Taylor Martino P.C.
                                                                                                             P.O. Box 894
                                                                                                          Mobile, AL 36601
                                                                                                            (251) 433-3131                                                          richard@lawrrr.com

                                                                                                         Richard R. Rosenthal
                                                                                                Law Offices of Richard R. Rosenthal, PC
                                                                                                            200 Title Bldg.
                                                                                                  300 N. Richard Arrington Jr. Blvd.
                                                                                                       Birmingham, AL 35203
                                                                                                            205-533-9909

                                                                                                        Kenneth Albert Metzger
                                                                                                           Attorney at Law
                                                                                                         51 St. Joseph Street
                                                                                                          Mobile, AL 36602

Paul v. Equifax, Inc.   2:17-cv-06588   Eastern District of New                                        Edward B. Geller                                                                epbh@aol.com              Consumer   Yes by CTO - 1
                                                 York                                             EDWARD B. GELLER, ESQ., P.C.
                                                                                                       15 Landing Way
                                                                                                       Bronx, NY 10464
                                                                                                        914-473-6783

Pavesi, Jr. & Turok     1:17-cv-03476    Northern District of     Harris Lowry Manton,                      Page A. Pate                                                            page@pagepate.com            Consumer        Yes
  v. Equifax, Inc.                        Georgia (Atlanta                 LLP                            Jess B. Johnson                                                           jess@pagepate.com
                                              Division)                                               PATE & JOHNSON, LLC
                                                                                                    101 Marietta St NW Suite 3300
                                                                                                         Atlanta, GA 30303
                                                                                                           404-223-3310                                                            steve@hlmlawfirm.com
                                                                                                                                                                                    jeff@hlmlawfirm.com
                                                                                                         Stephen G. Lowry                                                           jed@hlmlawfirm.com
                                                                                                          Jeffrey R. Harris                                                        molly@hlmlawfirm.com
                                                                                                           Jed D. Manton
                                                                                                      Madeline E. McNeeley
                                                                                                  HARRIS LOWRY MANTON LLP
                                                                                                    1201 Peachtree St. NE # 900
                                                                                                        Atlanta, GA 30361
                                                                                                           404-961-7650
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                                                                   Plaintiffs' Counsel Table
                                                    In re: Equifax, Inc., Customer Data Security Breach Litigation
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                       Number &                                                                                                                                                                                 Financial     Status
                        Original                                                                                                                                                                                 or Small
                         Court                                                                                                                                                                                   Business

  Pavitt et al. v.     2:17-cv-01363   Western District of                                           Catherine Jura Fleming                                                        catherine@stritmatter.com     Consumer
   Equifax Inc.                        Washington (Seattle                              STRITMATTER KESSLER WHELAN KOEHLER MOORE
                                           Division)                                                    KAHLER (SEA)
                                                                                                   3600 15th Ave W, Suite 300
                                                                                                       Seattle, WA 98119
                                                                                                         206-826-8232

 Pellitteri et al v.   1:17-cv-03881   Northern District of   Law Offices of David A.                    David Andrew Bain                                                           dbain@bain-law.com          Consumer
  Equifax, Inc.                             Georgia                Bain, LLC                       Law Offices of David A. Bain, LLC
                                                                                                          1050 Promenade II
                                                                                                      1230 Peachtree Street, NE                                                  g.blanchfield@rwblawfirm.com
                                                                                                          Atlanta, GA 30309
                                                                                                             404-724-9990

                                                                                                       Garrett D. Blanchfield , Jr.
                                                                                                            Brent D. Penney
                                                                                                             Mark Reinhardt
                                                                                                    Reinhardt Wendorf & Blanchfield
                                                                                                         332 Minnesota Street
                                                                                                   E-1250 First National Bank Building
                                                                                                          St. Paul, MN 55101
                                                                                                             651-287-2100

 Perkins et al. v.     1:17-cv-03479   Northern District of     Daniel DeWoskin                            Jeremiah Frei-Pearson                                                  jfrei-pearson@fbfglaw.com      Consumer
    Equifax                                 Georgia            DeWoskin Law Firm,                           D. Greg Blankinship                                                   gblankinship@gbfglaw.com
                                                                      LLC                                     Chantal L. Khalil                                                       ckhalil@fbfglaw.com
                                                                                           Finkelstein, Blankinship, Frei-Pearson & Garber, LLP                                       dan@atlantatrial.com
                                                                                                      445 Hamilton Avenue, Suite 605
                                                                                                          White Plains, NY 10601
                                                                                                               844-431-0695

                                                                                                          Daniel Eliot DeWoskin
                                                                                                           DeWoskin Law Firm
                                                                                                          535 N McDonough St
                                                                                                           Decatur, GA 30030
Perkins v. Equifax     3:17-cv-00727   Northern District of                                           Joseph A. Zarzaur, Jr.                                                         joe@zarzaurlaw.com          Consumer   Yes by CTO - 1
       Inc.                                 Florida                                             ZARZAUR LAW PA - PENSACOLA FL
                                                                                                        11 E.. Romana St.
                                                                                                     P.O. Box 12305 [32591]
                                                                                                       Pensacola, FL 32502
                                                                                                          850-444-9299
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                                                     In re: Equifax, Inc., Customer Data Security Breach Litigation
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                       Number &                                                                                                                                                                                 Financial     Status
                        Original                                                                                                                                                                                 or Small
                         Court                                                                                                                                                                                   Business

                                                                                                         Richard R. Rosenthal                                                     rosenthallaw@bellsouth.net
                                                                                                Law Offices of Richard R. Rosenthal, PC                                           bkittrell@taylormartino.com
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                                                                                                       Birmingham, AL 35203
                                                                                                            205-533-9909
                                                                                                          W. Lloyd Copeland
                                                                                                         W. Bradford Kittrell
                                                                                                             P.O. Box 894
                                                                                                          Mobile, AL 36601
                                                                                                            251-433-3131
                                                                                                            251-405-5080
  Peters et al. v.     8:17-cv-01634    Central District of                                                Amir J. Goldstein                                                    ajg@consumercounselgroup.com     Consumer   Yes by CTO - 1
Equifax Information                        California                                                Amir J. Goldstein Law Offices
Services, LLC et al.                                                                               8032 West Third Street, Suite 201
                                                                                                       Los Angeles, CA 90048
                                                                                                             323-937-0400

  Pierre et al. v.     2:17-cv-10520    Eastern District of    Williamson, Fontenot,                    Robert Leonard Campbell                                                  robb@lawyerbatonrouge.com       Consumer   Yes by CTO - 1
 Equifax, Inc. et al                        Louisiana         Campbell & Whittington,      Williamson, Fontenot, Campbell & Whittington, LLC
                                                                       LLC                                  955 McClung St
                                                                                                             P.O. Box 3035
                                                                                                        Baton Rouge, LA 70821
                                                                                                             225-383-4010                                                         ksharp@sanfordheisler.com

                                                                                                         Kevin Hunter Sharp
                                                                                                      Sanford Heisler Sharp, LLP
                                                                                                          611 Commerce St.
                                                                                                              Suite 3100
                                                                                                         Nashville, TX 37203
                                                                                                            615-434-7001
Pino v. Equifax Inc.   1:17-cv-05140   Northern District of                                               Kevin H. Sharp                                                          ksharp@sanfordheisler.com      Consumer
        et al                               Georgia                                                  Sanford Heisler Sharp, LLP
                                                                                                   611 Commerce Street, Suite 3100
                                                                                                        Nashville, TN 37203
                                                                                                           615-343-7001
                                                                                                Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 115 of 154




                                                               Plaintiffs' Counsel Table
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                     Number &                                                                                                                                                                     Financial     Status
                      Original                                                                                                                                                                     or Small
                       Court                                                                                                                                                                       Business

Pleasant et al v.    1:17-cv-03507   Northern District of   Office of George E.                George Edwin Butler , II                                                    geb@lawyers.com         Consumer
 Equifax, Inc.                            Georgia                Butler, II                  Office of George E. Butler, II
                                                                                                  132 Hawkins Street
                                                                                                Dahlonega, GA 30533
                                                                                                    404-873-2544                                                         jrr@rhineslawfirm.com

                                                                                                    Joel R. Rhine
                                                                                          Law Office of Rhine Law Firm, P.C.
                                                                                                      Suite 300
                                                                                              1612 Military Cutoff Road
                                                                                               Wilmington, NC 28403
                                                                                                    910-772-9960
Podalsky et al. v.   1:17-cv-23465   Southern District of                                    Rebecca Newman Casamayor                                                  rcasamayor@dhaberlaw.com    Consumer   Yes by CTO - 1
 Equifax, Inc.                            Florida                                                 Haber Slade, P.A.
                                                                                           201 S. Biscayne Blvd. Suite 1205
                                                                                                   Miami, FL 33131
                                                                                                    305-379-2400                                                           samilow@aol.com

                                                                                              Steven Frederick Samilow
                                                                                                  7777 Glades Road
                                                                                                      Suite 100                                                          rslade@dhaberlaw.com
                                                                                               Boca Raton, FL 33434
                                                                                                    561-245-4633

                                                                                                    Roger Slade
                                                                                                 Haber Slade, P.A.
                                                                                              201 South Biscayne Blvd.
                                                                                                    Suite 1205
                                                                                                  Miami, FL 33131
                                                                                               305-379-2400 ext 105
                                                                                                            Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 116 of 154




                                                                         Plaintiffs' Counsel Table
                                                       In re: Equifax, Inc., Customer Data Security Breach Litigation
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 Case Name               Case           Original Court               Local Counsel            Plaintiffs' Counsel & Contact Information                                            Email Addresses            Consumer,    Transfer
                       Number &                                                                                                                                                                               Financial     Status
                        Original                                                                                                                                                                               or Small
                         Court                                                                                                                                                                                 Business

  Powers et al v.      6:17-cv-02510   District of South Carolina                                            James L Ward, Jr                                                      jward@mcgowanhood.com       Consumer   Yes by CTO - 1
   Equifax Inc.                                                                                        McGowan Hood and Felder LLC
                                                                                                         321 Wingo Way, Suite 103
                                                                                                           Mt Pleasant, SC 29464
                                                                                                               843-388-7202
                                                                                                                                                                                   steppler@abbottlawpa.com
                                                                                                           Steven W. Teppler, Esq.
                                                                                                           Abbott Law Group, P.A.
                                                                                                           2929 Plummer Cove Rd.
                                                                                                           Jacksonville, FL 32223
                                                                                                               904-292-1111


  Prejean et al. v.    1:17-cv-00468      District of Hawaii                                                  Brandee J. Faria                                                                                 Consumer   Yes by CTO - 1
   Equifax, Inc.                                                                                               John F. Perkin                                                       bjkfaria@perkinlaw.com
                                                                                                               James J. Wade                                                         perkin@perkinlaw.com
                                                                                                               Perkin & Faria                                                        jwade@perkinlaw.com
                                                                                                        841 Bishop Street, Suite 1000
                                                                                                            Honolulu, HI 96813
                                                                                                               808-523-2300

Pugliese v. Equifax,   1:17-cv-03461      Northern District of      Evangelista Worley, LLC                 James M. Evangelista                                                     jme@ewlawllc.com          Consumer        Yes
        Inc.                               Georgia (Atlanta                                                   David J. Worley                                                        david@ewlawll.com
                                               Division)                                                  Kristi Stahnke McGregor                                                    kristi@ewlawll.com
                                                                                                       EVANGELISTA WORLEY, LLC
                                                                                                       8100 A Roswell Road, Suite 100                                               wbf@federmanlaw.com
                                                                                                             Atlanta, GA 30350                                                      clm@federmanlaw.com
                                                                                                                404-205-8400                                                        jdw@federmanlaw.com

                                                                                                             William Federman
                                                                                                             Carin L. Marcussen
                                                                                                              Joshua D. Wells
                                                                                                        FEDERMAN & SHERWOOD
                                                                                                        10205 N. Pennsylvania Avenue
                                                                                                            Oklahoma, OK 73120
                                                                                                               405-235-1560
                                                                                                   Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 117 of 154




                                                                      Plaintiffs' Counsel Table
                                                         In re: Equifax, Inc., Customer Data Security Breach Litigation
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  Case Name                Case           Original Court            Local Counsel   Plaintiffs' Counsel & Contact Information                                                  Email Addresses                Consumer,    Transfer
                         Number &                                                                                                                                                                             Financial     Status
                          Original                                                                                                                                                                             or Small
                           Court                                                                                                                                                                               Business

Quagliani v. Equifax,    3:17-cv-01668    District of Connecticut                                      Steven J. Moore                                                    steven.moore@withersworldwide.com    Consumer   Yes by CTO - 1
     Inc. et al.                                                                                      James E. Nealon                                                     james.nealon@withersworldwide.com
                                                                                                   Withers Bergman, LLP
                                                                                             1700 East Putnam Avenue, Suite 400
                                                                                                   Greenwich, CT 06870
                                                                                                        203-302-4069

  Raffin v. Equifax,     2:17-cv-06620     Central District of                                    Todd M. Friedman                                                             tfriedman@toddflaw.com          Consumer        Yes
         Inc.                             California (Western                                      Adrian R. Bacon                                                               abacon@toddflaw.com
                                         Division - Los Angeles)                         LAW OFFICES OF TODD M. FRIEDMAN
                                                                                             21550 Oxnard Street, Suite 780
                                                                                               Woodland Hills, CA 91367
                                                                                                    424-285-6006

 Rajput v. Equifax,      5:17-cv-01606     Northern District of                                       Eric J Artrip                                                           artrip@mastandoartrip.com        Consumer   Yes by CTO - 1
        Inc.                                    Alabama                                           Dennis A. Mastando                                                          tony@mastandoartrip.com
                                                                                               MASTANDO & ARTRIP LLC
                                                                                                 301 Washington Street
                                                                                                       Suite 302
                                                                                                  Huntsville, AL 35801
                                                                                                     256-532-2222

                                                                                                       Richard P. Rouco                                                          rrouco@qcwdr.com
                                                                                         Quinn, Connor, Weaver, Davies & Rouco LLP
                                                                                                2 - 20th Street North, Suite 930
                                                                                                    Birmingham, AL 35203
                                                                                                        (205) 870-9989

 Ramsay v. Equifax       4:17-cv-02783 Southern District of Texas                                   George H Lugrin, IV                                                      glugrin@hallmaineslugrin.com      Consumer   Yes by CTO - 1
       Inc.                                                                                        Westmoreland Hall PC
                                                                                               2800 Post Oak Blvd, Suite 6400
                                                                                                    Houston, TX 77056
                                                                                                       713-586-4286

Ray v. Equifax Inc. et   1:17-cv-01331     District of Delaware                                           PRO SE                                                                 mike@myfedlaw.com             Consumer   Yes by CTO - 1
         al                                                                                           Michael R. Ray
                                                                                                       P.O. Box 100
                                                                                                  Myrtle Beach, SC 29578
                                                                                                      843-448-1515
                                                                                                    Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 118 of 154




                                                                        Plaintiffs' Counsel Table
                                                          In re: Equifax, Inc., Customer Data Security Breach Litigation
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  Case Name                 Case           Original Court             Local Counsel   Plaintiffs' Counsel & Contact Information                                              Email Addresses             Consumer,    Transfer
                          Number &                                                                                                                                                                       Financial     Status
                           Original                                                                                                                                                                       or Small
                            Court                                                                                                                                                                         Business

  Ressetar et al. v.      3:17-cv-01670      Middle District of                                     Christopher Markos                                                     cmarkos@williamscedar.com      Consumer   Yes by CTO - 1
 Equifax, Inc. et al.                         Pennsylvania                                           Gerald J. Williams                                                    gwilliams@williamscedar.com
                                                                                                       Williams Cedar
                                                                                                     1515 Market Street
                                                                                                         Suite 1300
                                                                                                   Philadelphia, PA 19102
                                                                                                        215.557.0099

                                                                                                       Michael J. Quirk
                                                                                                    Berezofsky Law Group
                                                                                                1515 Market Street, Suite 1300
                                                                                                 Philadelphia, PA 19102-1929
                                                                                                        215-557-0099
Reyes v. Equifax Inc.     1:17-cv-06589   Eastern District of New                                  Edward B. Geller                                                              epbh@aol.com             Consumer   Yes by CTO - 1
                                                   York                                       EDWARD B. GELLER, ESQ., P.C.
                                                                                                   15 Landing Way
                                                                                                   Bronx, NY 10464
                                                                                                    914-473-6783

Reyes v. Equifax Inc.     2:17-cv-06590   Eastern District of New                                  Edward B. Geller                                                              epbh@aol.com             Consumer   Yes by CTO - 1
                                                   York                                       EDWARD B. GELLER, ESQ., P.C.
                                                                                                   15 Landing Way
                                                                                                   Bronx, NY 10464
                                                                                                    914-473-6783

Rice et al. v. Equifax,   1:17-cv-00156   Northern District of West                                   James A. Gianola                                                         jgianola@gbwlaw.net        Consumer
         Inc.                               Virginia (Clarksburg                                       John F. Gianola                                                      john.gianola@gbbjlaw.com
                                                 Division)                                      Gianola, Barnum & Wigal, LC
                                                                                                      1714 Mileground
                                                                                                  Morgantown, WV 26505                                                     Dhartley@hartleylawgrp.com
                                                                                                        304-291-6300                                                       mstaun@hartleylawgrp.com

                                                                                                       R. Dean Hartley
                                                                                                        Mark R. Staun
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                                                                                                  2001 Main St., Suite 600
                                                                                                   Wheeling, WV 26003
                                                                                                        304-233-0777
                                                                                                       Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 119 of 154




                                                                    Plaintiffs' Counsel Table
                                                      In re: Equifax, Inc., Customer Data Security Breach Litigation
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                        Number &                                                                                                                                                                      Financial     Status
                         Original                                                                                                                                                                      or Small
                          Court                                                                                                                                                                        Business

   Rich v. Equifax      3:17-cv-00229    Western District of                                            James A. Naddeo                                                       naddeolaw@verizon.net    Consumer   Yes by CTO - 3
Information Services,                      Pennsylvania                                               207 East Market Street
        LLC                                                                                               P.O. Box 552
                                                                                                       Clearfield, PA 16830
                                                                                                          814-765-1601

 Richmond et al v.      1:17-cv-03477   Northern District of   Evangelista Worley, LLC                 James M. Evangelista                                                    jme@ewlawllc.com        Consumer
   Equifax, Inc.                             Georgia                                                     David J. Worley                                                       david@ewlawll.com
                                                                                                     Kristi Stahnke McGregor                                                   kristi@ewlawll.com
                                                                                                  EVANGELISTA WORLEY, LLC
                                                                                                  8100 A Roswell Road, Suite 100
                                                                                                        Atlanta, GA 30350
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                                                                                                                                                                              clm@federmanlaw.com
                                                                                                        William Federman                                                      jdw@federmanlaw.com
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                                                                                                   FEDERMAN & SHERWOOD
                                                                                                   10205 N. Pennsylvania Avenue
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                                                                      Plaintiffs' Counsel Table
                                                       In re: Equifax, Inc., Customer Data Security Breach Litigation
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  Case Name                 Case          Original Court           Local Counsel          Plaintiffs' Counsel & Contact Information                                             Email Addresses            Consumer,   Transfer
                          Number &                                                                                                                                                                         Financial    Status
                           Original                                                                                                                                                                         or Small
                            Court                                                                                                                                                                           Business

Ruscitto v. Equifax,      1:17-cv-03444   Northern District of   McConnell & Sneed, LLC                Andrew Joseph Coomes                                                     ajc@mcconnellsneed.com      Consumer     Yes
        Inc.                               Georgia (Atlanta                                            McConnell & Sneed, LLC
                                               Division)                                                     Suite 840
                                                                                                        990 Hammond Drive                                                       jgoldenberg@gs-legal.com
                                                                                                         Atlanta, GA 30328
                                                                                                           404-220-9994

                                                                                                          Jeffrey Goldenberg
                                                                                                       Goldenberg Schneider LPA
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                                                                                                         Cincinnati, OH 45202
                                                                                                            513-345-8291                                                          gmason@wbmllp.com

                                                                                                          Christian A. Jenkins
                                                                                                      Minnilo & Jenkins Co., LPA
                                                                                                       2712 Observatory Avenue
                                                                                                         Cincinnati, OH 45208
                                                                                                            513-723-1600

                                                                                                          Gary Edward Mason
                                                                                                  Whitfield Bryson & Mason, LLP - DC
                                                                                               1625 Massachusetts Avenue, N.W., Suite 605
                                                                                                         Washington, DC 20036
                                                                                                             202-429-2290

Rust et al. v. Equifax,   1:17-cv-03471   Northern District of    Faruqi & Faruqi, LLP                    Robert W. Killorin                                                    rkillorin@faruqilaw.com     Consumer
         Inc.                              Georgia (Atlanta                                                Timothy J. Peter                                                       tpeter@faruqilaw.com
                                               Division)                                                 James M. Wilson, Jr.                                                    jwilson@faruqilaw.com
                                                                                                       Faruqi & Faruqi, LLP -Atl
                                                                                                      3975 Roswell Road, Suite A
                                                                                                          Atlanta, GA 30342
                                                                                                            404-275-7557
                                                                                             Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 121 of 154




                                                              Plaintiffs' Counsel Table
                                                  In re: Equifax, Inc., Customer Data Security Breach Litigation
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                     Number &                                                                                                                                                                  Financial    Status
                      Original                                                                                                                                                                  or Small
                       Court                                                                                                                                                                    Business

Salinas and Ribons   3:17-cv-05284   Northern District of                                      Bruce L. Simon                                                         bsimon@pswlaw.com         Consumer
  v. Equifax Inc.                    California (San Jose                                   Alexander L. Simon                                                        asimon@pswlaw.com
                                          Division)                                PEARSON, SIMON & WARSHAW, LLP
                                                                                      44 Montgomery Street, Suite 2450
                                                                                       San Francisco, California 94104
                                                                                               415-433-9000

                                                                                             Daniel L. Warshaw
                                                                                             Michael H. Pearson                                                      dwarshaw@pswlaw.com
                                                                                    PEARSON SIMON & WARSHAW, LLP                                                     mpearson@pswlaw.com
                                                                                      15165 Ventura Boulevard, Suite 400
                                                                                        Sherman Oaks, California 91403
                                                                                                818-788-8300
Samson v. Equifax,   1:17-cv-03448   Northern District of                                       Lisa L. Heller                                                       lheller@robbinsfirm.com    Consumer     Yes
      Inc.                            Georgia (Atlanta                           Robbins Ross Alloy Belinfante Littlefield, LLC
                                          Division)                                 999 Peachtree Street, N.E., Suite 1120
                                                                                             Atlanta, GA 30309                                                        jdancona@ktmc.com
                                                                                               678-701-9381                                                            namjed@ktmc.com

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                                                                                                Joshua D'Ancona
                                                                                                 Ethan J. Barlieb                                                       jjoost@ktmc.com
                                                                                    Kessler Topaz Meltzer & Check, LLP-PA
                                                                                            280 King of Prussia Road                                                dhthompson98@gmail.com
                                                                                               Radnor, PA 19087
                                                                                                  610-667-7706
                                                                                                Jennifer L. Joost
                                                                                        Kessler Topaz Meitzer & Check
                                                                              One Sansome St., Suite 1850 San Francisco, CA 94104
                                                                                              David H. Thompson
                                                                                                   Davis Cooper
                                                                                             Cooper & Kirk, PLLC
                                                                                      1523 New Hampshire Avenue, N.W.
                                                                                             Washington, DC 20036
                                                                                                  202-220-9600
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                                                                    Plaintiffs' Counsel Table
                                                       In re: Equifax, Inc., Customer Data Security Breach Litigation
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  Case Name               Case          Original Court            Local Counsel   Plaintiffs' Counsel & Contact Information                                                Email Addresses              Consumer,    Transfer
                        Number &                                                                                                                                                                        Financial     Status
                         Original                                                                                                                                                                        or Small
                          Court                                                                                                                                                                          Business

 Sander v. Equifax      1:17-cv-02119    District of Columbia                                  H. Vincent McKnight, Jr.                                                 vmcknight@sandfordheisler.com    Consumer   Yes by CTO - 1
     Inc. et al                                                                           SANFORD HEISLER SHARP, LLP
                                                                                        1666 Connecticut Avenue, NW, Suite 300
                                                                                               Washington, DC 20009
                                                                                                    202-499-5211                                                         amelzer@sanfordheisler.com
                                                                                                                                                                         jheisler@sanfordheisler.com
                                                                                                  Jeremy Heisler
                                                                                                  Andrew Melzer
                                                                                          SANFORD HEISLER SHARP, LLP                                                      ksharp@sanfordheisler.com
                                                                                             1350 6th Avenue, Floor 31
                                                                                               New York, NY 10019
                                                                                                  646-402-5650

                                                                                                   Kevin H. Sharp
                                                                                              Sanford Heisler Sharp, LLP
                                                                                            611 Commerce Street,Suite 3100
                                                                                                 Nashville, TN 37203
                                                                                                    615-343-7001


Santomauro et al. v.    1:17-cv-01852      District of D.C.                                          Troy Giatras                                                          troy@tjewvlawfirm.com         Consumer
   Equifax Inc.                           (Washington, D.C.                                  GIATRAS LAW FIRM, PLLC
                                              Division)                                       118 Capitol Street, 4th Floor
                                                                                                Charleston, WV 25301
                                                                                                    304-343-2900

 Schifano et al. v.     2:17-cv-06996     Central District of                                    Rosemary M. Rivas                                                             rrivas@zlk.com            Consumer   Yes by CTO - 1
   Equifax Inc.                              California                                           Quentin A. Roberts                                                          qroberts@zlk.com
                                                                                               Levi and Korsinsky LLP
                                                                                            44 Montgomery Street Suite 650
                                                                                               San Francisco, CA 94104
                                                                                                    415-291-2420

Scott v. Equifax Inc.   2:17-cv-06715     Central District of                                     Lionel Zevi Glancy                                                       lglancy@glancylaw.com         Consumer
                                         California (Western                                        Marc L. Godino                                                        mgodino@glancylaw.com
                                        Division - Los Angeles)                                  Danielle L. Manning                                                      dmanning@glancylaw.com
                                                                                                     Kevin F. Ruf                                                            kruf@glancylaw.com
                                                                                            Glancy Prongay and Murray LLP
                                                                                           1925 Century Park East Suite 2100
                                                                                                Los Angeles, CA 90067
                                                                                                    310-201-9150
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                                                                   Plaintiffs' Counsel Table
                                                      In re: Equifax, Inc., Customer Data Security Breach Litigation
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  Case Name               Case          Original Court           Local Counsel        Plaintiffs' Counsel & Contact Information                                                 Email Addresses              Consumer,    Transfer
                        Number &                                                                                                                                                                             Financial     Status
                         Original                                                                                                                                                                             or Small
                          Court                                                                                                                                                                               Business

Seror v. Equifax Inc.   3:17-cv-11437   District of New Jersey                                      Edward B. Geller                                                                epbh@aol.com              Consumer   Yes by CTO - 1
                                                                                               EDWARD B. GELLER, ESQ., P.C.
                                                                                                    15 Landing Way
                                                                                                    Bronx, NY 10464
                                                                                                     914-473-6783

  Seymore et al. v.     3:17-cv-01871    Southern District of                                          Tyler Jay Belong                                                       tbelong@hoguebelonglaw.com      Consumer
    Equifax, Inc.                       California (San Diego                                          Eric Dos Santos                                                      edossantos@hoguebelongloaw.com
                                              Division)                                                Jeffrey L. Hogue                                                       jhogue@hoguebelonglaw.com
                                                                                                     Hogue & Belong APC
                                                                                                430 Nutmeg Street, Second Floor
                                                                                                     San Diego, CA 92103
                                                                                                        619-238-4720

 Sievers v. Equifax     4:17-cv-00103    District of Montana     Edwards, Frickle &                    Triel D. Culver                                                        jenny@edwardslawfirm.com        Consumer   Yes by CTO - 1
     Inc. et al                                                       Culver                         A. Clifford Edwards
                                                                                               EDWARDS FRICKLE & CULVER
                                                                                                  1648 Poly Drive, Suite 206                                                   triel@edwardslawfirm.com
                                                                                                     Billings, MT 59102
                                                                                                        406-256-8155                                                           ksharp@sanfordheisler.com

                                                                                                     Edward D. Chapin                                                         echapin2@sanfordheisler.com
                                                                                               SANFORD HEISLER SHARP, LLP
                                                                                                655 West Broadway, Suite 1700                                                dfuschetti@sanfordheisler.com
                                                                                                    San Diego, CA 92101
                                                                                                       619-577-4250

                                                                                                   Danielle Anne Fuschetti
                                                                                      SANFORD HEISLER SHARP LLP - SAN FRANCISCO, CA
                                                                                                   111 Sutter St., Suite 975
                                                                                                  San Francisco, CA 94104
                                                                                                       415-795-2022

                                                                                                       Kevin Sharp
                                                                                        SANFORD HEISLER SHARP LLP - NASHVILLE, TN
                                                                                                611 Commerce St., Suite 3100
                                                                                                    Nashville, TN 37203
                                                                                                      615-434-7001
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                                                          In re: Equifax, Inc., Customer Data Security Breach Litigation
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  Case Name                 Case           Original Court              Local Counsel          Plaintiffs' Counsel & Contact Information                                              Email Addresses              Consumer,    Transfer
                          Number &                                                                                                                                                                                Financial     Status
                           Original                                                                                                                                                                                or Small
                            Court                                                                                                                                                                                  Business

Sikes et al. v. Equifax   1:17-cv-00258   Western District of North   Grimes Teich Anderson                     Jeremy Heisler                                                      jheisler@sanfordheisler.com    Consumer   Yes by CTO - 1
       Inc. et al                                Carolina                     LLP                             Andrew C. Melzer                                                      amelzer@sanfordheisler.com
                                                                                                     1350 Avenue of the Americas, 31st Floor                                         ksharp@sanfordheisler.com
                                                                                                             New York, NY 10019
                                                                                                                646-402-5650

                                                                                                               Kevin H. Sharp                                                           leaven@gtalaw.net
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                                                                                                             Nashville, TN 37203
                                                                                                               615-434-7000

                                                                                                              Jessica E. Leaven
                                                                                                          Grimes Teich Anderson LLP
                                                                                                              535 College Street
                                                                                                             Asheville, NC 28801
                                                                                                                828-251-0800
                                                                                                  Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 125 of 154




                                                                Plaintiffs' Counsel Table
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                     Number &                                                                                                                                                                          Financial    Status
                      Original                                                                                                                                                                          or Small
                       Court                                                                                                                                                                            Business

Simmons et al v.     1:17-cv-03659   Northern District of   Byrne Davis & Hicks,                   Paul Jay Pontrelli                                                       pjp1460@gmail.com           Consumer
Equifax Inc. et al                        Georgia                  P.C.                        Byrne Davis & Hicks, P.C.
                                                                                               3565 Piedmont Road, N.E.
                                                                                                 Building 4, Suite 380
                                                                                                  Atlanta, GA 30305
                                                                                                    404-266-7284                                                         jheisler@sanfordheisler.com
                                                                                                                                                                         amelzer@sanfordheisler.com
                                                                                                     Jeremy Heisler
                                                                                                     Andrew Melzer
                                                                                             Sanford Heisler Sharp, LLP-NY                                               ksharp@sanfordheisler.com
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                                                                                                    Jason Paul Sander
                                                                                              Jason Sander, Attorney at Law
                                                                                                   4314 Feagan Street
                                                                                                   Houston, TX 77007
                                                                                                      713-899-9784
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                                                                Plaintiffs' Counsel Table
                                                  In re: Equifax, Inc., Customer Data Security Breach Litigation
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 Case Name             Case          Original Court         Local Counsel            Plaintiffs' Counsel & Contact Information                                                 Email Addresses               Consumer,    Transfer
                     Number &                                                                                                                                                                                Financial     Status
                      Original                                                                                                                                                                                or Small
                       Court                                                                                                                                                                                  Business

Sky Federal Credit   1:18-cv-00094   Northern District of      Anthony C. Lake                        Bryan Bleichner                                                      bbleichner@chesnutcambronne.com    Financial
  Union et al v.                          Georgia              Thomas Withers                       Chestnut Cambronne
     Equifax                                                Gillen Withers & Lake,          17 Washington Avenue North, Suite 300                                               cvanhorn@bfvlaw.com
                                                                     LLC                          Minneapolis, MN 55401
                                                            3490 Piedmont Road,                        612-339-7300                                                             ecomite@scott-scott.com
                                                                     N.E.                                                                                                     jguglielmo@scott-scott.com
                                                            One Securities Centre,                   Erin Green Comite
                                                                  Suite 1050                          Joseph Guglielmo                                                         Khriebel@locklaw.com
                                                              Atlanta, GA 30305                          Scott + Scott                                                       kmbaxter-kauf@locklaw.com
                                                                 404-842-9700                       156 South Main Street
                                                                                                        P.O. Box 192                                                            aclake@gwllawfirm.com
                                                             Charles H. Van Horn                    Colchester, CT 06415                                                       twithers@gwllawfirm.com
                                                            Berman Fink Van Horn                        860-537-5537
                                                                     P.C.                                                                                                    smurray@murray-lawfirm.com
                                                             3475 Piedmont Road,                    Karen Hanson Riebel                                                      amurray@murray-lawfirm.com
                                                                  Suite 1100                         Kate Baxter-Kauf                                                        cthomas@murray-lawfirm.com
                                                              Atlanta, GA 30305               Lockridge Grindal Nauen P.L.L.P.
                                                                404-261-7711                 100 Washington Ave. S., Suite 2200
                                                                                                  Minneapolis, MN 55401
                                                                                                       612-339-6900

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                                                                                                650 Poydras Street, Suite 2150
                                                                                                   New Orleans, LA 70130
                                                                                                        505-525-8100
                                                                                                    Brian C. Gudmundson                                                    brian.gudmundson@zimmreed.com
                                                                                               Zimmerman Reed, P.L.L.P. -MN
                                                                                                      1100 IDS Center                                                          glynch@carlsonlynch.com
                                                                                                     80 South 8th Street
                                                                                                  Minneapolis, MN 55402
                                                                                                        612-341-0400

                                                                                                        Gary F. Lynch
                                                                                                    Carlson Lynch Sweet
                                                                                                   Kilpela & Carpenter LLP
                                                                                                 1133 Penn Avenue, 5th Floor
                                                                                                    Pittsburgh, PA 15222
                                                                                                        412-322-9243
                                                                                                      Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 127 of 154




                                                                       Plaintiffs' Counsel Table
                                                         In re: Equifax, Inc., Customer Data Security Breach Litigation
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  Case Name                Case           Original Court             Local Counsel    Plaintiffs' Counsel & Contact Information                                                    Email Addresses                Consumer,     Transfer
                         Number &                                                                                                                                                                                 Financial      Status
                          Original                                                                                                                                                                                 or Small
                           Court                                                                                                                                                                                   Business

Skye v. Equifax Inc.     1:17-cv-11742   District of Massachusetts                                   Theodore M. Hess-Mahan                                                  thess-mahan@hutchingsbarsamian.com    Consumer
                                            (Boston Division)                            Hutchings, Barsamian, Cross and Mandelcorn, LLP
                                                                                                          110 Cedar St.
                                                                                                    Wellesley Hills, MA 02481
                                                                                                          781-431-2231                                                              okurtz@gardylaw.com

                                                                                                           Orin Kurtz
                                                                                                      Grady & Notis, LLP
                                                                                                            8th Floor
                                                                                                  Tower 56, 126 East 56th Street
                                                                                                     New York, NY 10022
                                                                                                         212 905-0509

Smith et al.v. Equifax   1:17-cv-02183   Northern District of Ohio                                       Kevin H. Sharp                                                          ksharp@sanfordheisler.com         Consumer    Yes by CTO - 1
      Inc. et al                                                                                      Sanford Heisler Sharp
                                                                                                            Ste. 3100
                                                                                                      611 Commerce Street
                                                                                                      Nashville, TN 37203
                                                                                                         615-434-7001

Smith et al.v. Equifax   4:17-cv-02939 Southern District of Texas                                       Salar Ali Ahmed                                                            aahmedlaw@gmail.com             Consumer    Yes by CTO - 1
      Inc. et al                                                                                        One Arena Place
                                                                                                 7322 Southwest Frwy, Suite 1920
                                                                                                       Houston, TX 77074
                                                                                                         713-223-1300

Southwest Louisiana      1:17-cv-04822     Northern District of      POPE MCGLAMRY,                  Michael Lee McGlamry                                                          mmcglamry@pmkm.com              Financial
  Credit Union v.                               Georgia                    P.C.                          N. Kirkland Pope                                                           kirkpope@pmkm.com
 Equifax, Inc. et al                                                                                  Pope McGlamry, P.C.
                                                                                                         P.O. Box 191625
                                                                                               3391 Peachtree Road, N.E., Suite 300
                                                                                                     Atlanta, GA 31119-1625
                                                                                                          404-523-7706                                                            chrish@pittmandutton.com
                                                                                                                                                                                  jonm@pittmandutton.com
                                                                                                         Chris T. Hellums
                                                                                                          Jonathan Mann
                                                                                                 Pittman, Dutton & Hellums, P.C.
                                                                                                      2001 Park Place North
                                                                                                  Park Place Tower, Suite 1100
                                                                                                      Birmingham, AL 35203
                                                                                                          205-322-8880
                                                                                              Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 128 of 154




                                                                  Plaintiffs' Counsel Table
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  Case Name               Case          Original Court          Local Counsel   Plaintiffs' Counsel & Contact Information                                               Email Addresses              Consumer,    Transfer
                        Number &                                                                                                                                                                     Financial     Status
                         Original                                                                                                                                                                     or Small
                          Court                                                                                                                                                                       Business

 Southwick et al v.     5:17-cv-01184    Western District of                                    C. Austin Reams                                                        austin@reamslawfirm.com        Consumer   Yes by CTO - 1
 Equifax Inc. et al                     Oklahoma (Oklahoma                                        Reams Law
                                           City Division)                                      9208 N Kelley Ave
                                                                                            Oklahoma City, OK 73131
                                                                                                 405-285-6878

Spicer & Gutierrez v.   5:17-cv-05228   Northern District of                                   Aaron Blumenthal                                                           ab@classlawgroup.com        Consumer
  Equifax Inc. and                      California (San Jose                                   Amy Marie Zeman                                                          amz@classlawgroup.com
   TrustedID Inc.                            Division)                                       David Michael Berger                                                    davidberger@classlawgroup.com
                                                                                                 Eric H. Gibbs                                                           ehg@classlawgroup.com
                                                                                           GIBBS LAW GROUP LLP
                                                                                           505 14th Street, Suite 1110
                                                                                              Oakland, CA 94612                                                          aep@girardgibbs.com
                                                                                                 510-350-9700

                                                                                                  Adam E. Polk
                                                                                               Girard Gibbs LLP
                                                                                         601 California Street, 14th Floor
                                                                                            San Francisco, CA 94108
                                                                                                  415-987-4800

Sprecher v. Equifax     1:17-cv-05141    Northern District of                                   Kevin H. Sharp                                                         ksharp@sanfordheisler.com      Consumer
     Inc et al                                Georgia                                      Sanford Heisler Sharp, LLP
                                                                                         611 Commerce Street, Suite 3100
                                                                                              Nashville, TN 37203
                                                                                                 615-343-7001
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                                                      In re: Equifax, Inc., Customer Data Security Breach Litigation
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                      Number &                                                                                                                                                                               Financial     Status
                       Original                                                                                                                                                                               or Small
                        Court                                                                                                                                                                                 Business

St. Clair et al v.    1:17-cv-04792      Northern District of      Evangelista Worley, LLC                    Ariana J. Tadler                                                      atadler@milberg.com       Consumer
 Equifax, Inc.                                Georgia                                                          Andrei V. Rado                                                        arado@milberg.com
                                                                                                                Henry Kelston                                                      hkelston@milberg.com
                                                                                                             Elizabeth McKenna                                                    emckenna@milberg.com
                                                                                                                Melissa Clark                                                       mclark@milberg.com
                                                                                                    Milberg Tadler Phillips Grossman LLP
                                                                                                     One Pennsylvania Plaza, Suite 1920                                             david@ewlawllc.com
                                                                                                        New York, NY 10119-0165                                                      jim@ewlawllc.com
                                                                                                                212-594-5300                                                        kristi@ewlawllc.com

                                                                                                             David J. Worley
                                                                                                           James M. Evangelista
                                                                                                         Kristi Stahnke McGregor
                                                                                                         Evangelista Worley, LLC
                                                                                                      8100 A Roswell Road, Suite 100
                                                                                                            Atlanta, GA 30350
                                                                                                               404-205-8400

Stabenow et al v.     8:17-cv-02289   Middle District of Florida                                                Jay P. Lechner                                                    lechnerj@thefllawirm.com    Consumer   Yes by CTO - 1
  Equifax, Inc.                                                                                                Jason M. Melton                                                     jason@thefllawfirm.com
                                                                                                              Whittel & Melton
                                                                                                          200 Central Ave Ste 400
                                                                                                          St. Petersburg, FL 33701
                                                                                                                727-822-1111

Stanfield et al. v.   3:17-cv-01102      Southern District of                                               Kenneth J. Brennan                                                    kbrennan@thlawyer.com       Consumer   Yes by CTO - 1
  Equifax Inc.                                 Illinois                                                       Tor A. Hoerman                                                         tor@thlawyer.com
                                                                                                             Tyler J. Schneider                                                     tyler@thlawyer.com
                                                                                                           TorHoerman Law LLC
                                                                                                           210 South Main Street
                                                                                                           Edwardsville, IL 62025
                                                                                                               618-656-4400
                                                                                          Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 130 of 154




                                                               Plaintiffs' Counsel Table
                                                    In re: Equifax, Inc., Customer Data Security Breach Litigation
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                      Number &                                                                                                                                                                 Financial      Status
                       Original                                                                                                                                                                 or Small
                        Court                                                                                                                                                                   Business

State Employees       1:17-cv-05109   Northern District of                                  Stacey P. Slaughter                                                  sslaughter@robinskaplan.com    Financial
 Federal Credit                            Georgia                                          William H. Stanhope                                                  wstanhope@robinskaplan.com
 Union et al v.                                                                                 James Kitces                                                       jkitces@robinskaplan.com
  Equifax Inc.                                                                               Sam E. Khoroosi                                                     skhoroosi@robinskaplan.com
                                                                                               J. Austin Hurt                                                       ahurt@robinskaplan.com
                                                                                             Michael J. Pacelli                                                   mpacelli@robinskaplan.com
                                                                                               Susan Brown                                                        sbrown@robinskaplan.com
                                                                                               Michael Ram                                                         mram@robinskaplan.com

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                                                                                             800 LaSalle Avenue
                                                                                                 Suite 2800                                                        mary@turkestrauss.com
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                                                                                             Mary C. Turke                                                         david@reedandjolly.com
                                                                                            Samuel J. Strauss
                                                                                          Turke & Strauss, LLP
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                                                                                          613 Williamson Street
                                                                                           Madison, WI 53703
                                                                                             608-237-1776

                                                                                              David A. Reed
                                                                                           Reed & Jolly, PLLC
                                                                                           3711 Millpond Court
                                                                                            Fairfax, VA 22033
                                                                                              703-675-9578

 Stewart et al. v.    4:17-cv-02433    Eastern District of                                        PRO SE                                                              no email provided         Consumer    Yes by CTO - 1
Equifax Inc. et al.                        Missouri                                            James Stewart
                                                                                               Eileen Stewart
                                                                                            6634 McCune Ave.
                                                                                           St. Louis, MO 63139
                                                                                               314-398-5403
                                                                                                         Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 131 of 154




                                                                     Plaintiffs' Counsel Table
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  Case Name                Case          Original Court          Local Counsel            Plaintiffs' Counsel & Contact Information                                               Email Addresses             Consumer,    Transfer
                         Number &                                                                                                                                                                             Financial     Status
                          Original                                                                                                                                                                             or Small
                           Court                                                                                                                                                                               Business

Stiles v. Equifax Inc.   3:17-cv-00144    Western District of   Boehl Stopher & Graves,                   Jeremy Heisler                                                        jheisler@sanfordheisler.com    Consumer   Yes by CTO - 1
          et al                              Kentucky                    LLP                              Andrew Melzer                                                         amelzer@sanfordheisler.com
                                                                                                  SANFORD HEISLER SHARP, LLP                                                     ksharp@sanfordheisler.com
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                                                                                                           D. Wes Sullenger
                                                                                                 Boehl Stopher & Graves, LLP - Paducah
                                                                                                          410 Broadway Street
                                                                                                          Paducah, KY 42001
                                                                                                             270-442-4369
 Strange v. Equifax      5:17-cv-01615    Western District of                                              Clinton Strange                                                                                     Consumer   Yes by CTO-5
        In.                                  Louisiana                                                   7021 Winburn Drive
                                                                                                        Greenwood, LA 71033
                                                                                                            318-423-5057
                                                                                                              PRO SE

   Strauchman v.         1:17-cv-03482   Northern District of                                            Christopher B. Hood                                                       chood@hgdlawfirm.com        Consumer
    Equifax, Inc.                             Georgia                                                 James F. McDonough , III                                                  jmcdonough@hgdlawfirm.com
                                                                                                           Travis E. Lynch                                                         tlynch@hgdlawfirm.com
                                                                                                        W. Lewis Garrison, Jr.                                                   wlgarrison@hgdlawfirm.com
                                                                                                 Heninger Garrison & Davis, LLC - AL
                                                                                                       2224 1st Avenue North
                                                                                                       Birmingham, AL 35203
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                                                                                          Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 132 of 154




                                                               Plaintiffs' Counsel Table
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                      Number &                                                                                                                                                                 Financial     Status
                       Original                                                                                                                                                                 or Small
                        Court                                                                                                                                                                   Business

Summit Credit Union   1:17-cv-03483   Northern District of                                   Stacey P. Slaughter                                                 sslaughter@robinskaplan.com    Financial
   v. Equifax Inc.                         Georgia                                           William H. Stanhope                                                 wstanhope@robinskaplan.com
                                                                                                James Kitces                                                       jkitces@robinskaplan.com
                                                                                               Sam Khoroosi                                                      skhoroosi@robinskaplan.com
                                                                                                Susan Brown                                                       sbrown@robinskaplan.com
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                                                                                           Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 133 of 154




                                                             Plaintiffs' Counsel Table
                                                In re: Equifax, Inc., Customer Data Security Breach Litigation
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                 Number &                                                                                                                                                                     Financial    Status
                  Original                                                                                                                                                                     or Small
                   Court                                                                                                                                                                       Business

Tada et al. v.   2:17-cv-06666     Central District of                                        Stephen R. Basser                                                     sbasser@barrack.com        Consumer     Yes
Equifax, Inc.                     California (Western                                          Samuel M. Ward                                                        sward@barrack.com
                                 Division - Los Angeles)                              BARRACK, RODOS & BACINE
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                                                                       Plaintiffs' Counsel Table
                                                         In re: Equifax, Inc., Customer Data Security Breach Litigation
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  Case Name                Case           Original Court             Local Counsel   Plaintiffs' Counsel & Contact Information                                           Email Addresses           Consumer,    Transfer
                         Number &                                                                                                                                                                  Financial     Status
                          Original                                                                                                                                                                  or Small
                           Court                                                                                                                                                                    Business

  Taenzer et al. v.      4:17-cv-00349   Southern District of Iowa                                Roxanne Barton Conlin                                                      roxlaw@aol.com         Consumer   Yes by CTO - 1
 Equifax, Inc. et al.                                                                       ROXANNE CONLIN & ASSOCIATES
                                                                                                3721 SW 61ST St., Suite C
                                                                                               Des Moines, IA 50321-2418
                                                                                                      515-283-1111

                                                                                                 Richard M. Hagstrom                                                     rhagstrom@hjlawfirm.com
                                                                                             HELLMUTH & JOHNSON, PLLC
                                                                                                  8050 W 78TH St.
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                                                                                                    952-941-4005

Tanks and Dixon v.       3:17-vc-01832     Southern District of                                   Tammy Gruder Hussin                                                     tammy@hussinlaw.com       Consumer
   Equifax, Inc.                          California (San Diego)                                       Hussin Law
                                                                                                1596 N. Coast Highway 101
                                                                                                   Encinitas, CA 92024
                                                                                                      877-677-5397

                                                                                                    Helen Irene Zeldes                                                     helen@coastlaw.com
                                                                                                  Coast Law Group LLC
                                                                                                1140 South Coast Hwy 101
                                                                                                       Suite 2050
                                                                                                   Encinitas, CA 92024
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                                                                                                  David Hill Peck, Esq.                                                     dhp@wjrlaw.com
                                                                                                   10190 Brier Mill Ct.
                                                                                                 Johns Creek, GA 30022

Tate et al v. Equifax,   3:17-cv-00555   Western District of North                                  Robert L. Burchette                                                   rburchette@jahlaw.com     Consumer   Yes by CTO - 1
         Inc.                                   Carolina                                             Martin L. White                                                       mwhite@jahlaw.com
                                                                                                 Johnston, Allison & Hord
                                                                                                  1065 East Morehead St
                                                                                                   Charlotte, NC 28202
                                                                                                      704-332-1181
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                                                                    Plaintiffs' Counsel Table
                                                      In re: Equifax, Inc., Customer Data Security Breach Litigation
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                       Number &                                                                                                                                                                         Financial     Status
                        Original                                                                                                                                                                         or Small
                         Court                                                                                                                                                                           Business

 Tepfenhart et al v.   1:17-cv-03571     Northern District of                                         Eric J. Artrip                                                      artrip@mastandoartrip.com      Consumer
   Equifax, Inc.                              Georgia                                           Mastando & Artrip, LLC
                                                                                               301 Washington Street, NW
                                                                                                  Huntsville, AL 35801                                                        rrouco@qcwdr.com
                                                                                                     256-532-2222                                                            rweaver@qcwdr.com
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                                                                                                   Nicolas M. Stanojevich
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                                                                                                       Tessa Warren
                                                                                     Quinn, Connor, Weaver, Davies & Rouco, LLP - AL
                                                                                              2 - 20th Street North, Suite 930
                                                                                                  Birmingham, AL 35203
                                                                                                       205-870-9989
 Thomson et al v.      3:17-cv-02468 Northern District of Texas                                     Eric W. Buether                                                       eric.buether@bjciplaw.com      Consumer   Yes by CTO - 1
   Equifax Inc.                                                                                    Brian A. Carpenter                                                    brian.carpenter@bjciplaw.com
                                                                                                   Christopher M. Joe                                                       chris.joe@bjciplaw.com
                                                                                                     Kenneth Kula                                                           ken.kula@bjciplaw.com
                                                                                              Buether Joe & Carpenter LLC
                                                                                             1700 Pacific Avenue, Suite 4750
                                                                                                   Dallas, TX 75201
                                                                                                     214-466-1271

Tipping v. Equifax     3:17-cv-01273      Middle District of                                      Benjamin C. Aaron                                                       baaron@nealharwell.com         Consumer   Yes by CTO - 1
       Inc.                                  Tennessee                                             Charles F. Barrett                                                     cbarrett@nealharwell.com
                                                                                                 Neal & Harwell, PLC
                                                                                           1201 Demonbreun Street, Suite 1000
                                                                                                  Nashville, TN 37203
                                                                                                    615-238-3535

Tirelli & Merino v.    7:17-cv-06868   Southern District of New                                     Javier Luis Merino                                                      jmerino@dannlaw.com          Consumer
Equifax Information                      York (White Plains                                             Dann Law
  Services, LLC                               Division)                                           1 Meadowlands Plaza
                                                                                                         Suite 200
                                                                                                 E. Rutherford, NJ 07073
                                                                                                      216-373-0539
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                                           Plaintiffs' Counsel Table
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            Number &                                                                                                                                            Financial    Status
             Original                                                                                                                                            or Small
              Court                                                                                                                                              Business

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                                                               Plaintiffs' Counsel Table
                                                   In re: Equifax, Inc., Customer Data Security Breach Litigation
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 Case Name              Case          Original Court         Local Counsel   Plaintiffs' Counsel & Contact Information                                             Email Addresses        Consumer,   Transfer
                      Number &                                                                                                                                                            Financial    Status
                       Original                                                                                                                                                            or Small
                        Court                                                                                                                                                              Business

  Tomlin et al. v.    2:17-cv-00158    Eastern District of                                      Miles N. Clark                                                                             Consumer
Equifax Information                   Kentucky (Covington                                     Matthew I. Knepper                                                    rac@cliffordlaw.com
  Services, LLC                            Division)                                         Knepper & Clark, LLC
                                                                                    10040 W. Cheyenne Avenue, Suite 170-109
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                                                                                               Cincinnati, OH 45202
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                                                                     Plaintiffs' Counsel Table
                                                       In re: Equifax, Inc., Customer Data Security Breach Litigation
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  Case Name              Case           Original Court             Local Counsel   Plaintiffs' Counsel & Contact Information                                           Email Addresses         Consumer,    Transfer
                       Number &                                                                                                                                                                Financial     Status
                        Original                                                                                                                                                                or Small
                         Court                                                                                                                                                                  Business

Tomlinson v. Equifax   3:17-cv-00087      Eastern District of                                          PRO SE                                                            no email provided      Consumer   Yes by CTO - 1
        Inc.                                  Kentucky                                            Cole T. Tomlinson
                                                                                              Dutton & Associates, PLLC
                                                                                                   513 Main Street
                                                                                                    P.O. Box 967
                                                                                                Shelbyville, KY 40065
                                                                                                    502-633-0504

  Torrey v. Equifax    1:17-cv-01922   Northern District of Ohio                                   Jason R. Bristol                                                     jbristol@crklaw.com     Consumer
Informaton Services,                    (Cleveland Division)                                      Joshua R. Cohen                                                       jcohen@crklaw.com
        LLC                                                                                       Ellen M. Kramer                                                         emk@crklaw.com
                                                                                                 James B. Rosenthal                                                        jbr@crklaw.com
                                                                                           COHEN ROSENTHAL & KRAMER
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                                                                                                3208 Clinton Avenue
                                                                                                Cleveland, OH 44113                                                    william@novak-law.com
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                                                                                                Cleveland, OH 44113
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                                                                                         Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 139 of 154




                                                              Plaintiffs' Counsel Table
                                                   In re: Equifax, Inc., Customer Data Security Breach Litigation
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 Case Name             Case          Original Court         Local Counsel   Plaintiffs' Counsel & Contact Information                                             Email Addresses            Consumer,    Transfer
                     Number &                                                                                                                                                                Financial     Status
                      Original                                                                                                                                                                or Small
                       Court                                                                                                                                                                  Business

  Tosco et al. v.    1:18-cv-00365   Northern District of                                 Brett E. Von Borke                                                    Vonborke@bucknermiles.com     Consumer   Yes by CTO-7
   Equifax Inc.                           Georgia                                         Grossman Roth, PA                                                       molin@olinlawfirm.com
                                                                                               Suite 1150                                                         seth@bucknermiles.com
                                                                                          2525 Ponce de Leon                                                     David@bucknermiles.com
                                                                                         Coral Gables, FL 33134
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                                                                                           Fax: 305-285-1668

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                                                                                                  Seth Miles
                                                                                               Buckner & Miles
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                                                                                               Miami, FL 33133
                                                                                                305-964-8003

                                                                                          David Marc Buckner
                                                                                            Buckner & Miles
                                                                                            3350 Mary Street
                                                                                            Miami, FL 33133
                                                                                             305-964-8003
                                                                                           Fax: 305-372-3508.
Trevino v. Equifax   2:17-cv-07180    Central District of                                     Tina Wolfson                                                      twolfson@ahdootwolfson.com    Consumer   Yes by CTO - 1
     Inc et al.                          California                                          Theodore Maya                                                        tmaya@ahdootwolfson.com
                                                                                            Bradley K. King                                                       bking@ahdootwolfson.com
                                                                                             Robert Ahdoot                                                       rahdoot@adhootwolfson.com
                                                                                      AHDOOT & WOLFSON, PC
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                                                                                                             Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 140 of 154




                                                                         Plaintiffs' Counsel Table
                                                       In re: Equifax, Inc., Customer Data Security Breach Litigation
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 Case Name               Case           Original Court                Local Counsel           Plaintiffs' Counsel & Contact Information                                                 Email Addresses               Consumer,    Transfer
                       Number &                                                                                                                                                                                       Financial     Status
                        Original                                                                                                                                                                                       or Small
                         Court                                                                                                                                                                                         Business

Turner v. Equifax      3:17-cv-02041      Southern District of                                                Alexander Schack                                                        alexschack@amslawoffice.com      Consumer   Yes by CTO - 1
      Inc.                                    California                                                       Shannon Nocon                                                        shannonnocon@amdlawoffice.com
                                                                                                             Natasha N. Serino                                                       natashaserino@amslawoffice.com
                                                                                                  LAW OFFICE OF ALEXANDER M. SCHACK
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                                                                                                            San Diego, CA 92127
                                                                                                                858-485-6535

   Tweeddale v.        6:17-cv-01936   Middle District of Florida                                              Lewis S. Eidson, Jr                                                         mike@colson.com             Consumer   Yes by CTO - 1
   Equifax, Inc.                                                                                                 Julie B. Kane                                                             julie@colson.com
                                                                                                                Curtis B. Miner                                                            curt@colson.com
                                                                                                           COLSON HICKS EIDSON
                                                                                                          255 Alhambra Cir., Penthouse
                                                                                                            Coral Gables, FL 33134
                                                                                                                 305-476-7400

Vice v. Equifax Inc.   1:17-cv-04250      Northern District of      Robbins Geller Rudman &                    C. Jacob Gower                                                          dcharest@burnscharest.com       Consumer
                                               Georgia                    Dowd, LLP                          Burns Charest, LLP
                                                                                                                 Suite 1170
                                                                                                               365 Canal Street                                                          jherman@rgrdlaw.com
                                                                                                            New Orleans, LA 70139
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                                                                                                                Atlanta, GA 30326
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                                                                                                        Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 141 of 154




                                                                    Plaintiffs' Counsel Table
                                                      In re: Equifax, Inc., Customer Data Security Breach Litigation
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  Case Name                Case          Original Court          Local Counsel           Plaintiffs' Counsel & Contact Information                                               Email Addresses             Consumer,   Transfer
                         Number &                                                                                                                                                                            Financial    Status
                          Original                                                                                                                                                                            or Small
                           Court                                                                                                                                                                              Business

                                                                                                          Korey A. Nelson
                                                                                                         Murray Law Firm
                                                                                                         650 Poydras Street
                                                                                                             Suite 2150
                                                                                                       New Orleans, LA 70130
                                                                                                        Phone: 504.525.8100
                                                                                                         Fax: 504.584.5249

Vita et al v. Equifax,   1:17-cv-03484   Northern District of   The Pratt Law Firm, PC                     Bradley W. Pratt                                                       bradley@prattclay.com       Consumer
         Inc.                                 Georgia                                                    Brian C. Mickelson                                                       chuck@chuckclay.com
                                                                                                         Charles L. Clay, Jr.
                                                                                                      The Pratt Law Firm, P.C.
                                                                                                4401 Northside Parkway, NW, Suite 520
                                                                                                         Atlanta, GA 30327                                                       chall@hallandlampros.com
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                                                                   Plaintiffs' Counsel Table
                                                      In re: Equifax, Inc., Customer Data Security Breach Litigation
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  Case Name               Case          Original Court           Local Counsel   Plaintiffs' Counsel & Contact Information                                               Email Addresses              Consumer,    Transfer
                        Number &                                                                                                                                                                      Financial     Status
                         Original                                                                                                                                                                      or Small
                          Court                                                                                                                                                                        Business

VonWiller v. Equifax    3:17-cv-01839    Southern District of                                     Jack Fitzgerald                                                      jack@jackfitzgeraldlaw.com      Consumer   Yes by CTO - 1
Information Services,                   California (San Diego)                                     Trevor Flynn                                                       trevor@jackfitzgeraldlaw.com
        LLC                                                                                    Melanie R. Persinger                                                   melanie@jackfitzgeraldlaw.com
                                                                                      THE LAW OFFICE OF JACK FITZGERALD
                                                                                            3636 Fourth Ave., Suite 202                                                   asacks@sackslaw.com
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                                                             Plaintiffs' Counsel Table
                                                 In re: Equifax, Inc., Customer Data Security Breach Litigation
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                   Number &                                                                                                                                                                         Financial    Status
                    Original                                                                                                                                                                         or Small
                     Court                                                                                                                                                                           Business

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                                                                                              312-899-9090
Walker et al. v.   5:17-cv-01527    Northern District of                                   Dennis A. Mastando                                                        tony@mastandoartip.com          Consumer     Yes
 Equifax, Inc.                     Alabama (Northeastern                                       Eric J. Artrip                                                        artip@mastandoartip.com
                                         Division)                                        D. Anthony Mastando
                                                                                      MASTANDO & ARTRIP, LLC
                                                                                     301 Washington Street, Suite 302
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                                                                 Plaintiffs' Counsel Table
                                                  In re: Equifax, Inc., Customer Data Security Breach Litigation
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                     Number &                                                                                                                                                                              Financial    Status
                      Original                                                                                                                                                                              or Small
                       Court                                                                                                                                                                                Business

Washburn et al. v.   1:17-cv-03451   Northern District of     Doffermyre Shields                       Kenneth S. Canfield                                                      kcanfield@dsckd.com         Consumer     Yes
  Equifax, Inc.                       Georgia (Atlanta      Canfield & Knowles, LLC     DOFFERMYRE SHIELDS CANFIELD & KNOWLES, LLC
                                          Division)                                            1355 Peachtree Street, NE Suite 1900
                                                                                                       Atlanta, GA 30309
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                                                                                                        202-408-4600

                                                                                                         Adam J. Levitt
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                                                                                                  Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 145 of 154




                                                                     Plaintiffs' Counsel Table
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  Case Name              Case           Original Court             Local Counsel   Plaintiffs' Counsel & Contact Information                                               Email Addresses             Consumer,     Transfer
                       Number &                                                                                                                                                                        Financial      Status
                        Original                                                                                                                                                                        or Small
                         Court                                                                                                                                                                          Business

  Washington Gas       1:17-cv-05301     Northern District of                                        James A. Kitces                                                     sslaughter@robinskaplan.com    Financial
Light Federal Credit                          Georgia                                                Michael F. Ram                                                         mram@robinskaplan.com
  Union v. Equifax                                                                                 Stacey P. Slaughter                                                   skhoroosi@robinskaplan.com
                                                                                                     Susan T. Brown                                                       sbrown@robinskaplan.com
                                                                                                   William H. Stanhope                                                      ahurt@robinskaplan.com
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                                                                                                      J. Austin Hurt                                                      mpacelli@robinskaplan.com
                                                                                                        Lisa Beane                                                         jkitces@robinskaplan.com
                                                                                                     Michael Pacelli                                                     wstanhope@robinskaplan.com
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                                                                                              800 Boylston Street, 25th Floor
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                                                                                                      608-237-1776

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                                                                                                     Reed & Jolly, PLLC
                                                                                                       P.O. Box 3917
                                                                                                     Oakton, VA 22124
                                                                                                       703-675-9578


  Weaver et al v.      1:17-cv-00268   Western District of North                                   Katherine Langley                                                      klangley@burtlangley.com      Consumer    Yes by CTO - 1
  Equifax, Inc.                               Carolina                                          BURT LANDGLEY, P.C.
                                                                                                  149 South Lexington
                                                                                                  Asheville, NC 28801
                                                                                                     828-367-7090

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                                                                                                223 Rosa L. Parks Avenue                                                     mikes@bsjfirm.com
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                                                                                                    Fax: 615-255-5419
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                                                                Plaintiffs' Counsel Table
                                                    In re: Equifax, Inc., Customer Data Security Breach Litigation
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                                                                             MDL No. 2800
  Case Name              Case          Original Court         Local Counsel   Plaintiffs' Counsel & Contact Information                                             Email Addresses             Consumer,    Transfer
                       Number &                                                                                                                                                                 Financial     Status
                        Original                                                                                                                                                                 or Small
                         Court                                                                                                                                                                   Business

  Washington Gas       1:17-cv-05301   Northern District of                                  Stacey P. Slaughter                                                  sslaughter@robinskaplan.com    Financial
Light Federal Credit                        Georgia                                          William H. Stanhope                                                  wstanhope@robinskaplan.com
  Union v. Equifax                                                                               James Kitces                                                       jkitces@robinskaplan.com
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                                                                                                Michael Ram                                                         mram@robinskaplan.com

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                                                                                               Minneapolis, MN                                                      sam@turkestrauss.com
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                                                              Plaintiffs' Counsel Table
                                                   In re: Equifax, Inc., Customer Data Security Breach Litigation
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Case Name              Case          Original Court         Local Counsel   Plaintiffs' Counsel & Contact Information                                             Email Addresses              Consumer,    Transfer
                     Number &                                                                                                                                                                  Financial     Status
                      Original                                                                                                                                                                  or Small
                       Court                                                                                                                                                                    Business

Whipper et al v.     1:17-cv-00248    Western District of                                   Jeremy Heisler                                                       jheisler@sanfordheisler.com    Consumer   Yes by CTO - 1
Equifax Inc. et al                      Pennsylvania                                        Andrew Melzer                                                        amelzer@sanfordheisler.com
                                                                                    SANFORD HEISLER SHARP, LLP
                                                                                       1350 6th Avenue, Floor 31
                                                                                         New York, NY 10019                                                      ksharp@sanfordheisler.com
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                                                                                          Nashville, TN 37203
                                                                                             615-434-7000

                                                                                              Saba Bireda
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                                                                                         Washington, DC 20009
                                                                                             202-499-5200
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                                                           Plaintiffs' Counsel Table
                                                In re: Equifax, Inc., Customer Data Security Breach Litigation
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Case Name           Case          Original Court         Local Counsel   Plaintiffs' Counsel & Contact Information                                               Email Addresses            Consumer,    Transfer
                  Number &                                                                                                                                                                  Financial     Status
                   Original                                                                                                                                                                  or Small
                    Court                                                                                                                                                                    Business

White et al. v.   2:17-cv-07991    Central District of                                 Christopher T. Aumais                                                   caumais@girardikeese.com      Consumer   Yes by CTO - 1
Equifax, Inc.                         California                                         Robert W. Finnerty                                                    rfinnerty@girardikeese.com
                                                                                         Thomas V. Girardi                                                      tgirardi@girardikeese.com
                                                                                         GIRARDI KEESE
                                                                                        1126 Wilshire Blvd.
                                                                                       Los Angeles, CA 90017                                                  hrussomanno@russomanno.com
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                                                                                  2665 S. Bayshore Drive, Ste. 301
                                                                                     Coconut Grove, FL 33133
                                                                                           305-358-6200
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                                                                     Plaintiffs' Counsel Table
                                                    In re: Equifax, Inc., Customer Data Security Breach Litigation
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Case Name              Case           Original Court             Local Counsel            Plaintiffs' Counsel & Contact Information                                             Email Addresses            Consumer,    Transfer
                     Number &                                                                                                                                                                              Financial     Status
                      Original                                                                                                                                                                              or Small
                       Court                                                                                                                                                                                Business

 Whitfill et al v.   4:17-cv-00771 Northern District of Texas                                           Shane F. Langston                                                      shane@langstonlawyers.com    Consumer   Yes by CTO - 1
Equifax Inc. et al                                                                                       Jason L. Nabors                                                       greta@langstonlawyers.com
                                                                                                          Greta L. Kemp                                                        jason@langstonlawyers.com
                                                                                                  LANGSTON & LANGSTON, PLLC
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                                                                                                    1300 Summit Avenue, Suite 650
                                                                                                        Fort Worth, TX 76102
                                                                                                            817-276-6000
 Whittington v.      1:17-cv-04940     Northern District of     Evangelista Worley, LLC                  Carin L. Marcussen                                                       david@ewlawllc.com        Consumer
 Equifax, Inc.                              Georgia                                                     Federman & Sherwood                                                        jim@ewlawllc.com
                                                                                                      10205 N. Pennsylvanis Ave                                                   kristi@ewlawllc.com
                                                                                                        Oklahoma, OK 73120
                                                                                                            405-239-2112
                                                                                                      New York, NY 10119-0165
                                                                                                            212-594-5300

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                                                                      Plaintiffs' Counsel Table
                                                     In re: Equifax, Inc., Customer Data Security Breach Litigation
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 Case Name              Case          Original Court              Local Counsel               Plaintiffs' Counsel & Contact Information                                                Email Addresses           Consumer,    Transfer
                      Number &                                                                                                                                                                                   Financial     Status
                       Original                                                                                                                                                                                   or Small
                        Court                                                                                                                                                                                     Business

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                                                                                                            Larkspur, California 94939
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                                                                                                           Telephone: (501) 224-7499
                                                                                                            Facsimile: (501) 224-2294

Wilkins v. Equifax,   1:17-cv-03972    Northern District of        Robbins Ross Alloy                             Lisa L. Heller                                                       lheller@robbinsfirm.com    Consumer
       Inc.                                 Georgia             Belinfante Littlefield, LLC      Robbins Ross Alloy Belinfante Littlefield, LLC -Atl
                                                                           -Atl                       999 Peachtree Street, N.E., Suite 1120
                                                                                                               Atlanta, GA 30309                                                      dhthompson98@gmail.com
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                                                                                                               Joshua E. D'Ancona
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                                                                                                             280 King of Prussia Road
                                                                                                                Radnor, PA 19087
                                                                                                                  610-667-7706
Williams v. Equifax   1:17-cv-06591   Eastern District of New                                                    Edward B. Geller                                                          epbh@aol.com           Consumer   Yes by CTO - 1
       Inc.                                    York                                                    EDWARD B. GELLER, ESQ., P.C.
                                                                                                                 15 Landing Way
                                                                                                                Bronx, NY 10464
                                                                                                                  914-473-6783
                                                                                                    Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 151 of 154




                                                                       Plaintiffs' Counsel Table
                                                          In re: Equifax, Inc., Customer Data Security Breach Litigation
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  Case Name                 Case           Original Court            Local Counsel   Plaintiffs' Counsel & Contact Information                                                Email Addresses              Consumer,    Transfer
                          Number &                                                                                                                                                                         Financial     Status
                           Original                                                                                                                                                                         or Small
                            Court                                                                                                                                                                           Business

Williams v. Equifax       1:17-cv-02803     District of Maryland                                   Herbert V. McKnight, Jr.                                                vmcknight@sandfordheisler.com    Consumer   Yes by CTO - 1
     Inc. et al                                                                              SANFORD HEISLER KIMPEL, LLP
                                                                                             1666 Connecticut Ave. NW, Suite 300
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                                                                                                    New York, NY 10019
                                                                                                       646-402-5655
Williams v. Equifax       2:17-cv-13307      Eastern District of                                   Richard H. Hagstrom                                                       rhagstrom@hjlawfirm.com        Consumer   Yes by CTO - 1
     Inc. et al                                  Michigan                                      HELLMUTH & JOHNSON PLLC
                                                                                                   8050 West 78th Street
                                                                                                     Edina, MN 55439
                                                                                                      952-941-4005

Wiltz et al v. Equifax,   4:17-cv-02778 Southern District of Texas                                    Jeremy Heisler                                                        amelzer@sanfordheisler.com      Consumer   Yes by CTO - 1
       Inc. et al                                                                                     Andrew Melzer                                                         jheisler@sanfordheisler.com
                                                                                             SANFORD HEISLER SHARP, LLP
                                                                                           1350 Avenue of the Americas, Suite 3100                                          vmckight@sanfordheisler.com
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                                                                                                   Herbert V. McKnight, Jr.
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                                                                                                          Case 1:17-md-02800-TWT Document 139-1 Filed 02/01/18 Page 152 of 154




                                                                        Plaintiffs' Counsel Table
                                                        In re: Equifax, Inc., Customer Data Security Breach Litigation
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  Case Name               Case           Original Court              Local Counsel          Plaintiffs' Counsel & Contact Information                                                 Email Addresses                 Consumer,    Transfer
                        Number &                                                                                                                                                                                      Financial     Status
                         Original                                                                                                                                                                                      or Small
                          Court                                                                                                                                                                                        Business

Wolf v. Equifax, Inc.   1:17-cv-03450     Northern District of      Webb, Klase & Lemond,                   E. Adam Webb                                                                 adam@webbllc.com              Consumer        Yes
                                           Georgia (Atlanta                 LLC                         G. Franklin Lemond, Jr.                                                        flemond@webbllc.com
                                               Division)                                            WEBB, KLASE & LEMOND, LLC
                                                                                                    1900 The Exchange SE, Suite 480                                                dfink@finkandassociateslaw.com
                                                                                                          Atlanta, GA 30339                                                      dbressack@finkandassociateslaw.com
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                                                                                                     38500 Woodward Ave., Suite 350
                                                                                                     Bloomfield Hills, Michigan 48304
                                                                                                              248-971-2500

Wong v. Equifax, Inc.   1:17-cv-00489   District of Rhode Island       Alger Law LLC                        Melody A. Alger                                                            malger@algerlaw.com             Consumer   Yes by CTO - 1
        et al                                                                                                Alger Law LLC
                                                                                                     400 Westminster Street, Suite 401
                                                                                                          Providence, RI 02903
                                                                                                             401-277-1090
                                                                                                                                                                                     ksharp@sanfordheisler.com
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                                                                                                          Nashville, TN 97203
                                                                                                             615-434-7001
  Woods et al v.        4:17-cv-00660   Eastern District of Texas                                         Shane F. Langston                                                                                            Consumer   Yes by CTO - 1
 Equifax, Inc. et al                                                                                       Jason L. Nabors
                                                                                                    LANGSTON & LANGSTON, PLLC                                                        shane@langstonlawyers.com
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                                                                         Plaintiffs' Counsel Table
                                                         In re: Equifax, Inc., Customer Data Security Breach Litigation
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  Case Name                Case           Original Court              Local Counsel        Plaintiffs' Counsel & Contact Information                                              Email Addresses              Consumer,    Transfer
                         Number &                                                                                                                                                                              Financial     Status
                          Original                                                                                                                                                                              or Small
                           Court                                                                                                                                                                                Business

Young v. Equifax Inc.    2:17-cv-00538   Middle District of Florida                                     Christopher J. DeCosta                                                      chris@hmdlegal.com          Consumer   Yes by CTO - 1
                                                                                                     HOLTZ MAHIE DECOSTA, PA
                                                                                                       1560 Matthew Dr., Suite E
                                                                                                         Ft. Myers, FL 33907
                                                                                                             239-931-7566

 Zamora v. Equifax,      2:17-cv-07085    District of New Jersey                                              Philip L. Fraietta                                                    pfraietta@bursor.com        Consumer        Yes
    Inc., et al.                                                                                             Joshua D. Arisohn                                                      jarisohn@bursor.com
                                                                                                            Joseph I . Marchese                                                    jmarchese@bursor.com
                                                                                                        BURSOR & FISHER, P.A.
                                                                                                 888 Seventh Avenue, New York, NY 10019
                                                                                                               646-837-7150

Zribi v. Equifax, Inc.   3:17-cv-01710    District of Connecticut     Koskoff, Koskoff &                    Kevin Sharp                                                          ksharp@sanfordheisler.com      Consumer   Yes by CTO - 1
         et al.                                                          Bieder, PC               SANFORD HEISLER SHARP, LLP-TN
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                                                                                                         350 Fairfield Ave.
                                                                                                        Bridgeport, CT 06604
                                                                                                            203-336-4421

   Zweig et al v.        7:17-cv-07090   Southern District of New                                           Jeremy Heisler                                                       jheisler@sanfordheisler.com    Consumer   Yes by CTO - 1
  Equifax Inc. et al                              York                                                      Andrew Melzer                                                        amelzer@sanfordheisler.com
                                                                                                    SANFORD HEISLER SHARP, LLP
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                                                                 Plaintiffs' Counsel Table
                                                   In re: Equifax, Inc., Customer Data Security Breach Litigation
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Case Name             Case           Original Court            Local Counsel   Plaintiffs' Counsel & Contact Information                                           Email Addresses       Consumer,   Transfer
                    Number &                                                                                                                                                             Financial    Status
                     Original                                                                                                                                                             or Small
                      Court                                                                                                                                                               Business

Zweig v. Equifax,   1:17-cv-05366    Eastern District of New                                  Samuel H. Rudman                                                     srudman@rgrdlaw.com    Consumer
      Inc.                          York (Brooklyn Division)                       ROBBINS GELLER RUDMAN & DOWD LLP
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                                                                                              Melville, NY 11747
                                                                                                 631-367-1173
